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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS

LAW ENFORCEMENT HEALTH
BENEFITS, INC., on behalf of itself and
all others similarly situated,
2233 Spring Garden Street                    Civil Action No.:
Philadelphia, PA 19130
On behalf of itself and
all others similarly situated,
                                             CLASS ACTION COMPLAINT
                             Plaintiff,
       v.                                    JURY TRIAL DEMANDED

MARK TRUDEAU
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Columbus, OH 43221

HUGH O’NEILL
17010 Kennedy Crossing Ct.
Wildwood, MO 63038

STEPHEN WELCH
15 Sunnybrook Rd.
Basking Ridge, NJ 07920

ANGUS RUSSELL
1366 John Anderson Drive
Ormand Beach, FL 32176

DAVID CARLUCCI
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Norwalk, CT 06854

J. MARTIN CARROLL
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Naples, FL 34120

PAUL R. CARTER
Address to be determined
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DAVID NORTON
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Surrey, TW18 3 AG

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Formerly known as
MALLINCKRODT ARD, INC.,
Formerly known as
QUESTCOR PHARMACEUTICALS, INC.;
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Bedminster, NJ 07921

QUESTCOR INTERNATIONAL LTD.,
f/k/a/ AKASIA LTD.
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Cruiserath, Blanchardstown, Dublin 15, Ireland.
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ST OPERATIONS LLC
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Hazelwood, MO 63042-2301

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College Business & Technology Park Cruiserath,
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College Business & Technology Park Cruiserath,
Blanchardstown, Dublin 15, Ireland.

MALLINCKRODT ARD IP UNLIMITED CO.,
f/k/a MALLINCKRODT ARD IP LIMITED
CO.
College Business & Technology Park
Cruiserath, Blanchardstown, Dublin 15, Ireland.

MALLINCKRODT IP ULIMITED CO.
College Business & Technology Park
Cruiserath Blanchardstown
Dublin 15 Ireland
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MALLINCKRODT HOSPITAL PRODUCTS
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SONORANT THERAPEUTICS LTD.,
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THERAKOS EMEA LTD.,
f/k/a MALLINCKRODT SPECIALTY
PHARMACEUTICALS IRELAND, LTD.,
f/k/a QUESTCOR OPERATIONS LTD.,
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PHARMACEUTICALS
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ST US POOL LLC
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Hazelwood, MO 63042-2301

MALLINCKRODT US HOLDINGS, LLC
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MALLINCKRODT ARD HOLDINGS, INC.
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MALLINCKRODT EQUINOX FINANCE
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Bloomfield, CT 06002

CIGNA CORPORATION
900 Cottage Grove Road
Bloomfield, CT 06002

EXPRESS SCRIPTS HOLDING COMPANY;
1 Express Way
St. Louis, MO 63121

EXPRESS SCRIPTS, INC.;
1 Express Way
St. Louis, MO 63121

CURASCRIPT, INC.
6272 Lee Vista Boulevard
Orlando, FL 32822

CURASCRIPT SD
255 Technology Park
Lake Mary, FL 32746
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PRIORITY HEALTHCARE CORP. AND
PRIORITY HEALTHCARE DISTRIBUTION,
INC., doing business as
CURASCRIPT SD AND CURASCRIPT
SPECIALTY DISTRIBUTION SD, respectively;
6272 Lee Vista Blvd.
Orlando, FL 32822

ACCREDO HEALTH GROUP, INC.
1640 Century Center Parkway
Memphis, TN 38134

UNITED BIOSOURCE
CORPORATION now known as UNITED
BIOSOURCE LLC, a wholly owned subsidiary
of UNITED BIOSOURCE HOLDINGS, INC.
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Blue Bell, PA 19422

ALIXPARTNERS, LLP,
909 Third Avenue
New York, NY 10022
                        Defendants.
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                                CLASS ACTION COMPLAINT

       Plaintiff, the Law Enforcement Health Benefits, Inc. (“LEHB” or “Plaintiff”), by and

through its undersigned counsel, on behalf of itself and a Class of similarly situated purchasers of

H.P. Acthar Gel (“Acthar”), allege as follows:

I. NATURE OF THE CASE

       1.      LEHB brings this class action to end, once and for all, the ongoing, egregious,

willful, fraudulent scheme, antitrust conspiracy and RICO enterprise by the Defendants named

herein with respect to the manufacture, distribution, pricing, marketing, promotion and sale of

Acthar, and the joint efforts to defraud Plaintiff and members of the Class of their day in Court.

       2.      The Defendants have carried on this unlawful conduct since at least August 2007,

when the principal Mallinckrodt entity in charge of the brand business entered into an antitrust

scheme to limit the distribution and output of Mallinckrodt’s flagship product, H.P. Acthar Gel,

in order to raise the price to unconscionable levels.

       3.      With the price fixed, the Defendants then conspired and agreed among themselves

and with other named and unnamed co-conspirators (including professionals) to market, promote

and sell Acthar for unapproved uses and doses to the detriment of patients and payors of Acthar.

       4.      These unlawful schemes have gotten Mallinckrodt in trouble with the federal

government, repeatedly, as discussed herein.

       5.      In January 2017, the Federal Trade Commission filed a Complaint against

Mallinckrodt for Injunctive and Other Equitable Relief in the United States District Court for the

District of Columbia (the “FTC Action”). A true and correct copy of the Complaint in the FTC

Action is attached hereto as Exhibit “A”. The FTC claimed Mallinckrodt was committing

antitrust violations by its acquisition of the only competitor to Acthar, Synacthen, and its refusal



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to bring Synacthen to market in the U.S. in competition with Acthar.

       6.      On January 18, 2017, the FTC and Mallinckrodt settled a settlement agreement

with a stipulated permanent injunction and equitable monetary relief. See Exhibit “B” hereto.

Importantly, the settlement agreement was signed by Defendant Mark Trudeau. Id. at 32. By

this stipulated injunction, Mallinckrodt agreed to, inter alia, sub-license Synacthen to another

party and to take certain additional steps to facilitate such sub-license.

       7.      On information and belief, Plaintiff alleges that the Defendants, collectively, has

worked to prevent Synacthen being brought to market by a competitor, as intended by the

stipulated injunction. The antitrust conduct continues.

       8.      Beginning in 2012, three current employees of Questcor first complained, then

sued, in Qui Tam Complaints filed under seal in the United States District Court for the Eastern

District of Pennsylvania (the “DOJ Action”). Attached hereto as Exhibit “C” is a true and

correct copy of the Complaint filed by Charles Strunck and Lisa Pratta. Attached hereto as

Exhibit “D” is a true and correct copy of the Complaint filed by Scott Clark. Attached hereto as

Exhibit “E” is a true and correct copy of the combined Complaint filed by the three relators, in

which the United States Department of Justice (“DOJ”) intervened.

       9.      Rather than fight the claims, Mallinckrodt agreed to settle. In settling a portion of

the claims in September 2019, Mallinckrodt agreed that at 12 of its employees were engaged in

the unlawful conduct. Attached hereto as Exhibit “F” is the Settlement Agreement (with Exhibit

“A” thereto listing the 12 employees).

       10.     Because this case seeks to challenge the Defendants’ post-bankruptcy petition

conduct involving the distribution, pricing, marketing, promotion and sales of Acthar, which

practices are part of the settled DOJ Action involving an unlawful scheme of kickbacks to



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doctors and the use of phony patient assistance programs, and by the settlement neither

Mallinckrodt, its officers and directors, nor the Cigna/Evernorth entities have changed their

unlawful conduct, the detailed unlawful conduct alleged on the DOJ complaints continues.

         11.    Importantly, the United States Department of Justice (“DOJ”) has decided to

intervene in that lawsuit, a decision not made lightly, but has not mandated a change in

Mallinckrodt’s practices.

         12.    On April 30, 2019, it was revealed publicly for the first time by CNN1 that two

whistleblowers (Strunck and Pratta, both former pharmaceutical sales representatives for

Mallinckrodt, had sued the company years before for a “multi-tiered strategy” to boost sales by

bribing doctors to prescribe the high-priced Acthar to their patients. As described more fully in

the whistleblower complaint (Exhibit “C”), Mallinckrodt’s scheme involved “using valuable

incentives, rewards and other forms of remuneration to induce health care providers to promote

and prescribe H.P. Acthar in lieu of less expensive therapies that are equally more effective…”.2

According to Strunck and Pratta, there is a pervasive culture at Mallinckrodt designed to sell

Acthar at all costs, and at its highest, most exorbitant cost.

         13.    Separately, a different whistleblower (Scott Clark) sued Mallinckrodt in the

United States District Court for the Eastern District of Pennsylvania on April 4, 2013, alleging a

different aspect of Mallinckrodt’s scheme to sell Acthar at high prices. In case unsealed as part

of the government’s filing of a consolidated, amended pleading, former employee Scott Clark

alleges that “Mallinckrodt designed supposed ‘patient assistance’ funds that paid copays for

Acthar only and then funded them through ‘donations’, knowing its money would be used on


1
    https://www.cnn.com/2019/04/30/health/mallinckrodt-whistleblower-lawsuit-acthar/index.html
2
 See ¶ 3(i) of Strunck, et al. v. Questcor Pharmaceuticals, Inc. Complaint, publicly available at
https://www.courtlistener.com/docket/14485864/strunck-v-questcor-pharmaceuticals-inc/.

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Acthar copays to the exclusion of other drugs.” See United States’ Complaint in Intervention

(Exhibit “E”), Dkt No. 2:13-cv-01776-BMS (E.D.Pa.) (BMS) at Document No. 57 (“U.S.

Complaint”) at ¶ 5. Such conduct is unlawful.

          14.   As the federal government alleged:

                Mallinckrodt knew that the cost of Acthar would make it difficult to
                sell because there were cheaper, effective competitor drugs
                available to treat certain of its approved uses, namely acute
                exacerbations in multiple sclerosis, lupus and rheumatoid arthritis.
                Mallinckrodt intended to overcome this difficulty and did so by
                making the drug ‘free’ to patients by subsidizing their Medicare [and
                private] copayments. By doing so, Mallinckrodt could maintain the
                high price of Acthar to maximize its own sales revenues, but
                minimize the risk that the drug’s high price would impede doctors
                and patients from using it.

Id. at ¶ 4 (brackets added).

          15.   In testimony given under oath in the bankruptcy, Defendants Stephen Welch and

Bryan Reasons both testified, as corporate designees, that the conduct at issue in these many

complaints has not changed and continues post-bankruptcy.

          16.   The United Stated Congress too has investigated the company on several

occasions, and it issued a scathing report on its unlawful conduct in October 2020. See Exhibit

“G” hereto. Defendant Mark Trudeau gave false testimony under oath before Congress about

the reasons for Questcor’s exorbitant price increase in 2007 (ie. “[t]o account for manufacturing

investments and to stabilize its finances”, and “to keep Acthar on the market”). See Exhibit “H”

hereto.

          17.   Lastly, Patients and payors have complained, and sued, to force the company to

change its bad ways. In this Court, in April 2017, the City of Rockford sued.

          18.   All these efforts have fallen on deaf ears. Mallinckrodt knows only one thing:

money. And so it will take money – in the form of substantial compensation awarded by a jury


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in this case – to get Mallinckrodt to listen.

        19.     But it will take declaratory and injunctive relief entered by this Court to force the

company to finally change.

        20.     While some of the Defendants within the Mallinckrodt family of companies have

filed for bankruptcy protection in Delaware Bankruptcy Court to avoid its debts incurred from its

pre-petition (October 12, 2020) conduct, others have not.

        21.     The Defendants named herein seek to continue their unlawful ways long after the

bankruptcy is over, thus making an award declaratory and injunctive relief not only appropriate,

but critical for the patients and third-party payors (“TPPs”) who continue to struggle each day

under the oppressive pricing imposed by Mallinckrodt for Acthar, with the necessary support of

its co-conspirators at Cigna/Express Scripts.

        22.     The company has arrogantly admitted that it has not changed its unlawful

conduct. And it has no intention of doing so through its chapter 11 corporate reorganization.

        23.     That is why the LEHB has sued.

        24.     A health benefits fund which serves those who serve and protect our citizens, for

must now police Mallinckrodt, and prosecute its continuing bad conduct.

        25.     Repeat offenders like Mallinckrodt must be prosecuted to the fullest extent of the

law.

        26.     While this case seeks declaratory and injunctive relief to arrest and abate

Mallinckrodt’s ongoing, willful and fraudulent conduct now and into the future, damages are

sought only for the period of time after the filing of the bankruptcy petitions by the Mallinckrodt

debtor entities on October 12, 2020.

        27.     To be clear, the claims asserted herein could not have been commenced prior to



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the “Petition Date” of October 12, 2020 because they seek relief only for post-petition conduct.

       28.     Thus, these claims are neither stayed by operation of the automatic stay of Section

362 of the Bankruptcy Code, nor are they affected by the preliminary injunction issued by the

Bankruptcy Court in December 2020 as to claims against certain present and former Express

Scripts subsidiary entities who have contractual, mutual indemnity with certain debtors.

       29.     This case involves Acthar, which has two National Drug Codes, NDC Nos.

63004-8710-01 and 63004-7731-01, by reason of Defendants’ previous unlawful conduct

involving fraud on the federal Medicaid program and violations of the False Claims Act (which

claims are being settled for $260 million),

       30.     Acthar is, and has been for decades, the only therapeutic ACTH product sold in

the United States. Mallinckrodt is the sole provider in the U.S. of approved ACTH drugs.

       31.     Thus, LEHB brings this case on behalf of all similarly-situated third party payors

and their beneficiaries who paid for Acthar, except those expressly excluded from the Class (like

institutional payors with direct, contractual relationships with Defendants). These excluded

parties were not harmed like LEHB and other members of the Class; instead, many benefitted by

Mallinckrodt’s unlawful conduct as it raised the revenues paid to such entities from the higher

prices for Acthar created by Defendants unlawful schemes and conduct continuing today.

       32.     The scheme involved Mallinckrodt ARD Inc., formally known as Questcor

Pharmaceuticals, Inc. (“Questcor”), its parent company, Mallinckrodt plc (collectively

“Mallinckrodt”) and related “Mallinckrodt Parents” and “Mallinckrodt Brand Subsidiaries”

(defined below), its officers and directors, as well as Mallinckrodt’s exclusive agent for the

delivery of Acthar, the “Cigna/Evernorth” entities consisting of Express Scripts Holding

Company and Express Scripts, Inc., including their two (2) current wholly-owned subsidiaries,



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CuraScript, Inc., doing business as CuraScript, SD., and Accredo Health Group, Inc. (“Express

Scripts” or “ESI”), now owned by Defendant Cigna Corporation (“Cigna”) and renamed

“Evernorth”), and one former subsidiary, United BioSource, as well as Mallinckrodt’s

restructuring consultant, AlixPartners, LLP (“AlixPartners”). The scheme alleged herein seeks

to maintain and enhance Mallinckrodt’s monopoly power in the U.S. market for

adrenocorticotropic hormone (ACTH) drugs in violation of federal and state antitrust laws.

       33.     Mallinckrodt manufactures, markets, distributes and sells H.P. Acthar, NDC Nos.

63004-8710-01 and 63004-7731-01 (“Acthar”). Acthar is the only therapeutic ACTH product

sold in the United States. Mallinckrodt is the sole provider in the U.S. of approved ACTH drugs.

       34.     Accordingly, in conjunction with limiting Acthar distribution and raising the

prices for Acthar in 2007, Mallinckrodt embarked on a marketing scheme designed to incentivize

sales of Acthar at the new high prices. Patients and TPPs, like Plaintiff, have had no choice but

to pay the high prices charged by the Mallinckrodt Defendants and the Express Scripts Entities,

under the guidance and direction of Mallinckrodt’s Board members and senior corporate officers,

with the restructuring consultant, Alix Partners.

       35.     Mallinckrodt vastly expanded its direct-to-consumer selling of Acthar by

expanding its sales force, including creating a team of “medical science liaisons” or “MSLs”.

The MSLs were highly trained specialists in the Acthar treatments who worked with other

Mallinckrodt sales representatives to create a network of Key Opinion Leaders (“KOLs”). These

KOLs were leading specialists in their respective medical fields whom Mallinckrodt identified as

being potentially influential on other doctors. These KOLs were paid handsomely to join with

Mallinckrodt’s MSLs and sales representatives as “spokes-doctors”, promoting Acthar to other

medical providers and delivering Mallinckrodt’s false, misleading and deceptive promotional



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messages about the safety, efficacy and value of Acthar in relation to other cheaper, safer, and

equally or more effective treatments. As a result, thousands of new patients have been

prescribed Acthar for unapproved uses and doses in the treatment of diseases in neurology,

nephrology and rheumatology, among others. And TPPs, like Plaintiff, have been forced to pay

the exorbitant prices charged by Defendants.

       36.     Mallinckrodt acquired its Acthar monopoly in 2001 when Questcor purchased

Acthar from Aventis for $100,000. By 2014, when Mallinckrodt purchased Questcor, the value

of that Acthar monopoly was $5.9 billion—the price paid for the single-product company.

       37.     This case does not seek to challenge the lawfulness of Mallinckrodt’s monopoly.

It seeks to challenge the lawfulness of Mallinckrodt’s post-bankruptcy petition exercise of its

monopoly power by taking actions to maintain and enhance that monopoly power in violation of

the antitrust laws from October 12, 2020 (the date Mallinckrodt filed its bankruptcy petition) to

the present.

       38.     The issue is not whether Mallinckrodt possessed monopoly power for Acthar. It

is whether its actions in contracting with the agent of its leading customers, Express Scripts, and

in acquiring the only competitive product in the marketplace, Synacthen, constitute unlawful

efforts to retain, maintain and enhance Mallinckrodt’s monopoly power over Acthar in the

ACTH market after it filed its Petition in Bankruptcy Court.

       39.     LEHB alleges that Mallinckrodt not only has maintained such power as part of its

restructuring effort, but it has enhanced such power by valuing Synacthen as virtually worthless,

transferring the intellectual property for Synacthen to a subsidiary entity with no intention to

maximize such property rights, and refusing to bring this synthetic competitor to Acthar to

market in the United States.



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       40.     Synacthen sells in other parts of North America, including Canada, and overseas.

However, to discourage U.S. based Acthar purchasers from seeking to purchase Synacthen over

the Canadian border, Mallinckrodt and its officers and directors named herein authorized and

implemented a strategy to raise and fix the price of Synacthen to exorbitant levels on par with

increases in the prices Acthar, and then charging patients and TPPs at such exorbitant levels. By

so acting, without any legitimate business justification (in terms of costs, risks or other

reasonable basis), Defendants maintained and enhanced the Mallinckrodt monopoly over the

Acthar franchise and excluded competition in the market for ACTH drugs.

       41.     Acthar is a “specialty pharmaceutical”. It is not sold in retail pharmacies, nor is it

distributed through wholesalers to retail pharmacies, as with many prescription drugs. Instead, it

is distributed only through “specialty pharmacies” (“SPs”).

       42.     One of the largest SPs in America was Cigna/Evernorth's CuraScript, Inc. (n/k/a

Accredo Specialty Pharmacy) which Cigna/Evernorth has owned since 2004. Other major SPs

are owned by CVS/Caremark, Humana (Rightsource) and Cigna (Tel-Drug).

       43.     In 2007, Mallinckrodt decided to embark on a “new strategy” and it changed its

distribution of Acthar. Rather than continue to distribute Acthar to the existing distribution

network available for specialty drugs, Mallinckrodt decided to limit Acthar distribution

exclusively through Cigna/Evernoth’s Accredo, and select other SPs. In effect, Mallinckrodt

contracted with the agent of its leading customers in order to create an exclusive arrangement

whereby both companies would share the financial rewards of the Acthar monopoly.

       44.     Immediately after signing the exclusive agreement, Mallinckrodt and

Cigna/Evernorth, through Curascript SD, agreed to raise the price of Acthar from $1,980 to over

$27,927.80 per vial. As a result, Mallinckrodt was able to charge inflated prices for Acthar to



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Express Scripts’ clients.

       45.     Make no mistake about it, the price of Acthar was raised and fixed by both

Mallinckrodt and Express Scripts. The June 2007 contract signed between the parties contained

express language giving Curascript the power to deny Mallinckrodt any price increase. It never

has done so.

       46.     Mallinckrodt has confirmed, in the context of its chapter 11 bankruptcy

proceedings, that the exclusive distribution agreement with Cigna/Evernorth’s Curascript

remains in effect. It has had amended at least 12 times, but the operative language in paragraph

5(c) has not changed. Thus, Mallinckrodt and its co-conspirators at Cigna/Evernorth retain

exclusive control over the price of Acthar. They refuse to lower the price, despite their ability to

do so, because they are making too much money to ever do so, absence a court order or jury

verdict.

       47.     The above-described conduct violates federal and state antitrust laws, federal

RICO, state consumer fraud laws, and common law fraud, negligent and intentional

misrepresentation, conspiracy to defraud, aiding and abetting fraud and unjust enrichment.

Specifically, Plaintiff and its beneficiary were charged more for Acthar after October 12, 2020

than they otherwise should have been charged due to a scheme of price fixing, monopolization,

deception and kickbacks to doctors, which constitute violations of laws.

       48.     As a result of being overcharged for Acthar by the unlawful scheme alleged,

Plaintiff brings this lawsuit to obtain declaratory and injunctive relief, in order to have the

conduct of Defendants declared unlawful and to enjoin such unlawful conduct going forward to

arrest the scheme and to prevent a recurrence of the overcharges. Plaintiff also seeks to recover

money damages for overcharge payments it made, and members of the Class have made, and



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continue to make, since October 12, 2020, up and through the day of trial. Finally, Plaintiff

seeks all attorneys’ fees permitted by law and punitive damages for the Defendants’ willful,

outrageous and reckless conduct.

II.      JURISDICTION AND VENUE

         49.   Plaintiff brings this action pursuant to the federal and state antitrust laws, federal

RICO, the consumer protection laws of various states, as well as the common law of fraud,

intentional misrepresentation, unjust enrichment and civil conspiracy of various states.

         50.   Plaintiff brings this action pursuant to sections 4 and 16 of the Clayton Act, 15

U.S.C. §§ 15(a) and 26, to recover treble damages, costs of suit, and reasonable attorneys’ fees

for the Defendants’ violations of sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2.

This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337(a).

         51.   This Court also has subject matter jurisdiction over this action pursuant to the

Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because the Plaintiff and members of

the Class are diverse from the Defendants and over two-thirds of the Class is situated outside of

Illinois. Due to the exorbitant prices charged by Defendants for Acthar to the Class, the

aggregate amount in controversy far exceeds $5,000,000.

         52.   Further, the Court has supplemental jurisdiction over the Plaintiff’s state common

law and statutory claims pursuant to 28 U.S.C. § 1367 because these claims arise from the same

occurrence or transaction and are related to the Plaintiff’s federal antitrust and RICO claims as to

form part of the same controversy.

         53.   This Court has personal jurisdiction over the parties because the Defendants

conduct substantial business in this State, have had systematic and continuous contacts with this

State, and have agents and representatives that can be found in this State.



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          54.   The Court has jurisdiction over the Defendants because they have had sufficient

minimum contacts with and/or have purposefully availed themselves of the laws and markets of

the State of Illinois through, among other things, their conspiratorial communications between

themselves and with others (including telephonic and electronic communications) and their

distribution, marketing and sales of Acthar to the residents of Illinois.

          55.   Venue is proper in this District because this case is related to another case filed in

this Honorable District Court, City of Rockford v. Mallinckrodt ARD, Inc., et al., Civil Action

No. 3:17-cv-50107, and the Defendants have continuously and systematically transacted business

in this District and continued their unlawful conduct described herein in this District.

          56.   Acthar is sold in interstate commerce and the unlawful activities alleged in this

Class Action Complaint have occurred in, and have had a substantial effect upon, interstate

commerce.

III.      THE PARTIES

          A. PLAINTIFFS

          57.    Plaintiff, Law Enforcement Health Benefits, Inc. (“LEHB” or “Plaintiff”), is a

non-profit organization, incorporated pursuant to the law of Pennsylvania, that provides medical

insurance coverage and prescription, dental and vision benefits to approximately 8,000 police

officers and their families.

          58.   One such employee’s wife has a serious medical condition, multiple sclerosis, for

which Acthar was indicated as a treatment option for limited purposes of treating an acute

exacerbation of disease (or flare). However, this LEHB beneficiary has been prescribed Acthar

for years, from 2018 through 2020, including into October 2020. The patient continues to suffer

from MS, and to be prescribed Acthar as a long-term, maintenance treatment option for it is not,



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and has never been, indicated.

       59.     This beneficiary received Acthar directly from Mallinckrodt’s authorized agent,

Express Scripts, pursuant to the ASAP program described below. The Plaintiff, which pays the

health care benefits of its beneficiaries, including specialty pharmacy drugs like Acthar, then

paid for these administrations of Acthar. The sum total of these prescriptions and payments is as

follows:

                 Year                     Name         Net Payment     Quantity
                 2013                    ACTHAR       $    31,207.08      5
                 2015                    ACTHAR       $    34,714.68      5
                 2016                    ACTHAR       $ 104,144.04       15
                 2018                    ACTHAR       $ 316,590.00       40
                 2019                    ACTHAR       $ 860,924.00       110
                 2020                    ACTHAR       $ 151,656.00       20
                                                      $ 1,499,235.80


       60.     In 2020, up to and including October, after Mallinckrodt filed for bankruptcy,

LEHB’s beneficiary was prescribed Acthar for treatment of MS pursuant to the same 5-day,

“pulse therapy” regimen developed by Mallinckrodt and approved by the Defendant officers and

directors under the auspices of Dr. Staley Brod as the “Brod Protocol” as described below. As a

result, LEHB paid for Acthar, and continues to pay for Acthar, pursuant to the same, ongoing,

fraudulent scheme and scheme outline herein.

       61.     The LEHB brings this case on behalf of a Class of similarly-situated TPPs and

their beneficiaries who continue to be prescribed Acthar and pay for Acthar pursuant to the same

unlawful conduct described herein. In other words, the conduct of the Defendants was not

changed by the bankruptcy filing of Mallinckrodt.

       62.     The members of the Class that continue to be affected by such unlawful conduct

consist of Taft Hartley union funds, like LEHB, municipalities like the City of Rockford and


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self-funded business and other payers. One example is a TPP known as the Washington

Wholesalers Health and Welfare Fund (“Washington Wholesalers”) located in Columbia,

Maryland. During the period January 11, 2018 through April 28, 2020, Washington Wholesaler

paid $805,297.73 for administrations of Acthar to its beneficiaries. These prescriptions were

supplied by the Defendants through Cigna/Evernorth’s Curascript SD to specialty pharmacies

BriovaRx of Indiana and Optum specialty pharmacy. After October 12, 2020 (the date of

Mallinckrodt’s bankruptcy filing), the Washington Wholesalers paid an additional $41,618.02

per month for each of the three months of October, November and December, demonstrating that

the Defendants’ unlawful price fixing and other conduct has continued unabated. The dates of

payment are October 13, 2020, November 10, 2020, and December 29, 2020, respectively, and

the payments were split between the fund (which paid 90% of the bill, or $37, 456.22) and the

beneficiary (who paid 10% of the bill, or $4,161.80).

   B. DEFENDANTS

                                  Mallinckrodt Business Lines

       63.     The Mallinckrodt enterprise operates two separate businesses.

       64.     The “Specialty Brands” business, operated by various entities within the

Mallinckrodt family of companies, conducts its global manufacturing operations in Dublin,

Ireland, and has its principal U.S. offices in Bedminster Township, New Jersey, with a

significant corporate administrative office in Hazelwood, Missouri near St. Louis. These are the

same offices that Mallinckrodt ARD – the operating entity for Acthar distribution, marketing

and sale -- uses as its corporate headquarters.

       65.     The Mallinckrodt “Specialty Generics” business is primarily involved in the

manufacture, distribution and sale of opioids, and is comprised of several non-defendants,



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Mallinckrodt entities, Mallinckrodt LLC, Mallinckrodt Enterprises LLC, SpecGx Holdings LLC,

SpecGx, , LLC and Mallinckrodt APAP LLC.

       66.     This case concerns the Specialty Brands business and, in particular, the most

significant and valuable brand, H.P. Acthar Gel (“Acthar”).

                                   Specialty Brands Business

       67.     Questcor Pharmaceuticals, Inc. (“Questcor”) was acquired by Mallinckrodt on

August 14, 2014 for $5.9 billion, after paying only $100,000 for Questcor’s lone product 13

years earlier. Following the acquisition, Questcor became a wholly-owned subsidiary of

Mallinckrodt and its name was changed to Mallinckrodt ARD Inc. Later, Mallinckrodt ARD

Inc. became Mallinckrodt ARD LLC (“Mallinckrodt ARD”).

       68.     Mallinckrodt ARD is a biopharmaceutical company incorporated in California,

with corporate offices located at 675 McDonnell Blvd., Hazelwood, Missouri and 1425 US 206,

Bedminster, New Jersey. For clarity, where necessary, the entity that existed prior to the

Mallinckrodt acquisition is herein referred to as “Questcor”.

       69.     Mallinckrodt ARD is a California limited liability company, with a principal place

of business at 675 McDonnell Blvd Hazelwood, MO 63042. Mallinckrodt, plc acquired Questcor

Pharmaceuticals, Inc, and filed an Agreement of Merger on August 14, 2014 with the California

Secretary of State. With Mallinckrodt’s acquisition, Questcor became a wholly-owned subsidiary

of Mallinckrodt and on July 27, 2015 its corporate name was changed from Questcor

Pharmaceuticals, Inc. to Mallinckrodt ARD Inc. On January 26, 2019, the Company filed a

Conversion with the California Secretary of State, changing its name and company type to

Mallinckrodt ARD, LLC.




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       70.     On October 12, 2020, Mallinckrodt ARD, voluntarily initiated Chapter 11

proceedings in the U.S. Bankruptcy Court for the District of Delaware. The case has been assigned

to the Honorable John T. Dorsey and was given the Case No. 20-12551 On October 14, 2020, the

case was consolidated with the Chapter 11 proceedings filed by Mallinckrodt, plc and is now

jointly administered under Case No. 20-12522.

       71.     At the time of the Mallinckrodt acquisition, Questcor’s only product sold in the

United States was Acthar. As of the date of this Class Action Complaint, Mallinckrodt continues

to manufacture, distribute and sell Acthar directly to patients, exclusively through

Cigna/Evernorth, by a program known as the “Acthar Support and Access Program” (“ASAP”)

described below.

       72.     Defendant, Mallinckrodt plc (“Mallinckrodt plc”), is an Irish public limited

company, with its corporate headquarters in Staines-upon-Thames, United Kingdom. Its

principal executive offices are located at 3 Lotus Park, the Causeway, Staines-upon-Thames,

Surrey, TW18 3 AG.

       73.     Mallinckrodt plc and Mallinckrodt ARD, as the owners and operators of the

Mallinckrodt Specialty Brands business, are collectively referred to as “Mallinckrodt”.

       1. Mallinckrodt Parent Entities

       74.     Defendant, Mallinckrodt plc is an Irish public limited company (“Mallinckrodt

plc”). The company was incorporated on January 9, 2013, and registered as a new company with

the Companies Registration Office (CRO) of Ireland on September 1, 2013 with a Company

Number of 522227. Mallinckrodt plc maintains a principal place of business at 3 Lotus Park, The

Causeway, Staines-Upon-Thames, Surrey TW18 3AG, United Kingdom.




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       75.     On October 12, 2020, Mallinckrodt plc, voluntarily initiated Chapter 11

proceedings in the U.S. Bankruptcy Court for the District of Delaware. The case has been assigned

to the Honorable John T. Dorsey and was given the Case No. 20-12522. On October 14, 2020, the

case was consolidated with the Chapter 11 proceedings filed by several of its wholly-owned

subsidiary entities and is now jointly administered under Case No. 20-12522.

       76.     Defendant, Mallinckrodt International Finance S.A., Inc. is a public limited liability

company (société anonyme) and operating company (“MIFSA”), incorporated under the laws of

the Grand Duchy of Luxembourg and wholly-owned subsidiary of Mallinckrodt, plc. The

company was incorporated on November 16, 2012, and registered with the Luxembourg Trade and

Companies Register on April 30, 2013 under the number B172865. It maintains a registered office

at 3b, Boulevard Prince Henri, L-1724 Luxembourg, Grand Duchy of Luxembourg.

       77.     As Mallinckrodt conceded in its bankruptcy filing, MIFSA “is the direct or indirect

parent of all of the Debtors in these cases as well as the non-Debtor affiliates” named herein. Case

No. 20-12522, Dkt. No. 969 at 2.

       78.     MIFSA is the original borrowing and issuing entity for Mallinckrodt debt. It is the

holder of parental debt guarantees and holds a substantial foreign cash pool funded, in large part,

by the marketing and sales Acthar by Mallinckrodt ARD. The movement of monies into and out

of the MIFSA “cash pool” is demonstrated by MIFSA’s

       79.     On October 12, 2020, MIFSA voluntarily initiated Chapter 11 proceedings in the

U.S. Bankruptcy Court for the District of Delaware. The case has been assigned to the Honorable

John T. Dorsey and was given the Case No. 20-12540. On October 14, 2020, the case was

consolidated with the Chapter 11 proceedings filed by Mallinckrodt, plc and is now jointly

administered under Case No. 20-12522.



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        80.   Mallinckrodt UK Limited is a public limited liability company and operating

company (“Mallinckrodt UK”), incorporated on June 23, 1986 under the laws of the United

Kingdom, and is wholly-owned subsidiary of Mallinckrodt, plc. It maintains a registered office in

Surrey, United Kingdom. It maintains a principal place of business at Lotus Park, 3 The Causeway

Staines Upon Thames , TW18 3AG United Kingdom.

        81.   On October 12, 2020, Mallinckrodt UK voluntarily initiated Chapter 11

proceedings in the U.S. Bankruptcy Court for the District of Delaware. The case has been assigned

to the Honorable John T. Dorsey. On October 14, 2020, the case was administratively consolidated

with the Chapter 11 proceedings filed by Mallinckrodt, plc and is now jointly administered under

Case No. 20-12522.

        82.   Mallinckrodt Group S.a.r.l. (“Mallinckrodt Group Sarl”) is a Luxembourg

company and wholly-owned subsidiary of Mallinckrodt, plc. The company was registered on

September 10, 2012 with a RCS file number of B171811 and maintains a principal place of

business at 675 McDonnell Blvd Hazelwood, MO 63042. On October 12, 2020, Mallinckrodt

Group S.a.r.l, voluntarily initiated Chapter 11 proceedings in the U.S. Bankruptcy Court for the

District of Delaware. The case has been assigned to the Honorable John T. Dorsey and was given

the Case No. 20-12527. On October 14, 2020, the case was consolidated with the Chapter 11

proceedings filed by Mallinckrodt, plc and is now jointly administered under Case No. 20-12522

        83.   Mallinckrodt plc is the sole owner of MIFSA, Mallinckrodt UK and Mallinckrodt

Group Sarl, which are collectively referred to herein as “Mallinckrodt Parents”. Dkt. No. 969 at

2.

        2. Mallinckrodt Officers and Directors

        84.   Mark Trudeau (“Trudeau”) is an adult individual and resident of 2382 Club Rd.



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Columbus, OH 43221. He is currently President and Chief Executive Officer of Mallinckrodt

plc and serves on its Board of Directors. Trudeau has been President and CEO of Mallinckrodt

plc since June 2013.

       85.      Trudeau has served on the Board of Directors since June 2013 and after Questcor

was acquired by Mallinckrodt in August 2014. As a result, he has direct, personal knowledge of,

and complicity in, Mallinckrodt’s unlawful conduct.

       86.      Hugh O’Neill (“O’Neill”) is an adult individual and resident of 17010 Kennedy

Crossing Ct. Wildwood MO 63038. He is currently the Executive Vice President and Chief

Commercial and Operations Officer at Mallinckrodt plc. O’Neill was formerly the President of

Mallinckrodt ARD in charge of all Specialty Brands operations since Mallinckrodt acquired

Questcor and Acthar in 2014. At all times material hereto, Mr. O’Neill reported to Trudeau.

(Falcone 234)

       87.      Stephen Welch (“Welch”) is an individual and resident of 15 Sunnybrook Rd.

Basking Ridge, New Jersey 07920. He is currently the Chief Transformation Officer at

Mallinckrodt plc and Chief Financial Officer for Specialty Generics businesses.

       88.      Bryan Reasons (“Reasons”) is an individual and resident of 2 Linden Lane,

Chatham New Jersey 07928. He is the current President of Mallinckrodt ARD, as well as several

other Specialty Brands entities. Reasons serves on the Board of Directors of Mallinckrodt plc.

       89.      Angus Russell (“Russell”) is an adult individual and resident 1366 John Anderson

Drive Ormand Beach, Florida. He is currently the Chairman of the Board of Directors of

Mallinckrodt plc.

       90.      Mr. Russell has been a Mallinckrodt Director since May 2018 (predating the

Mallinckrodt acquisition of Questcor), and the Chairman since August 2014, so he is intimately



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familiar with the company’s fraudulent conduct for which it has been prosecuted by the federal

government repeatedly, investigated by the U.S. Congress several times and sued by qui tam

relators and private plaintiffs. Yet, despite all this objective evidence of Mallinckrodt’s unlawful

practices in relation to its distribution, pricing, marketing and sale of Acthar, in the nearly 8

years he has served as Chairman of the Board, Mr. Russell has done nothing to change

Mallinckrodt’s bad behavior. Instead, he gladly received payments of $473,460 as “Director

Fees” in the year prior to the October 2020 bankruptcy filing (D.I. 944 at 25), likely to buy his

continued silence and complicity in the continuing unlawful conduct of Mallinckrodt in relation

to Acthar.

       91.     All such fees (and other compensation) should be disgorged by Mr. Russell as he

was unjustly enriched and improperly compensated for sanctioning (or turning a blind eye

toward) unlawful Acthar conduct which created the fund of money out of which his ill-gotten

fees and other compensation were paid.

       92.     Mr. Russell has served on the Board of Directors of Questcor from June 2013

until Questcor was acquired by Mallinckrodt in August 2014. As a result, he has direct, personal

knowledge of, and complicity in, Mallinckrodt’s unlawful conduct.

       93.     David Carlucci (“Carlucci”) is an adult individual and resident of 12 Hilltop Road

Norwalk, Connecticut. He currently serves on the Board of Directors of Mallinckrodt plc.

       94.     Mr. Carlucci has been a Mallinckrodt Director since June 2013, so he is

intimately familiar with the company’s fraudulent conduct for which it has been prosecuted by

the federal government repeatedly, investigated by the U.S. Congress several times and sued by

qui tam relators and private plaintiffs. Yet, despite all this objective evidence of Mallinckrodt’s

unlawful practices in relation to its distribution, pricing, marketing and sale of Acthar, in the


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nearly 8 years he has served as a member of the Board, Mr. Carlucci has done nothing to change

Mallinckrodt’s bad behavior. Instead, he gladly received payments totaling $328,863 as

“Director Fees” in the year prior to the October 2020 bankruptcy filing (D.I. 944 at 27), likely to

buy his continued silence and complicity in the continuing unlawful conduct of Mallinckrodt in

relation to Acthar.

       95.     All such fees (and other compensation) should be disgorged by Mr. Carlucci as he

was unjustly enriched and improperly compensated for sanctioning (or turning a blind eye

toward) unlawful Acthar conduct which create the fund of money out of which his ill-gotten fees

and other compensation were paid.

       96.     J. Martin Carroll (“Carroll”) is an adult individual and resident of 9353 Surfbird

Ct. Naples, Florida 34120. He currently serves on the Board of Directors of Mallinckrodt plc.

       97.     Mr. Carroll has been a Mallinckrodt Director since June 2013, so he is intimately

familiar with the company’s fraudulent conduct for which it has been prosecuted by the federal

government repeatedly, investigated by the U.S. Congress several times and sued by qui tam

relators and private plaintiffs. Yet, despite all this objective evidence of Mallinckrodt’s unlawful

practices in relation to its distribution, pricing, marketing and sale of Acthar, in the nearly 8

years he has served as a member of the Board, Mr. Carroll has done nothing to change

Mallinckrodt’s bad behavior. Instead, he gladly received payments totaling $344,604 as

“Director Fees” in the year prior to the October 2020 bankruptcy filing (D.I. 944 at 28), likely to

buy his continued silence and complicity in the continuing unlawful conduct of Mallinckrodt in

relation to Acthar.

       98.     All such fees (and other compensation) should be disgorged by Mr. Carroll as he

was unjustly enriched and improperly compensated for sanctioning (or turning a blind eye



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toward) unlawful Acthar conduct which create the fund of money out of which his ill-gotten fees

and other compensation were paid.

       99.     Paul R. Carter (“Carter”) is an adult individual whose residence is currently

unknown. He currently serves on the Board of Directors of Mallinckrodt plc.

       100.    Mr. Carter has been a Mallinckrodt Director since May 2018, so he is intimately

familiar with the company’s fraudulent conduct for which it has been prosecuted by the federal

government repeatedly, investigated by the U.S. Congress several times and sued by qui tam

relators and private plaintiffs. Yet, despite all this objective evidence of Mallinckrodt’s unlawful

practices in relation to its distribution, pricing, marketing and sale of Acthar, in the nearly 8

years he has served as a member of the Board, Mr. Carter has done nothing to change

Mallinckrodt’s bad behavior. Instead, upon information and belief, he gladly received payments

as “Director Fees” in the years prior to the October 2020 bankruptcy filing (D.I. 944 at 28),

likely to buy his continued silence and complicity in the continuing unlawful conduct of

Mallinckrodt in relation to Acthar.

       101.    All such fees (and other compensation) should be disgorged by Mr. Carter as he

was unjustly enriched and improperly compensated for sanctioning (or turning a blind eye

toward) unlawful Acthar conduct which create the fund of money out of which his ill-gotten fees

and other compensation were paid.

       102.    David Norton (“Norton”) is an adult individual and resident of 8 Greenholm St.

Apartment C. Princeton, New Jersey. He currently serves on the Board of Directors of

Mallinckrodt plc.

       103.    Mr. Norton has been a Mallinckrodt Director since September 2017, so he is

intimately familiar with the company’s fraudulent conduct for which it has been prosecuted by



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the federal government repeatedly, investigated by the U.S. Congress several times and sued by

qui tam relators and private plaintiffs. Yet, despite all this objective evidence of Mallinckrodt’s

unlawful practices in relation to its distribution, pricing, marketing and sale of Acthar, in the

nearly 8 years he has served as a member of the Board, Mr. Norton has done nothing to change

Mallinckrodt’s bad behavior. Instead, he gladly received payments totaling $344,604 as

“Director Fees” in the year prior to the October 2020 bankruptcy filing (D.I. 944 at 26), likely to

buy his continued silence and complicity in the continuing unlawful conduct of Mallinckrodt in

relation to Acthar.

       104.    All such fees (and other compensation) should be disgorged by Mr. Norton as he

was unjustly enriched and improperly compensated for sanctioning (or turning a blind eye

toward) unlawful Acthar conduct which create the fund of money out of which his ill-gotten fees

and other compensation were paid.

       105.    Carlos V. Paya, M.D., Ph.D. (“Pava”) is an adult individual and resident of 165

Collingswood St. San Francisco, California 94114 . He currently serves on the Board of

Directors of Mallinckrodt plc.

       106.    Dr. Paya has been a Mallinckrodt Director since May 2019, so he is intimately

familiar with the company’s fraudulent conduct for which it has been prosecuted by the federal

government repeatedly, investigated by the U.S. Congress several times and sued by qui tam

relators and private plaintiffs. Yet, despite all this objective evidence of Mallinckrodt’s unlawful

practices in relation to its distribution, pricing, marketing and sale of Acthar, in the nearly 8

years he has served as a member of the Board, Dr. Paya has done nothing to change

Mallinckrodt’s bad behavior. Instead, he gladly received payments totaling $340,854 as

“Director Fees” in the year prior to the October 2020 bankruptcy filing (D.I. 944 at 25), likely to



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buy his continued silence and complicity in the continuing unlawful conduct of Mallinckrodt in

relation to Acthar.

          107.   All such fees (and other compensation) should be disgorged by Dr. Paya as he

was unjustly enriched and improperly compensated for sanctioning (or turning a blind eye

toward) unlawful Acthar conduct which create the fund of money out of which his ill-gotten fees

and other compensation were paid.

          108.   JoAnn Reed (“Reed”) is an adult individual and resident of 205 Tuttle Ave,

Spring Lake, New Jersey 07762. She currently serves on the Board of Directors of Mallinckrodt

plc.

          109.   Ms. Reed has been a Mallinckrodt Director since June 2013, so she is intimately

familiar with the company’s fraudulent conduct for which it has been prosecuted by the federal

government repeatedly, investigated by the U.S. Congress several times and sued by qui tam

relators and private plaintiffs. Yet, despite all this objective evidence of Mallinckrodt’s unlawful

practices in relation to its distribution, pricing, marketing and sale of Acthar, in the nearly 8

years she has served as a member of the Board, Ms. Reed has done nothing to change

Mallinckrodt’s bad behavior. Instead, she gladly received payments of $351,102 as “Director

Fees” in the year prior to the October 2020 bankruptcy filing (D.I. 944 at 25), likely to buy her

continued silence and complicity in the continuing unlawful conduct of Mallinckrodt in relation

to Acthar.

          110.   All such fees (and other compensation) should be disgorged by Ms. Reed as she

was unjustly enriched and improperly compensated for sanctioning (or turning a blind eye

toward) unlawful Acthar conduct which create the fund of money out of which her ill-gotten fees

and other compensation were paid.



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         111.   Anne C. Whitaker (“Whitaker” ) is an adult individual and resident of 516

Crinian Drive, Cary, North Carolina 27513. She currently serves on the Board of Directors of

Mallinckrodt plc.

         112.   Ms. Whitaker has been a Mallinckrodt Director since May 2018, so she is

intimately familiar with the company’s fraudulent conduct for which it has been prosecuted by

the federal government repeatedly, investigated by the U.S. Congress several times and sued by

qui tam relators and private plaintiffs. Yet, despite all this objective evidence of Mallinckrodt’s

unlawful practices in relation to its distribution, pricing, marketing and sale of Acthar, in the

nearly 8 years she has served as a member of the Board, Ms. Whitaker has done nothing to

change Mallinckrodt’s bad behavior. Instead, she gladly received payments of $330,360 as

“Director Fees” in the year prior to the October 2020 bankruptcy filing (D.I. 944 at 25), likely to

buy her continued silence and complicity in the continuing unlawful conduct of Mallinckrodt in

relation to Acthar.

         113.   All such fees (and other compensation) should be disgorged by Ms. Whitaker as

she was unjustly enriched and improperly compensated for sanctioning (or turning a blind eye

toward) unlawful Acthar conduct which create the fund of money out of which her ill-gotten fees

and other compensation were paid.

         114.   Kneeland Youngblood, M.D. (“Youngblood”) is an adult individual and resident

of 4507 N. Lindhurst Ave. Dallas, Texas 75229. He currently serves on the Board of Directors

of Mallinckrodt plc. He is a member of Mallinckrodt’s Governance and Compliance Committee.3

         115.   Dr. Youngblood has been a Mallinckrodt Director since June 2013, so he is

intimately familiar with the company’s fraudulent conduct for which it has been prosecuted by



3
    https://www.mallinckrodt.com/about/board-of-directors/kneeland-youngblood/

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the federal government repeatedly, investigated by the U.S. Congress several times and sued by

qui tam relators and private plaintiffs. Yet, despite all this objective evidence of Mallinckrodt’s

unlawful practices in relation to its distribution, pricing, marketing and sale of Acthar, in the

nearly 8 years he has served on the Board, Dr. Youngblood has done nothing to change

Mallinckrodt’s bad behavior. Instead, he gladly received payments of $330,360 as “Director

Fees” in the year before the October bankruptcy filing (D.I. 944 at 29), likely to buy his

continued silence and complicity in the continuing unlawful conduct of Mallinckrodt in relation

to Acthar.

       116.    The continuing unlawful conduct of Mallinckrodt and its co-conspirators at

Cigna/Evernorth is expressly known by, approved by, sanctioned and/or not expressly rejected

and admonished by the corporate officers and directors of Mallinckrodt, namely, Defendants,

President and CEO Mark Trudeau (“Trudeau”), Senior Executives Hugh O’Neill (“O’Neill”),

Stephen Welch (“Welch”), and Bryan Reasons (“Reasons”), Chairman of the Board Angus

Russell (“Russell”), and Board members David Carlucci (“Carlucci”), J. Martin Carroll

(“Carroll”), Paul R. Carter (“Carter”), David Norton (“Norton”), Carlos V. Paya, M.D., Ph.D.

(“Paya”), JoAnn Reed (“Reed”), Anne C. Whitaker (“Whitaker”), Kneeland Youngblood, M.D.

(“Youngblood”).

       117.    As a result, the current officers and directors of Mallinckrodt, and its Debtors-in-

possession and Non-Debtor entities, continue to violate the law by not changing Mallinckrodt’s

unlawful practices which have been in place since the Questcor acquisition in August 2014.

       118.    The individual Board members and executives here were fully aware of, and

approved of, the strategic business decisions which have led to the continuation of unlawful

conduct in relation to Acthar.



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       119.    For instance, in 2016, the Board and executive Defendants named here were

directly involved in the Mallinckrodt strategy to separate Acthar from BioVectra’s core business,

and spin off BioVectra as part of “Project Lobster Tail”, which entailed stripping off the Acthar

“active pharmaceutical ingredient (“(API”) intellectual property (“IP”) and manufacturing

function from BioVectra (Mallinckrodt’s wholly-owned API manufacturing facility purchased at

the same time as Synacthen as part of Mallinckrodt’s antitrust scheme to suppress competition in

the ACTH market) and then re-locating both the IP and API manufacturing overseas to

Mallinckrodt foreign subsidiaries, like MPIL (the principal brands operating and manufacturing

entity), MPL (providing commercial support for MPIL) and the Mallinckrodt IP Entities all

described hereinbelow.

       120.    Questcor purchased BioVectra in 2013 at the same time as Synacthen as part of its

scheme to suppress competition by taking control of the only supplier of Acthar’s API and

prohibiting and excluding samples for use by potential competitors in developing generic

competitor equivalents for Acthar – a major threat to the Acthar monopoly and price fixing

scheme. At the time, Questcor described the acquisition as follows:

       On January 18, 2013, we completed our acquisition of BioVectra Inc. As a result of this
       acquisition, we have greater control over the manufacturing and quality of the active
       pharmaceutical ingredient, or API, in Acthar.

       BioVectra is a supplier of contract manufacturing services to the global pharmaceutical
       and biotechnology industry. BioVectra manufactures API’s, chemical intermediates, and
       bioprocessing reagents, and is our manufacturing partner for the API in our H.P.
       Acthar® Gel (repository corticotropin injection). BioVectra is proficient in synthetic
       organic chemistry, natural extraction of bioactive compounds, PEGylation and
       conjugation chemistry, and fermentation of chemical and biologic molecules.

Questcor 2013 10K, EX 99.1 at “BioVectra Segment”.

       121.    Having acquired control over the exclusive supply of Acthar’s API, along with

the only synthetic competitor to Achar, Synacthen, Mallinckrodt was in a position to forestall

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and prevent competition to its Acthar monopoly and price fixing scheme. Indeed, at the

December 12-13, 2012 Board meeting

       122.      Then, Mallinckrodt sold BioVectra in December 2019, with the approval of the

Board and at the direction of Alix Partners, to complete this aspect of the unlawful scheme, in

order to shield these important Acthar assets from competition and from creditors, like the

patients and payors of Acthar (including LEHB).

       123.      As discussed during the September 21-22 Mallinckrodt Board meeting, held at the

Ritz Carlton in London (and attended by Defendant-executives Trudeau, O’Neill and Welch, as

well as Chairman Russell and Board members Carroll, Reed, Youngblood and others), existing

the Specialty Generics business (especially the opioids business) and moving Acthar’s IP and

manufacturing to Ireland – and out of the immediate reach of the U.S. regulators, courts and

creditors – was intended to separate the most important Mallinckrodt asset, Acthar, and protect it

from the scrutiny of regulators, courts and creditors. This strategy was expressly intended to

“optimize to risk mitigation for Acthar”.

       124.      The sales results for Acthar that year were “eye popping” in relation to the other

drug sales, driving home to the Defendant executives and Board members the need to jettison the

opioid business and maximize returns on the Specialty Brands business, especially Acthar sales.

       125.      Trudeau made sure that the Board “appreciate[d] how much thinking” the

executive management team (including Trudeau, O’Neill and Welch) had “done on [the] exit

strategy” for extracting Mallinckrodt from the opioid business dragging down the Specialty

Brands business in general, and Acthar in particular. Multiple members of the Board “affirmed”

such strategy.

       126.      Chairman Russell and others identified as a “risk” of the company allowing too



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much money to accumulate in Mallinckrodt ARD, and the need to “reallocate” the “eye

popping” sales revenues form Acthar around the Mallinckrodt corporate organization and

structure. Specifically, “efforts were underway” in 2016 “to mitigate risks and maximize

opportunities” through “internal allocation” with “shared services”. Such allocation of Acthar

revenues around the various Mallinckrodt subsidiaries was intended to manage the “trouble with

declines” in Specialty Generics in order to “make the bottom line look better” across the

Mallinckrodt business. Thus, from the earliest days of the Acthar acquisition by Mallinckrodt,

the corporation “stole from Peter to pay Paul”, taking from the self-described “cash cow” that

was Acthar to fund declines and losses in other aspects of the Mallinckrodt business.



                               Mallinckrodt Subsidiary Entities
                                  Mallinckrodt IP Entities

       127.    Defendants, Mallinckrodt Pharma IP Trading Unlimited Company, is an Irish

private unlimited company and wholly-owned subsidiary of MIFSA (“Mallinckrodt Pharma

IP”). The company was incorporated on September 21, 2015 and registered as a new company

with the Companies Registration Office (CRO) of Ireland under the name Mallinckrodt Pharma

IP Trading Designated Activity Company on the same day, with a Company Number of 568588.

The company maintains a principal place of business at College Business & Technology Park

Cruiserath, Blanchardstown, Dublin 15, Ireland.

       128.    On May 27, 2020, the company filed a re-registration of company type and

transitioned to Mallinckrodt Pharma IP Trading Unlimited Company. On that same date, the exact

same filing (a D20 form re-registering from a Limited Company to an Unlimited Company) was

also done with regards to the company’s subordinate entities, co-defendant Mallinckrodt ARD IP

Unlimited Company and non-defendant Mallinckrodt Hospital Products IP Unlimited Company.


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         129.   On October 12, 2020, Mallinckrodt Pharma IP voluntarily initiated Chapter 11

proceedings in the U.S. Bankruptcy Court for the District of Delaware. The case has been assigned

to the Honorable John T. Dorsey and was given the Case No. 20-12559. On October 14, 2020, the

case was consolidated with the Chapter 11 proceedings filed by Mallinckrodt, plc and is now

jointly administered under Case No. 20-12522.

         130.   Defendant, Acthar IP Unlimited Co., is an Irish private unlimited company, and

wholly-owned subsidiary of Mallinckrodt Pharma IP (“Acthar IP”).             The company was

incorporated on September 26, 2014 and maintains a principal place of business at College

Business & Technology Park Cruiserath, Blanchardstown, Dublin 15, Ireland.

         131.   On October 12, 2020, Acthar IP Unlimited Co. voluntarily initiated Chapter 11

proceedings in the U.S. Bankruptcy Court for the District of Delaware. The case has been assigned

to the Honorable John T. Dorsey. On October 14, 2020, the case was consolidated with the Chapter

11 proceedings filed by Mallinckrodt, plc and is now jointly administered under Case No. 20-

12522.

         132.   Defendant, Mallinckrodt ARD IP Unlimited Company, is an Irish private unlimited

company, and wholly-owned subsidiary of Acthar IP (“Mallinckrodt ARD IP”). The company

was incorporated on September 17, 2015 and registered as a new company with the Companies

Registration Office (CRO) of Ireland under the name Acthar IP on April 26, 2014 with a Company

Number of 550246.

         133.   On October 12, 2020, Mallinckrodt ARD IP voluntarily initiated Chapter 11

proceedings in the U.S. Bankruptcy Court for the District of Delaware. The case has been assigned

to the Honorable John T. Dorsey and was given the Case No. 20-12549. On October 14, 2020, the




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case was consolidated with the Chapter 11 proceedings filed by Mallinckrodt, plc and is now

jointly administered under Case No. 20-12522.

       134.    Defendant, Mallinckrodt IP Unlimited Co., is an Irish private unlimited company,

and wholly-owned subsidiary of Mallinckrodt Pharma IP (“Mallinckrodt IP”). The company was

incorporated on April 1, 2014 and maintains a principal place of business in Dublin, Ireland.

       135.    On October 12, 2020, Mallinckrodt IP voluntarily initiated Chapter 11 proceedings

in the U.S. Bankruptcy Court for the District of Delaware. The case has been assigned to the

Honorable John T. Dorsey. On October 14, 2020, the case was consolidated with the Chapter 11

proceedings filed by Mallinckrodt, plc and is now jointly administered under Case No. 20-12522.

       136.    Defendant, Mallinckrodt Hospital Products IP Unlimited Co., is an Irish private

unlimited company, and wholly-owned subsidiary of Mallinckrodt IP (“Mallinckrodt Hospital

Products IP”). The company was incorporated on April 1, 2014 and maintains a principal place

of business in Dublin, Ireland

       137.    On October 12, 2020, Mallinckrodt Hospital Products IP voluntarily initiated

Chapter 11 proceedings in the U.S. Bankruptcy Court for the District of Delaware. The case has

been assigned to the Honorable John T. Dorsey. On October 14, 2020, the case was consolidated

with the Chapter 11 proceedings filed by Mallinckrodt, plc and is now jointly administered under

Case No. 20-12522.

       138.    Defendant, Mallinckrodt Pharmaceuticals Ireland LTD, is an Irish private limited

operating company and wholly-owned subsidiary of MIFSA (“MPIL”). The company was

incorporated on August 20, 2014 and registered as a new company with the Companies

Registration Office (CRO) of Ireland on the same day, with a Company Number of 548294. It




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maintains a principal place of business at College Business & Technology Park Cruiserath,

Blanchardstown, Dublin 15, Ireland.

       139.    It is believed and therefore averred that Mallinckrodt created MPIL to manage

aspects of its specialty brands business, including the sale of Acthar and Synacthen. As part of

that function, MPIL handled the calculation and payment of royalties owed to Aventis

Pharmaceuticals under the 2001 acquisition agreement. Aventis was entitled to be paid, and was

paid 1% of the adjusted net sales of Acthar.

       140.    Executives of MPIL were routinely involved in the day-to-day activities and

decision-making involving the U.S. sales of Acthar, including the marketing and promotion of

Acthar. As a result, MPIL was an active participant in the alleged unlawful conduct at issue in the

Acthar Plaintiffs’ cases.

       141.    On October 12, 2020, MPIL voluntarily initiated Chapter 11 proceedings in the

U.S. Bankruptcy Court for the District of Delaware. The case has been assigned to the Honorable

John T. Dorsey and was given the Case No. 20-12562. On October 14, 2020, the case was

consolidated with the Chapter 11 proceedings filed by Mallinckrodt, plc and is now jointly

administered under Case No. 20-12522.

       142.    On June 10, 2020, a little more than four months before it filed for bankruptcy,

MPIL received from another Defendant-Debtor, Mallinckrodt ARD LLC the sum of $561,654,617

as a purported “Intercompany - Commercial Supply Chain Re-Establishment” payment, and

another “Intercompany Trade” payment in the amount of $10,075,323. These payments resulted

in Mallinckrodt ARD reporting a substantial reduction in gross revenue, from $1,110,064,724 (in

2018) and $952,707,262 (in 2019), to just $41,472,782 in the first 9 months of 2020, just prior to

the bankruptcy filings.



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       143.    Defendant, Sonorant Therapeutics, LTD, is an Irish private, limited, non-operating

(as of December 2020) company and wholly-owned subsidiary of Mallinckrodt Pharmaceuticals

(“Sonorant Therapeutics”). The company was incorporated on April 24, 2019 and registered as

a new company with the Companies Registration Office (CRO) of Ireland on the same day, with

a Company Number of 648696. It maintains a principal place of business at College Business &

Technology Park Cruiserath, Blanchardstown, Dublin 15, Ireland.

       144.    On October 12, 2020, MIFSA, the parent of Sonorant Therapeutics, voluntarily

initiated Chapter 11 proceedings in the U.S. Bankruptcy Court for the District of Delaware.

Mallinckrodt PLC’s case has been assigned to the Honorable John T. Dorsey, and was consolidated

with the concurrent Chapter 11 proceedings filed by several subsidiary entities and is now jointly

administered under Case No. 20-12522. Sonorant Therapeutics did not itself file for bankruptcy

and in all filings within that consolidated matter, Sonorant Therapeutics is listed as a Non-Debtor

and Non-Obligor entity.

       145.    Sonorant Therapeutics was to be the new name of Mallinckrodt once the generic

product line (which include the opioid business) was sold off. It was to be based in Bedminster,

New Jersey, the location of the Mallinckrodt ARD brand business in the United States.

       146.    While the spinoff of the generics business was to have been completed by the

second half of 2019, creating two companies – one focused on generic products and based in St.

Louis (under the new name “Mallinckrodt Inc.”) and the other focused on specialty brand products

and based in Bedminster (under the new name “Sonorant Therapeutics PLC”) – the spinoff never

happened.




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       147.    Instead, in February 2020, Mallinckrodt “contemplated a surgical, specialty

Generics-only chapter 11 filing.” Dkt. No. 128 at ¶ 17. Debtors abandoned that approach in favor

of a bankruptcy of both the generics business and portions of the specialty brands business.

       148.    Defendant, Therakos EMEA Limited is an Irish private, limited, operating

company and wholly-owned subsidiary of Mallinckrodt Pharmaceuticals (“Therakos EMEA”).

The company was incorporated on September 11, 2013 and initially registered as a new company

with the Companies Registration Office (CRO) of Ireland under the name Questcor Operations,

Ltd on the same day, with a Company Number of 532615 (“Questcor Operations”).

       149.    On May 18, 2015, the Company registered a Name Change with the CRO, changing

its name to Mallinckrodt Specialty Pharmaceuticals Ireland, Limited (“Mallinckrodt Specialty

Pharmaceuticals”).

       150.    On September 24, 2019, the Company registered another Name Change with the

CRO, changing its name to Therakos EMEA, Limited and maintains a principal place of business

at College Business & Technology Park Cruiserath, Blanchardstown, Dublin 15, Ireland.

       151.    On October 12, 2020, Mallinckrodt Pharmaceuticals, the parent of Therakos,

EMEA, voluntarily initiated Chapter 11 proceedings in the U.S. Bankruptcy Court for the District

of Delaware. Mallinckrodt PLC’s case has been assigned to the Honorable John T. Dorsey, and

on October 14, 2020, was consolidated with the concurrent Chapter 11 proceedings filed by several

subsidiary entities and is now jointly administered under Case No. 20-12522.

       152.    Therakos EMEA did not itself file for bankruptcy and in all filings within that

consolidated matter, Therakos EMEA is listed as a Non-Debtor and Non-Obligor entity.

                                   Mallinckrodt UK Entities




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       153.   In the United Kingdom, Mallinckrodt created three new subsidiary holding

companies on the same day, June 17, 2014. Each subsidiary stood in a vertical relationship to

MIFSA as follows: MIFSA’s direct subsidiary, Mallinckrodt ARD Holdings Limited, was parent

to MUSHI UK Holdings Limited, which was parent to Mallinckrodt Enterprises UK Limited as

follows:

                                            MIFSA
                                          Mallinckrodt
                                       ARD Holdings Limited
                                             (UK)

                                       MUSHI UK Holdings
                                           Limited (UK)
                                      Mallinckrodt Enterprises
                                        UK Limited (UK)

       154.   Each subsidiary was incorporated under the laws of the United Kingdom with the

same principal place of business at Surrey, United Kingdom.

       155.   Mallinckrodt ARD Holdings Limited, is a United Kingdom private limited

company and wholly-owned subsidiary of MIFSA. The company was formed on June 17, 2014

under the name MIFSA UK Limited, with a company number of 09090452 (“Mallinckrodt ARD

Holdings Ltd.”).

       156.   On September 18, 2014, it is believed the company changed its name to

Mallinckrodt ARD Holdings, Limited and maintains a registered office address of 3 Lotus Park,

The Causeway, Staines Upon Thames, England TW18 3AG.

       157.   On October 12, 2020, Mallinckrodt ARD Holdings, Ltd. voluntarily initiated

Chapter 11 proceedings in the U.S. Bankruptcy Court for the District of Delaware. The case has

been assigned to the Honorable John T. Dorsey and was given the Case No. 20-12546. On October

14, 2020, the case was consolidated with the Chapter 11 proceedings filed by Mallinckrodt, plc

and is now jointly administered under Case No. 20-12522.


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       158.   MUSHI UK Holdings Limited, is a United Kingdom private limited company and

wholly-owned subsidiary of Mallinckrodt ARD Holdings, Ltd. The company was formed on June

17, 2014 (“MUSHI UK”). It is not named as a defendant here because there is no evidence

presently that it received Acthar money. However, Plaintiff reserves the right to amend this

Complaint to name MUSHI UK in the future.

       159.   On October 12, 2020, MUSHI UK voluntarily initiated Chapter 11 proceedings in

the U.S. Bankruptcy Court for the District of Delaware. The case has been assigned to the

Honorable John T. Dorsey. On October 14, 2020, the case was consolidated with the Chapter 11

proceedings filed by Mallinckrodt, plc and is now jointly administered under Case No. 20-12522.

       160.   Mallinckrodt Enterprises UK Limited, is a United Kingdom private limited

company and wholly-owned subsidiary of MUSHI UK. The company was formed on June 17,

2014 (“Mallinckrodt Enterprises UK”). It is not named as a defendant here because there is no

evidence presently that it received Acthar money. However, Plaintiff reserves the right to amend

this Complaint to name Mallinckrodt Enterprises UK in the future.

       161.   On October 12, 2020, Mallinckrodt Enterprises UK voluntarily initiated Chapter 11

proceedings in the U.S. Bankruptcy Court for the District of Delaware. The case has been assigned

to the Honorable John T. Dorsey. On October 14, 2020, the case was consolidated with the Chapter

11 proceedings filed by Mallinckrodt, plc and is now jointly administered under Case No. 20-

12522. Mallinckrodt Lux IP Sarl is a Luxembourg company and wholly-owned subsidiary of

Mallinckrodt plc. (“Mallinckrodt Lux”).

       162.   Mallinckrodt Lux received and transfer over $1.1 billion.

       163.

                               Mallinckrodt US Brand Entities



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       164.    In the United States, Mallinckrodt created an extensive, vertically integrated

structure under MIFSA, as the parent corporation, for its Specialty Brands business. The direct

subsidiary of MIFSA in the U.S. was MEH, Inc., a Nevada corporation (“MEH”). Both the

generics and specialty brands businesses were incorporated as subsidiaries to MEH.

       165.    Mallinckrodt Equinox Finance LLC, f/k/a Mallinckrodt Equinox Finance

Inc.(“Mallinckrodt Equinox”) is a Delaware company and wholly-owned owned subsidiary of

MEH and Mallinckrodt, plc. The company was incorporated on September 12, 2017 under the

name Mallinckrodt Equinox Finance Inc with a file number of 6540739. At some point, the

company changed its entity status to a Limited Liability Company and currently maintains a

principal place of business at 675 McDonnell Blvd Hazelwood, MO 63042. On October 12,

2020, ST Operations LLC, voluntarily initiated Chapter 11 proceedings in the U.S. Bankruptcy

Court for the District of Delaware. The case has been assigned to the Honorable John T. Dorsey

and was given the Case No. 20-12523. On October 14, 2020, the case was consolidated with the

Chapter 11 proceedings filed by Mallinckrodt, plc and is now jointly administered under Case

No. 20-12522

       166.    Defendant, ST Shared Services LLC (“ST Shared Services”) is a Delaware

Limited Liability Company and wholly-owned subsidiary of Mallinckrodt, plc. The company was

formed on July 2, 2019 with a file number of 7497395 and maintains a principal place of business

at 675 McDonnell Blvd Hazelwood, MO 63042. On October 12, 2020, ST Shared Services LLC,

voluntarily initiated Chapter 11 proceedings in the U.S. Bankruptcy Court for the District of

Delaware. The case has been assigned to the Honorable John T. Dorsey and was given the Case

No. 20-12557. On October 14, 2020, the case was consolidated with the Chapter 11 proceedings

filed by Mallinckrodt, plc and is now jointly administered under Case No. 20-12522.



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       167.   Defendant, ST Operations, LLC (“ST Operations”) is a Delaware Limited

Liability Company and wholly-owned subsidiary of Mallinckrodt, plc. The company was formed

on February 3, 2020 with a file number of 7833101 and maintains a principal place of business at

675 McDonnell Blvd Hazelwood, MO 63042. On October 12, 2020, ST Operations, LLC,

voluntarily initiated Chapter 11 proceedings in the U.S. Bankruptcy Court for the District of

Delaware. The case has been assigned to the Honorable John T. Dorsey and was given the Case

No. 20-12555. On October 14, 2020, the case was consolidated with the Chapter 11 proceedings

filed by Mallinckrodt, plc and is now jointly administered under Case No. 20-12522.

       168.   Petten Holdings, Inc. (“Petten”)is a Delaware corporation and wholly-owned

subsidiary of Mallinckrodt, plc. The company was incorporated on December 6, 2018 with a file

number of 7181352 and maintains a principal place of business at 675 McDonnell Blvd

Hazelwood, MO 63042. On October 12, 2020, Petten Holdings, Inc, voluntarily initiated Chapter

11 proceedings in the U.S. Bankruptcy Court for the District of Delaware. The case has been

assigned to the Honorable John T. Dorsey and was given the Case No. 20-12547. On October 14,

2020, the case was consolidated with the Chapter 11 proceedings filed by Mallinckrodt, plc and is

now jointly administered under Case No. 20-12522

       169.   Mallinckrodt Petten Holdings BV (“Mallinckrodt Petten”) is a Netherlands

corporation and wholly-owned subsidiary of Mallinckrodt, plc. The company has an Establishment

number of 000026164515 and maintains a principal place of business at 675 McDonnell Blvd

Hazelwood, MO 63042. Despite the ongoing Chapter 11 bankruptcy proceeding of its parent

company and several fellow subsidiary entities in Delaware being administered under Case No.

20-12522, Mallinckrodt Petten Holdings BV has been alleged to be a non-debtor entity.




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         170.   Defendant, ST US Holdings LLC (“ST US Holdings”) is a Nevada Limited

Liability Company and wholly-owned subsidiary of Mallinckrodt, plc. The company was initially

incorporated on November 8, 2006 under the name Mallinckrodt US Holdings, Inc., with a Nevada

Business ID Number of NV20061715285. On September 9, 2020, the company filed Articles of

Conversion to change their name to ST US Holdings, LLC and their company type to a Limited

Liability Company with a new Nevada Business ID Number of NV20201887199 and maintains a

principal place of business at 675 McDonnell Blvd Hazelwood, MO 63042. On October 12, 2020,

ST US Holdings LLC, voluntarily initiated Chapter 11 proceedings in the U.S. Bankruptcy Court

for the District of Delaware. The case has been assigned to the Honorable John T. Dorsey and was

given the Case No. 20-12560. On October 14, 2020, the case was consolidated with the Chapter

11 proceedings filed by Mallinckrodt, plc and is now jointly administered under Case No. 20-

12522.

         171.   Defendant, Mallinckrodt Brand Pharmaceuticals LLC (“Mallinckrodt Brand

Pharma”) is a Delaware Limited Liability Company and wholly-owned subsidiary of

Mallinckrodt, plc. The company was formed on January, 5, 2001 with a file number of 3340685

and maintains a principal place of business at 675 McDonnell Blvd Hazelwood, MO 63042. On

October 12, 2020, Mallinckrodt Brand Pharmaceuticals LLC, voluntarily initiated Chapter 11

proceedings in the U.S. Bankruptcy Court for the District of Delaware. The case has been assigned

to the Honorable John T. Dorsey and was given the Case No. 20-12554. On October 14, 2020, the

case was consolidated with the Chapter 11 proceedings filed by Mallinckrodt, plc and is now

jointly administered under Case No. 20-12522.

         172.   Defendant, Mallinckrodt US Holdings LLC (“Mallinckrodt US Holdings”) is a

Delaware Limited Liability Company and wholly-owned subsidiary of Mallinckrodt, plc. The



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company was formed on December, 20, 2012 with a file number of 5214842 and maintains a

principal place of business at 675 McDonnell Blvd Hazelwood, MO 63042. On October 12, 2020,

Mallinckrodt US Holdings LLC, voluntarily initiated Chapter 11 proceedings in the U.S.

Bankruptcy Court for the District of Delaware. The case has been assigned to the Honorable John

T. Dorsey and was given the Case No. 20-12578. On October 14, 2020, the case was consolidated

with the Chapter 11 proceedings filed by Mallinckrodt, plc and is now jointly administered under

Case No. 20-12522.

       173.   Defendant, ST US Pool LLC (“ST US Pool”) is a Delaware Limited Liability

Company and wholly-owned subsidiary of Mallinckrodt, plc. The company was formed on

February 4, 2020 with a file number of 7834956 and maintains a principal place of business at 675

McDonnell Blvd Hazelwood, MO 63042. On October 12, 2020, ST US Pool LLC, voluntarily

initiated Chapter 11 proceedings in the U.S. Bankruptcy Court for the District of Delaware. The

case has been assigned to the Honorable John T. Dorsey and was given the Case No. 20-12563.

On October 14, 2020, the case was consolidated with the Chapter 11 proceedings filed by

Mallinckrodt, plc and is now jointly administered under Case No. 20-12522.

       174.   Defendant, Mallinckrodt ARD Holdings, Inc. (“Mallinckrodt ARD Holdings”) is

a Delaware Corporation and wholly-owned subsidiary of Mallinckrodt, plc. The company was

incorporated on July 25, 2014 with a file number of 5575164 and maintains a principal place of

business at 675 McDonnell Blvd Hazelwood, MO 63042. On October 12, 2020, Mallinckrodt ARD

Holdings, Inc, voluntarily initiated Chapter 11 proceedings in the U.S. Bankruptcy Court for the

District of Delaware. The case has been assigned to the Honorable John T. Dorsey and was given

the Case No. 20-12543. On October 14, 2020, the case was consolidated with the Chapter 11

proceedings filed by Mallinckrodt, plc and is now jointly administered under Case No. 20-12522.



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          175.   Defendant Questcor International, LTD is an Irish private limited company and

wholly-owned subsidiary of Mallinckrodt, plc. The company was initially registered as a new

company with the Companies Registration Office (CRO) of Ireland under the name Akasia,

Limited on June 7, 2013, with a Company Number of 528629. On October 22, 2013, the Company

registered a Name Change with the CRO, changing its name to Questcor International, Limited

and maintains a principal place of business at College Business & Technology Park Cruiserath,

Blanchardstown, Dublin 15, Ireland. On October 12, 2020, Mallinckrodt PLC, of which Questcor

International, LTD is a wholly-owned subsidiary, voluntarily initiated Chapter 11 proceedings in

the U.S. Bankruptcy Court for the District of Delaware. Mallinckrodt PLC’s case has been

assigned to the Honorable John T. Dorsey, and was consolidated with the concurrent Chapter 11

proceedings filed by several subsidiary entities and is now jointly administered under Case No.

20-12522. Questcor International, LTD did not itself file for bankruptcy and in all filings within

that consolidated matter, Questcor International, LTD is listed as a Non-debtor and Non-obligor

entity.

                          The Cigna/Evernorth/Express Scripts Entities

          176.   Defendants Cigna Corporation (“Cigna”) purchased Express Scripts, Inc. and

Express Scripts Holding Company, both Delaware Corporations with their principle executive

offices located at 1 Express Way, Saint Louis, Missouri 63121. Cigna renamed Express Scripts

“Evernorth” in September 2020. Collectively, Cigna, Evernorth, Express Scripts, Inc. and

Express Scripts Holding Company (collectively “ESI” or Express Scripts”) are referred to as

“Cigna/Evernorth”.

          177.   Defendant CuraScript, Inc., d/b/a CuraScript, SD, f/k/a CuraScript Pharmacy,

Inc., (“CuraScript”) is a wholly-owned subsidiary of Cigna/Evernorth. CuraScript was acquired



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by Express Script in January 2004, and its operation was expanded when Express Scripts

acquired Priority Healthcare Corporation (“Priority”) in October 2005. The combined Priority

and CuraScript became one of the nation’s largest specialty pharmacy and distribution

companies with more than $3 billion in annual revenue.

       178.    CuraScript’s corporate headquarters are located at 255 Technology Park, Lake

Mary, Florida 32746. This is the same address patients are required to mail any revocation of the

broad authorization granted by patients to Mallinckrodt and Cigna/Evernoth via the Acthar Start

Form. CuraScript is Mallinckrodt's exclusive specialty pharmacy distributor for Acthar.

       179.    Defendant Accredo Health Group, Inc. (“Accredo”) is a wholly-owned subsidiary

of ESI. Accredo became a wholly-owned subsidiary of Medco Health Solutions, Inc. (“Medco”)

on August 18, 2005, months before Express Scripts acquired Priority, and then became part of

Express Scripts when it acquired Medco in 2012.

       180.    Accredo is a Delaware corporation with its corporate headquarters at 1640

Century Center Parkway, Memphis, Tennessee 38134. Accredo also has operations in

Warrendale, Pennsylvania, Corona, California, Greensboro, North Carolina, Orlando, Florida,

Indianapolis, Indiana, and Nashville, Tennessee.

       181.    Defendant United BioSource Corporation (“UBC”) is a Delaware corporation

with its corporate headquarters at 920 Harvest Drive, Blue Bell, Pennsylvania 19422. When the

initial Class Action Complaint in the related case of City of Rockford and Acument Global

Technologies, Inc. v. Mallinckrodt ARD, Inc., formally known as Questcor Pharmaceuticals,

Inc., et al., United States District Court for the Northern District of Illinois, Civil Action No.

3:17-cv-50107 (“Rockford case”) was filed on April 6, 2017 (as well as the First Amended Class

Action Complaint in the Rockford case on October 9, 2017), of which Plaintiff was a class



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member, UBC was a wholly-owned subsidiary of Express Scripts. UBC was acquired by

Express Scripts in 2012 as part of the Medco merger.

       182.    On November 27, 2017, ESI announced that it sold UBC to Avista Capital

Partners, a private equity firm. As of the date of this filing, Plaintiffs do not know if the sale has

been completed.

       183.    UBC is described as Mallinckrodt’s “agent” on the ASAP form which

Mallinckrodt employs exclusively to operate the ASAP program and to manage ESI’s exclusive

distribution, sales and reimbursement of Acthar by its 3 operating arms, CuraScript, Accredo and

ESI.

       184.    AlixPartners, LLP (“AlixPartners”) is a Delaware corporation with its corporate

headquarters at 909 Third Avenue, New York, NY 10022. Upon information and belief,

Mallinckrodt hired AlixPartners as a consultant for its bankruptcy and restructuring, and thus,

AlixPartners is an active participant and decisionmaker in the willful continuation of

Mallinckrodt’s antitrust conduct.

       185.    Mallinckrodt and its officers and directors, Cigna/Evernorth and AlixPartners are

collectively referred to herein as “Defendants”, as appropriate.

       186.    The Defendants’ acts alleged in this Class Action Complaint to have been done by

each of the Defendants were authorized, ordered, done and/or ratified by their respective officers,

directors, agents, employees or representatives while engaged in the management, direction,

control or transaction of their respective business affairs.

                           CLAIMS NOT STAYED OR ENJOINED

       187.    As stated above, because the claims in this case concern only prescriptions of and

payments for Acthar made only after October 12, 2020, the claims represent “post-petition” claims



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not subject to the automatic stay of the bankruptcy. Similarly, the claims for post-petition conduct

of the Mallinckrodt entities in bankruptcy (ie. the “Debtors”) are not barred by the bankruptcy

stay.

        188.    Specifically, LEHB, the Washington Wholesalers and other TPPs have made, and

continue to make, payments for Acthar pursuant to the same unlawful conduct at issue in this

Complaint.

        189.    As a result, their claims for declaratory and injunctive relief, and damages

(including exemplary, statutory, treble and punitive damages) will not be satisfied until the jury in

this case decides them, and awards such damages to Plaintiff and the Class of Acthar purchasers.

                                  FACTUAL BACKGROUND

        190.    “I have a Cadillac in my refrigerator.” That is how one Acthar patient named

Sharon Keller described an unused 5-ml vial of the medication sitting in her kitchen refrigerator.

        191.    The sad and unfathomable program of how a 65 year-old brand medication could

rise in price from $40 per vial in 2001, to $40,840.80 per vial by 2015, raising that value of the

brand from $100,000 to $5.9 billion, is a story emblematic of the most egregious fraud and

monopolistic conduct in U.S. history by a prescription drug company.

        192.    The issue in this case is how Mallinckrodt achieved such a startling outcome and

how it seeks to continue this outcome after its contrived bankruptcy filing.

        193.

             Relevant History of Acthar Development, its Distribution and Pricing

        194.    Acthar was approved by the Food and Drug Administration (“FDA”) in 1952 for

over fifty conditions, ranging from alcoholism, poison ivy, and radiation sickness to nephrotic

syndrome. Over time, with additional evidence-based requirements for prescription drugs, the



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list was winnowed to the fewer, present-day nineteen indications.

       195.    Acthar is adrenocorticotropic hormone (“ACTH”), which causes the body to

produce cortisone and other steroid hormones. Two Mayo Clinic researchers, Drs. Philip Hench

and Edward Kendall, developed the treatment, which won them the Nobel Prize for medicine at

the time it was developed. Acthar was developed by Armour Pharmaceutical Company. As

described by the Seventh Circuit in Armour & Co. v. Wilson & Co., 274 F.2d 143, 145-46 (7th

Cir. 1960):

               In a human being, . . . (ACTH) appears in the anterior lobe of the
               pituitary gland located at the base of the brain. When the human
               body is under stress or attacked by certain diseases, control centers
               in the brain excite the pituitary, and the pituitary secretes ACTH. In
               the blood stream the ACTH thus secreted is carried to the adrenal
               glands situated in the human body above the kidneys. As the ACTH
               hits the outer wall of the adrenal glands, it stimulates the adrenals to
               produce a set of chemical substances such as steroids, including the
               hormones, cortisone and hydrocortisone.

               The cortisone hormones then act in the tissues of the body to
               suppress inflammations and allergic reactions. ACTH thus is used
               to relieve such conditions as rheumatoid arthritis and allergies.
               ACTH does not, itself, directly attack disease. However, it
               stimulates the adrenals which produce more than twenty-eight
               steroids, and these hormones attack the diseased tissues. When the
               human body itself does not supply sufficient ACTH, pharmaceutical
               ACTH can fill the gap.

       196.    By the 1960s, injectable ACTH medications faced a variety of competing

products. See id. at 145 (“Both Armour and Wilson manufacture and sell gelatin-ACTH

preparations . . . . Gelatin-ACTH now constitutes more than 80% [o]f all forms of ACTH

products sold by Armour and Wilson. Other companies . . . produce similar products”).

       197.    For the majority of the drug’s lifespan, however, generic corticosteroids, such as

prednisone, effectively treated the majority of the indications for which Acthar was approved.

That factor tended to limit the market for Acthar to treating infantile spasms (“IS”) which was


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originally an “off-label” indication. Consequently, because of the limited, off-label market for

Acthar, by 2001, the drug was priced at $40 per vial and accounted for less than a million dollars

of revenue for Aventis Pharmaceuticals, Inc. (“Aventis”), the then-owner.

        198.    In 2001, Questcor acquired Acthar from Aventis for only $100,000, but in 2014

Mallinckrodt acquired Questcor for $5.9 billion.

        199.    Acthar’s value was limited because it was the “gold standard” for treating only

one condition, infantile spasms (“IS”). IS a serious condition in infants, but one with an annual

patient population of less than 2,000 children per year. However, Acthar was not originally

approved by the FDA to treat IS, further limiting its value. A few years later, the IS indication

was approved by the FDA, and orphan drug status was granted.

      Acthar Distribution: Mallinckrodt Adopts a "New Strategy" to Restrict Acthar
         Distribution to Maintain and Enhance its Monopoly Power over Acthar

        200.    Acthar is a specialty pharmaceutical distributed directly to patients, like the

beneficiaries of the Plaintiff and the Class in this case.

        201.    For decades, Acthar was distributed to any doctor, hospital, wholesaler or

specialty pharmacy who requested the drug to treat seriously ill patients. After Questcor

acquired the rights to Acthar, it initially maintained that broad distribution network.

        202.    However, on July 2, 2007, Mallinckrodt restricted its distribution from three

wholesalers, termed Wholesalers “A”, “B”, and “C” in its 2007 10-K, to just Express Scripts, the

agent of its largest customers. Mallinckrodt’s announcement stated, “[e]ffective August 1,

2001, Acthar…will be available exclusively through Specialty Pharmacy Distribution.

Acthar Gel will no longer be available from traditional pharmaceutical wholesalers or retail

pharmacies.” See July 2, 2017, “Urgent Product Alert H.P. Acthar Gel” (attached to the

Rockford Amended Complaint filed in this Court at Exhibit “B”). All distribution would now be


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done exclusively through CuraScript. “[A]ll new Acthar Gel prescriptions should be submitted

to the Acthar Support & Access Program.” Id. All aspects of Acthar distribution were handled

by Express Scripts.

       203.    The goal of this “new strategy” was to lock patients into receiving Acthar through

one distribution channel controlled by Mallinckrodt and Express Scripts, and to ensure

prescription distribution and payment through one source, Express Scripts. Mallinckrodt has

maintained this exclusive arrangement with Express Scripts since 2007 up through the present.

Throughout this time, title, dominion and risk for Acthar remains with Mallinckrodt.

       204.    Mallinckrodt manages its exclusive arrangement with Express Scripts through a

program known as the “Acthar Support & Access Program” or “ASAP.” This program is

structured so that Mallinckrodt ships Acthar directly to patients and receives payment directly

from the associated third party payors.

       205.    Once the patient (or their physician) contacts Mallinckrodt for a prescription of

Acthar, they are directed to UBC. Otherwise, patients and/or their providers contact UBC

directly, as directed by the Acthar Start Form. UBC then serves as the “HUB” for Mallinckrodt

and Express Scripts. It confirms the patient’s insurance coverage or other source of payment,

and then arranges for Acthar to be delivered directly to the patient by CuraScript.

       206.    The process, which is laid out in a form provided by Mallinckrodt, the “Acthar

Start Form”, requires patient, physician and payor authorization before Mallinckrodt agrees to

ship Acthar to patients via ESI/CuraScript. The Acthar Start Form consists of 3 sections: (1) a

section requiring signature by the “HCP” (or health care professional); (2) a patient authorization

requiring signature by the “patient or legal representative”; and (3) information form concerning

Acthar indications and usage. The required signature of the patient authorizes “Mallinckrodt and



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its agents” to do a number of things in relation to the prescription and distribution of Acthar. It

further authorizes Mallinckrodt and its agents, “including Mallinckrodt reimbursement support

personnel and United BioSource Corporation (“UBC”) or any other operator of the Acthar

Support Access Program on behalf of Mallinckrodt (collectively, ‘Designated Parties’)” to

provide Acthar and receive payment, among other things.

       207.    Specifically, the patient authorizes Mallinckrodt, UBC, “or any other operator” of

ASAP on behalf of Mallinckrodt, “collectively (‘Designated Parties’), to provide certain services

to [the patient], including reimbursement and coverage support, patient assistance and access

programs, medication shipment tracking, and home injecting training.” In other words, the

patient directly authorizes Mallinckrodt and its agents to ship Acthar to them directly via

CuraScript, and authorizes payment by both the patient and any third party payor prior to

obtaining the medication. So, the patient authorizes ESI to bill the payor for Acthar.

       208.    Similarly, the physician must “authorize[ ] United BioSource Corporation

(“UBC”), the current operator of the Acthar Support and Access Program (“Program”), and other

designated operators of the program, to perform a preliminary assessment of benefit verification

for this patient…”. The physician also “agree(s) that the designated specialty pharmacy receive

this prescription via a designated third party, the Program and that no additional confirmation of

receipt of prescription is required by the designated specialty pharmacy.”

       209.    The interaction of all four (4) elements of Express Scripts’ functions on behalf of

Mallinckrodt are described below.

       210.    Express Scripts is the largest buyers’ agent for pharmaceuticals in the United

States. Express Scripts has substantial buying power as a result of its representation of the

largest number of buyers in the pharmaceutical marketplace.



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         211.    Express Scripts styles itself as a “pharmacy benefit manager” or “PBM”, but it

does more than simply process claims for prescriptions filled at retail pharmacies. In addition to

“retail pharmacy claims processing, formulary management, utilization management and home

delivery pharmacy services”, Express Scripts offers “specialty services that deliver . . . high-cost

injectable, infused, oral or inhaled drugs,” and “compliance programs, . . . drug therapy

management programs, [] data analysis, and [] distribution services.”4 Acting “either directly or

through its subsidiaries”, Express Scripts acts as a direct pipeline from a pharmaceutical

manufacturer to the patient, facilitating the direct distribution of a prescription drugs from the

factory to the patient’s home.

         212.    Express Scripts is able to act as a manufacturer’s direct distributor of specialty

drugs to patients because it provides what it calls “integrated specialty services.” (emphasis in

original).5 As one Express Scripts’ executive put it “we’re family.” These integrated services

include a PBM (ESI), a specialty pharmacy distributor (CuraScript), and a specialty pharmacy

provider (Accredo).

         213.    Express Scripts coordinates all of these functions through its so-called

pharmaceutical support services unit, UBC. UBC acts as a “‘hub,’ that serves as a centralized

point of contact for [] patients [] and prescribers”6 by “[w]orking hand-in-hand with Express

Scripts’ specialty pharmacy and specialty distribution organizations, Accredo and CuraScript

[],”7 to coordinate delivery of and reimbursement for specialty pharmaceuticals.


4
 Express Scripts Holding Company Annual Report on Form 10-K for the Fiscal Year Ending
December 31, 2012.
5
    https://curascriptsd.com/corporate-overview
6
    http://www.ubc.com/services/loyalty/reimbursement-patient-assistance
7
    http://www.ubc.com/about/about-ubc

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          214.   In total, UBC operates “an integrated service model that involves UBC . . .

manag[ing] multiple system applications that support one product. [UBC’s] services include the

UBC coordinating center, nurse coordination . . . product fulfillment through Accredo and

wholesale fulfillment through CuraScript[]. When a patient is prescribed [a specialty]

medication, the doctor sends a referral to the Reimbursement Hub. [UBC’s] team serves as the

liaison among doctors, patients, and insurance companies as [UBC] . . . navigate[s] the coverage

process. [UBC] . . . ensure[s] a smooth transition from enrollment through shipment of the

medication.”

          215.   Part of the reimbursement hub process is coordination with ESI’s CuraScript,

which acts as an “integrated delivery network” connecting patients to manufacturers through

“end-to-end distribution services.”8 Simply put, CuraScript is similar to a FedEx, DHL, or UPS

for specialty prescription drugs. CuraScript advertises that it is “recognized by the

manufacturing community as [] a reliable partner in the management of brands” through

CuraScript’s “integrated specialty services,” which deliver medications to patients “alongside

sister organizations Accredo and UBC.”9

          216.   To facilitate these end-to-end distribution services, UBC coordinates CuraScript’s

activities with Accredo, which provides so-called specialty pharmacy services. By acting as the

hub, UBC ensures that a patient whose pharmacy benefits are managed by ESI can get a

specialty medication delivered to him or her by coordinating direct shipment through CuraScript

and Accredo and direct payment through ESI. “As one UBC executive has explained “if UBC is

the Hub and Accredo is the [specialty pharmacy] . . . we can send the patient’s prescription over



8
    https://curascriptsd.com/Rare-Disease-Specialty-Distribution-Program
9
    https://curascriptsd.com/supplier-relations

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to Accredo, and they will not have to duplicate any of our efforts, which another pharmacy

would be compelled to do because of risk. Accredo trusts us.”

        217.    Accredo provides specialty pharmacy and related services for patients with certain

complex and chronic health conditions. Accredo’s staff is comprised of a team of specialty-

trained pharmacists, nurses, patient care advocates, social workers and insurance coordinators

whom, among other things, “handle everything about” a patients’ medications and/or specialty

therapy.

        218.    Along with UBC, Accredo provides: (a) support to orphan and ultra orphan

patient populations; (b) HUB employees to navigate insurance requirements, like prior

authorizations, for patients and prescribers; (c) clinicians who are available 24/7 to address

patient concerns and provide guidance on mitigating adverse events; (d) reimbursement HUB

specialists to steer patients to funding solutions, and (e) an integrated solution allowing patients

to start therapy twice as fast.

        219.    In simple terms, through UBC’s coordination with Accredo, CuraScript, and ESI,

Express Scripts delivers a prescription drug directly from the manufacturer to the patient,

removing all impediments to delivery and payment, whether medical, logistical or financial.

        220.    With respect to Acthar, Mallinckrodt has a contract with UBC to coordinate the

delivery of Acthar through what it has called the ASAP Program. Beginning with its July 2,

2007 announcement, Mallinckrodt directed physicians to prescribe Acthar through the ASAP

program. See Rockford Complaint Exhibit “B”. In this announcement, Mallinckrodt directed

physicians that “all new Acthar [] prescriptions should be submitted to the [ASAP program].”

Prescriptions are submitted to the ASAP program through the “Acthar Start Form.” See Exhibit

“A”. This form authorizes UBC to coordinate reimbursement with ESI and direct the



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prescription to a “designated specialty pharmacy.” This designated specialty pharmacy is

Accredo.

       221.       Part of UBC’s activities involve coordinating the shipment of Acthar from

CuraScript through Accredo to the patient. Indeed, in order to revoke UBC’s authorization to

perform these services, the patient must mail a letter to CuraScript’s address in Florida.

Plaintiff’s patient beneficiary here provided a similar authorization to UBC for shipment from

CuraScript.

       222.       The Acthar distribution arrangement between Express Scripts and Mallinckrodt is

illustrated in the following two figures. In Figure 1, the distribution arrangement is described in

aggregate.




       Figure 1

       223.       Figure 2, below, illustrates how Acthar is prescribed, authorized, distributed and

paid for through Express Scripts. Payment flows are represented by green arrows traveling from

payor and patient to Mallinckrodt, while product flows are represented by black chevrons


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flowing from Mallinckrodt to the patient. Although these payments pass through Express

Scripts, payment flows and products flows are ultimately aligned between Mallinckrodt and

UBC, Express Scripts’ reimbursement hub, through a contract with Mallinckrodt to operate the

ASAP program, which ostensibly operates to confirm the medical necessity of the prescription

(by Accredo), to arrange payment (to ESI or CVS Caremark) for shipment (from CuraScript) of

Acthar to patients. CuraScript has a contract with Mallinckrodt to ship Acthar. Through these

contractual arrangements, Acthar travels from Mallinckrodt directly to the patient, and payments

are channeled back to Mallinckrodt.

       224.    The patient, on the other hand, has prescription insurance coverage through his or

her health plan. In this case, Plaintiff had the health plan that covered its employee. The health

plan has a contract with ESI, which requires ESI to collect payments for the price of Acthar.

       225.    By these arrangements, Acthar product flows directly from Mallinckrodt through

Express Scripts to the patient, while the money flows directly from the patient and payor through

Express Scripts back to Mallinckrodt.




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       Figure 2

       226.       Wielding both the largest collection of patients in the United States and a direct

shipment channel for specialty drugs, Express Scripts is in a unique position to negotiate the

most competitive, discount prices for specialty drugs in the United States. This bargaining

power has allowed Express Scripts to push back against attempts by pharmaceutical drug

manufacturers to charges inflated prices for drugs above the actual market value of the drugs.

       227.       Mallinckrodt leveraged and enhanced its monopoly power by limiting the

distribution of its sole specialty drug to just one specialty pharmacy distributor, CuraScript, and

employing as its agents, ESI’s Accredo and UBC, along with CuraScript, to coordinate all

aspects of the distribution and sales of Acthar: from prescription by the physician, to direct home

delivery to the patient, to direct reimbursement by the payor. This allowed Mallinckrodt to raise

its prices tenfold initially, and nearly double in the ensuing years.

       228.       Mallinckrodt Executive Vice-President, Steve Cartt, admitted “‘[w]e did some

market research,’ . . . [t]alking to physicians and others about pricing ‘gave us some comfort that


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the [new] strategy would work, and physicians would continue to use the drug, and payers would

pay’ . . . . ‘The reality was better than we expected.’ ” See Milt Freudenheim, Benefit Managers

Profit by Specialty Drug Rights, New York Times, C1, April 19, 2008 (titled The Middleman’s

Markup in New York Print Ed.).

                                         Acthar Pricing

       229.    Mallinckrodt acquired the rights to Acthar from Aventis in 2001. At acquisition,

the end payor price of a vial of Acthar was approximately $40.00. After acquisition,

Mallinckrodt raised the per vial, end payor price of Acthar to approximately $748.00. From

2001 until Mallinckrodt executed its new strategy in 2007, the end payor price of Acthar grew to

$1,980.00.

       230.    When Mallinckrodt implemented its new strategy on August 27, 2007, the end

payor price of Acthar rose to a staggering $27,922.80 – a 1,310% increase in the span of a

month, and a 69,707% increase from the time Mallinckrodt acquired the drug.

       231.    Until Mallinckrodt obtained FDA approval for the IS indication, the price of

Acthar remained stable. However, in 2011, Mallinckrodt increased the price of Acthar 5% on

January 3, 2011, another 5% on June 1, 2011, and executed a third price increase on December

27, 2011. In 2012, Acthar’s end payor price was $34,150.00.

       232.    Near in time to Mallinckrodt plc’s $5.9 billion acquisition of Questcor, in 2014,

the price of Acthar rose to $40,840.80. Under Mallinckrodt plc’s stewardship, the end payor

price of Acthar rose in 2016 to $42,942.60, and to $43,658.40 in 2017.

       233.    Since the acquisition of Acthar in 2001, the end payor price of Acthar has grown

109,046% reflecting the precipitous rise in the value of the Acthar assets from $100,000 in 2001

to $5.9 billion in 2014 – a 5,899,900% increase in value. The dramatic increase in value of the



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Acthar assets, coupled with the durable and repeated ability to raise the price of Acthar,

underscore the monopoly power wielded by Mallinckrodt in the ACTH market. Mallinckrodt’s

tactics described in this Complaint, however, reflect Mallinckrodt’s willingness to undertake

actions to maintain and grow its monopoly in the ACTH market, in violation of the antitrust

laws.

        234.   Furthermore, since Mallinckrodt’s filing of its bankruptcy petition, it has not

changed anything with regard to the price of Acthar, and so its violations continue to the present.

                     The Views of Express Scripts’ Chief Medical Officer,
                     Dr. Steve Miller, on Express Scripts’ Market Power

        235.   Beginning in 2007, Express Scripts became the exclusive agent of Mallinckrodt

for the distribution of Acthar. See Freudenheim, supra at ¶ 94. When Mallinckrodt chose to

increase the price of this 50-plus year old medication, Express Scripts did not push back.

Instead, when confronted with the 2007 price increase, ESI’s Chief Medical Officer Steve Miller

stated that “[t]he increase was a manufacturing decision. I can’t comment on it.” Id.

        236.   The circumstances demonstrate why Dr. Miller chose to stay silent in the face of

Express Scripts’ decision to join Mallinckrodt in overcharging payors for Acthar.

        237.   By the time the Plaintiff’s beneficiary was prescribed Acthar in 2018, Express

Scripts was handling each and every aspect of Acthar distribution through the above-described

functions. CuraScript was the exclusive specialty pharmaceutical distributor, Accredo was the

specialty pharmacy provider, and UBC coordinated both the product and money flows through

the ASAP Program. As Mallinckrodt’s exclusive agent, Express Scripts had no interest in

lowering the price for Acthar because it was making money off all aspects of its exclusive

arrangement with the manufacturer. In other words, by helping Mallinckrodt maintain and

enhance its monopoly power in the ACTH market, Express Scripts along with Mallinckrodt


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realized greater profits at the expense of payors, like Plaintiffs.

        238.    In the spring of 2017, ESI’s Senior Vice President, Supply Chain and Specialty

Pharma, Everett Neville, stated “I don’t think [Acthar is] a very great [drug] – it’s a pretty poor

drug with a very limited need and certainly [Express Scripts Chief Medical Officer, Dr,]

Steve[Miller] could comment.” He went on to say “I think [Dr. Miller] and I both would agree,

and I think everybody in our company would agree, that [Acthar] is vastly overpriced for

the value.” (emphasis added). Mr. Neville went on to state that he “personally told

[Mallinckrodt’s] management team that their drug is hugely overpriced and that he “know[s] [Dr.

Miller] has as well.” Confidential Transcript of Conference Call between Citigroup Healthcare

Team and Express Scripts Management, May 19, 2017.

        239.    In the same public setting, Dr. Miller stated, “[i]f you look at the data, the

indications for the drug are . . . in the compendium, it’s listed under a lot of indications, its real

use should be very, very limited. It’s an old drug. There’s better products in the marketplace

and so we’re going to continue to be very vigilant in our utilization management.”

        240.    Despite this express acknowledgment by Express Scripts’ Chief Medical Officer,

in the weeks and months following Mallinckrodt’s settlement with the FTC, Express Scripts has

not acted or made any efforts to contain costs or provide a reasonable alternative for Acthar.

        241.    Dr. Miller, Express Scripts Chief Medical Officer, has articulated the power of

Express Scripts in the prescription drug marketplace to extract lower prices for its customers,

using its tremendous buying power and influence. He has made all of the following public

comments:

                “When I joined the company, we represented 12 million members.
                We’re at 85 million today. That gives us extraordinary sway in the
                marketplace. If you think about any other aspect of health care, no



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               one else has that many lives that they can represent.”10

                “We have tremendous scale, which allows us to get the best deals for
               our plan sponsors from both the pharmaceutical manufacturers and
               also the pharmacies. If any pharmacy chain ever becomes too large,
               we’re able to move our patients and … get the lowest cost.”11

                “I think that because of the continued escalation of cost, you need a
               PBM now more than ever. And what a best-in-class PBM like
               Express Scripts does really ensure is great health outcomes and more
               affordable costs.”12

               “Pharma has shown that they feel very emboldened with their pricing
               power. We’re using our clout in the marketplace to really tamp these
               down for our clients.”13

               “There are pharma companies that recognize this is in their best
               interest,” he says. “They, like us, want to get to a sustainable
               marketplace. They know if they’re overcharging for drugs that have
               very little efficacy, that puts them in a competitive disadvantage.”14

               “Discussions to control costs have never been more important, as
               recent estimates put global drug spend at $1.5 trillion by 2021,

10
  Managed Care Magazine Online, “A Conversation with Steve Miller, MD: Come in and Talk
With Us, Pharma,” by Peter Wehrwein, April 2015,
https://www.managedcaremag.com/archives/2015/4/conversation-steve-miller-md-come-and-
talk-us-pharma
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Livingston, May 22, 2016,
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With Us, Pharma,” by Peter Wehrwein, April 2015,
https://www.managedcaremag.com/archives/2015/4/conversation-steve-miller-md-come-and-
talk-us-pharma
13
  Nightly Business Report, “Express Scripts Looks to Limit Drug Price Increases,” by Meg
Tirrell, October 2, 2015, http://nbr.com/2015/10/07/express-scripts-looks-to-limit-drug-price-
increases/
14
  Medical Marketing and Media, “Express Scripts’ Steve Miller Takes on Drug Industry in
Pricing Battle,” by Jaimy Lee, February 1, 2015, http://www.mmm-online.com/payersmanaged-
markets/express-scripts-steve-miller-takes-on-drug-industry-in-pricing-battle/article/460559/


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               according to data from Quintiles IMS Holding. Yet sometimes, in the
               drug pricing debate, blame is placed on one part of the drug
               distribution system when, in fact, all of us – pharmaceutical
               companies, pharmacy benefit managers (PBMs), policymakers and
               payers – have a role to play in achieving better affordability and
               accessibility for medicine. As the largest PBM, our job is to make
               sure our patients, and our clients who provide them a pharmacy
               benefit, are getting medicines at the lowest net cost while working
               with our industry partners to make that possible.”15

               “…[I]t is incumbent upon the pharmacy benefits managers to more
               forcefully illustrate the critical role we play in making medicine more
               affordable and accessible. For example, we partnered with a drug
               maker who was willing to lower the price of its hepatitis C drug. In
               doing so, we were able to provide 50,000 patients affordable access
               to this medication.”16

               “The biggest problem is not new expensive drugs but repricing old
               ones, and not just ones being purchased by Martin Shkreli or Valeant.
               ‘You have no new research. You have no innovation. You have
               nothing but increased drug prices.”17

               “We are constantly trying to be vigilant and chase the bad actors out
               of the marketplace.”18

        242.   Through such statements, Express Scripts acknowledged its strong influence on



15
  Real Clear Health, “Is Drug Pricing at an Inflection Point?” by Dr. Steve Miller, April 14,
2017,
http://www.realclearhealth.com/articles/2017/04/14/is_drug_pricing_at_an_inflection_point_110
550.html
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  Real Clear Health, “Is Drug Pricing at an Inflection Point?” by Dr. Steve Miller, April 14,
2017,
http://www.realclearhealth.com/articles/2017/04/14/is_drug_pricing_at_an_inflection_point_110
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January 20, 2016, https://www.forbes.com/sites/matthewherper/2016/01/20/solving-pharmas-
shkreli-problem/#6dcce78c6be3
18
  The New York Times, “Specialty Pharmacies Say Benefit Managers Are Squeezing Them
Out,” by Katie Thomas, January 9, 2017,
https://www.nytimes.com/2017/01/09/business/specialty-pharmacies-say-benefit-managers-are-
squeezing-them-out.html

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pharmaceutical markets. The striking feature of the current circumstance is that Express Scripts

has not asserted its influence to effectuate lower prices for Acthar.

       243.     While acknowledging the “value” of the medication does not warrant its high

prices, Express Scripts has facilitated, rather than forestalled, Mallinckrodt’s desire for ever

growing profits by “repricing” an “old drug”.

       244.     With Acthar, “[y]ou have nothing but increased drug prices,” due in large part to

Express Scripts’ decision to withhold its market power to effectuate cost containment through

lower prices.

    Mallinckrodt Acts to Protect its Acthar Monopoly and to Enhance its Restriction of
                            Competition in the ACTH Market

       245.     As described above, in 2013, Mallinckrodt acquired BioVectra and Synacthen, in

aid of its scheme of violated the antitrust laws.

                   THE MALLINCKRODT SYNACTHEN ACQUISITION

       246.     Since 2007, Acthar has represented 98% or more of Mallinckrodt’s revenue.

Acthar was so important to Questcor that its then-CEO, Don Bailey told investors it “is basically

a single product company.”

       247.     Through its exorbitant price increases, Mallinckrodt was able to grow its revenue

from Acthar sales from less than $1 million in 2001 to $798.9 million in 2013. Much of this

increase occurred between 2011 and 2013 when Mallinckrodt’s revenues increased $218.2

million to $798.9 million.

       248.     However, by 2013, Mallinckrodt had identified a competitive threat. Novartis AG

(“Novartis”) had developed Synacthen Depot (cosyntropin depot) (“Synacthen”), a synthetically

derived ACTH medication, which, like Acthar, could be injected intra-muscularly. While it was

used outside the United States, it was not yet approved by the FDA for use in the United States.


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Recognizing that the entry of Synacthen in the U.S. market for ACTH drugs would threaten its

exercise of its monopoly power, Mallinckrodt first attempted to buy the rights to Synacthen in

2009. It failed.

       249.    As of 2013, Novartis agreed to sell Synacthen to Retrophin, Inc., which at the

time was helmed by Mr. Shkreli. Mr. Shkreli founded Turing (the maker of Daraprim) after he

departed Retrophin.

       250.    When faced with a competitive threat to its monopoly, Mallinckrodt disrupted the

bidding process for Synacthen by intervening at the last minute to pay multiple times what had

been offered by three competitors, including Retrophin. Retrophin had agreed to buy Synacthen

for $16 million. Upon learning of this imminent threat, Mallinckrodt acted to protect and

enhance its monopoly power by licensing Synacthen for a minimum of $135 million from

Novartis. It licensed the U.S. exclusive rights to Synacthen from Novartis, not to bring this

viable synthetic alternative to Acthar to market, but to eliminate the nascent competitive threat

posed by an independently owned Synacthen.

       251.    These actions allowed Mallinckrodt to maintain and enhance its monopoly power

in the ACTH market. The Synacthen acquisition had the purpose and effect of suppressing

competition and allowing Mallinckrodt to continue to raise prices for Acthar, which it did.

       252.    From 2013 through 2017, Mallinckrodt raised the price of Acthar from $36,144 to

$43,658.

                 RELEVANT MARKETS AND MONOPOLY POWER,
               AND THE FTC COMPLAINT AGAINST MALLINCKRODT

       253.    The supracompetitive and exorbitant prices that Mallinckrodt charges for Acthar,

and its limitations on distribution through the entry into an exclusive distribution arrangement

with Express Scripts in 2007, are direct evidence of Mallinckrodt’s monopoly power and actions


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to maintain and enhance such monopoly power, in violation of the antitrust laws. That Acthar

holds a dominant share of the relevant market for ACTH drugs in the United States shows

Mallinckrodt’s monopoly power by indirect evidence.

       254.    The relevant product market is the sale of ACTH drugs, dominated by just one

product, Acthar. The geographic market is the United States. In this market, Mallinckrodt is the

single seller, and the third party payors are the leading buyers.

       255.    That market is and has been characterized by significant barriers to entry.

       256.    There are no medical or reasonably available substitutes for Acthar. The only

potential substitute was Synacthen, which Mallinckrodt purchased the rights to from Novartis in

2013, only to shelve the product rather than seek to bring it to market in the United States.

       257.    On January 18, 2017, the Federal Trade Commission (“FTC”) sued Mallinckrodt,

alleging that Mallinckrodt exercised, and continues to exercise, monopoly power in the United

States in the sale of Acthar. See generally, Complaint for Injunctive Relief and Other Equitable

Relief (“FTC Complaint”) at Exhibit “A.”

       258.    The FTC alleged that such purchases “extinguished a nascent competitive threat

to [Mallinckrodt’s] monopoly.” FTC Complaint, ¶ 1.

       259.    At all relevant times material to this case, Mallinckrodt possessed monopoly

power—the ability to profitably raise price significantly above competitive levels without losing

significant sales—in the relevant product market. None of the vast price increases taken by

Mallinckrodt between 2007 and the present have caused a significant loss of sales. To the

contrary, Mallinckrodt’s sales have increased during that time.

       260.    Mallinckrodt has repeatedly and profitably raised Acthar’s price from the time it

acquired the product for $100,000 in 2001 from Aventis to the present. Mallinckrodt has been



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able to raise prices unchecked, as set forth above, and achieve corresponding revenue growth to

more than $1 billion.

       261.    Mallinckrodt has encountered no competitive constraints on its ability to

repeatedly increase Acthar’s price and, by extension, its revenue and profit margins.

Mallinckrodt does not set the price of Acthar in reference to the price of any of the other drugs

that are prescribed to treat the same indications that Acthar treats. Acthar is priced significantly

higher than non-ACTH drugs used to treat the same indications, except for IS.

       262.    Indeed, one Mallinckrodt executive commented that the price for Acthar “was

chosen by looking at the prices of other specialty drugs and estimating how much insurers and

employers would be willing to bear.” Mallinckrodt took “some comfort that the strategy would

work, and physicians would continue to use the drug, and payers would continue to pay.” In

fact, according to Mallinckrodt, “reality was better than expected.”

       263.    In its Annual Report on Form 10-K for the Fiscal Year ended December 31, 2007,

Questcor illustrated the effect of its monopolization strategy on its “5 Year Cumulative Total

Return”, illustrating a 290% return between 2006 and 2007 as follows:




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       264.      FDA approval is required to market pharmaceuticals to U.S. consumers. As a

result, drugs sold outside of the United States are not viable competitive alternatives for U.S.

consumers, even in the event of a significant price increase for ACTH drugs available in the

United States.

       265.      Acthar has a 100% share of the market for ACTH drugs in the United States. No

other ACTH drug is FDA-approved for therapeutic use.

       266.      The United States ACTH market is characterized by high barriers to entry.

Developing a long-acting, depot-injection formulation of a drug product containing ACTH

(natural or synthetic) that is stable, safe, and effective would require significant time, cost, and

effort, with no guarantee of success. The requirements for entry include sourcing the active

pharmaceutical ingredient, formulating a sustained-release depot-injection formulation, scaling



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production to clinical scale, and successfully conducting clinical trials necessary for FDA

approval. Defendant Trudeau assured investors that Acthar “has significant durability in the

marketplace” because “it will be very difficult for this product to be replicated in any way [by] a

generic.” Transcript of Conference Call to discuss acquisition of Questcor Pharmaceuticals, Apr.

7, 2014.

       267.     Former CEO Don Bailey also claimed that one of the barriers to entry is the

Acthar drug formulation. While Acthar is a biologic extraction of porcine pituitaries, Bailey

claimed, “[i]t’s an undisclosed composition, so that’s a trade secret.” He also claimed “[t]he

manufacturing process is also a trade secret. It’s complex, it’s unique, and we own all elements

of the manufacturing process. …The composition of Acthar that comes out of the manufacturing

process is tied to the process, so if you don’t know the process you can’t figure out what’s

actually in Acthar.”

       268.     If what the former CEO was saying was that Questcor enjoyed a natural

monopoly, that does not necessarily imply the absence of market constraints. These constraints

can come from a new competitive product or from a dominant buyer on the other side of the

market. Both of these factors are relevant here.

           Mallinckrodt Engaged in Anticompetitive Conduct By Acquiring the Only
                 Competitor Drug, Synacthen, Keeping of the U.S. Market and
                               Inflating the Prices in Canada

       269.     Synacthen posed a threat to Mallinckrodt’s ACTH drug monopoly, so Questcor

intervened at the time when other firms were attempting to acquire the U.S. rights to Synacthen

from Novartis. Questcor submitted a bid that included substantially more guaranteed money

than the other bidders had offered, effectively ending the bidding process. By acquiring

Synacthen, Questcor eliminated the possibility that another firm would develop it and compete



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against Acthar.

       270.    Synacthen constituted a nascent competitive threat to Questcor’s ACTH drug

monopoly, notwithstanding the uncertainty that Synacthen, a preclinical drug, would be

approved by the FDA.

       271.    For years, Questcor viewed Synacthen as a significant potential competitive threat

to its monopoly.

       272.    When Questcor first decided to pursue an “orphan drug” (i.e., high) pricing model

for Acthar, it recognized the potential threat Synacthen posed to Acthar’s revenue growth.

       273.    Nevertheless, in 2007, it adopted and pursued the above-described “new

strategy”, consolidating Acthar distribution to just one distributor and streamlining its control

over sales and distribution through the implementation of ASAP. These functions were

consolidated in one significant company, Express Scripts.

       274.    In 2009, Questcor approached Novartis about acquiring Synacthen. At that time,

Questcor continued to view Synacthen as a possible future competitor, especially given the

increasing prices Questcor was commanding for Acthar. Unsuccessful in that initial attempt,

Questcor continued to monitor the competitive threat from Synacthen.

       275.    Then in 2012, Questcor again concluded that Synacthen posed a more immediate

threat to Acthar if Synacthen was approved for sale in the United States.

       276.    By 2013, Questcor feared that if another company were to acquire Synacthen and

obtain FDA approval, it could undermine its business model.

       277.    On information and belief, as long as Questcor believed no other firm was seeking

to bring Synacthen to the United States, Questcor did not make further attempts to acquire it.

Indeed, just months before Questcor began pursuing the acquisition of Synacthen, top Questcor



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officials questioned whether Synacthen would provide any affirmative value to Questcor.

          Other Bidders Planned to Use Synacthen to Challenge Acthar’s Monopoly

       278.    Unbeknownst to Questcor at the time, Novartis decided in late 2011 to divest

exclusive rights to seek FDA approval for Synacthen and commercialize it in the United States,

along with the marketing rights for Synacthen in over thirty-five other countries where the drug

was already approved and sold. Dozens of companies contacted Novartis and expressed interest

in acquiring Synacthen. Three firms proceeded through several rounds of negotiations with

Novartis, submitted formal offers, and drafted near-final agreements.

       279.    It is alleged that each of the three firms planned to develop Synacthen for IS and

to use Synacthen to compete directly with Acthar. With this indication, each firm expected to

capture a significant share of the U.S. ACTH market from Questcor by pricing Synacthen below

Acthar’s prices. Having the requisite pharmaceutical expertise and financing, the three firms

independently conducted due diligence, crafted business plans and regulatory approval strategies,

and took other affirmative steps in furtherance of developing Synacthen for the U.S. ACTH

market.

                              The Value of the Synacthen Assets

       280.    The Synacthen assets and related rights provide a proven formulation for a long-

acting, depot-injection drug containing synthetic ACTH. The drug product manufactured using

the Synacthen formulation has been safely and effectively used to treat patients suffering from IS

and other conditions worldwide for decades. The Synacthen assets would therefore facilitate

commercializing a synthetic ACTH therapy in the United States.

       281.    The asset package being sold by Novartis included valuable trade secrets,

including technical documentation detailing both the precise formulation for the Synacthen drug



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product and the manufacturing process.

       282.    In possession of the Synacthen assets, a buyer would not need to create a

synthetic ACTH drug formulation de novo, nor would it need to develop from scratch the

manufacturing and testing protocols necessary for production of the drug product.

                     Questcor Disrupted the Synacthen Bidding Process

       283.    It is alleged that, on October of 2012, Questcor learned that at least one

unidentified firm was attempting to acquire Synacthen from Novartis to develop it to compete

with Questcor for the U.S. ACTH market. Questcor immediately reached out to Novartis, signed

a confidentiality agreement with Novartis, and submitted a confidential offer for the purchase of

Synacthen.

       284.    Novartis negotiated with the three alternative bidders in parallel with Questcor.

By the spring of 2013, all three of the alternative bidders had submitted offers for Synacthen,

with plans to develop and launch Synacthen in the United States in direct competition with

Acthar. At the point where those negotiations left off, each company exchanged deal terms with

Novartis and submitted formal offers. The offers by the three alternative bidders were

comparable in value and structured similarly, and included an upfront payment, milestone

payments upon FDA approval, and significant royalties on U.S. sales of Synacthen.

       285.    Unlike the three alternative bidders, Questcor had only incomplete plans for

Synacthen and conducted limited due diligence when it submitted its initial offer to Novartis.

Retrophin ultimately prevailed in the bidding war with a bid of $16 million.

       286.    However, on June 11, 2013, the day Retrophin was to sign its agreement with

Novartis, Questcor and Novartis entered into a Licensing Agreement, Asset Purchase

Agreement, and Supply Agreement (collectively, “the Agreements”). By the Agreements,



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Questcor gained the exclusive rights to develop, market, and sell Synacthen in the United States

and over thirty-five other countries. Under the Agreements, Questcor is obligated to pay a

minimum of $135 million, and likely will pay $300 million to Novartis for Synacthen.

       287.    In other words, Questcor swept in at the eleventh hour to overpay—at least 8

times more than the market had determined—for the only immediate competitive threat to its

monopoly for Acthar. Despite paying this amount, they did not seek FDA approval to bring the

product to market.

     The Lawsuit Between Retrophin and Questcor for Questcor's Antitrust Violations

       288.    In January 2014, Retrophin sued Questcor for antitrust violations in the United

States Federal District Court for the Central District of California. See Retrophin, Inc., v.

Questcor Pharmaceuticals, Inc., CV-14-00026-JLS (C.D.Cal) ("Retrophin Complaint") (attached

to the Rockford Complaint at Exhibit “C”). (To the extent relevant to Plaintiff’s Complaint, the

averments of antitrust conduct interposed by Retrophin are incorporated by reference herein).

       289.    In the Retrophin Complaint, Retrophin claimed,

               "[i]n June of 2013, plaintiff Retrophin was poised to challenge
               Questcor's monopoly. It had negotiated an agreement to purchase
               from Novartis AG ("Novartis"), the rights to sell in the US a product
               called Synacthen. ...

               Retrophin planned to obtain FDA approval to sell Synacthen in the
               US and compete head to head against Questcor by dramatically
               undercutting Questcor's price for Acthar. It had negotiated and was
               ready to sign an agreement to purchase the US rights to Synacthen
               from Novartis. The signing was scheduled for June 11, 2013. The
               signing of the agreement was so imminent that a press release had
               been prepared to announce the deal.

               On June 11, 2013, the day Retrophin was to sign its agreement with
               Novartis, Questcor swept in and acquired the rights to Synacthen.
               In doing so, it preserved and entrenched its ACTH monopoly in US
               and eliminated the competitive threat posed by Retrophin's
               acquisition of Synacthen. There was no procompetitive aspect of

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               Questcor's acquisition of Synacthen.

Retrophin Complaint, ¶¶ 4-6, at Exhibit “C” to the original Rockford Complaint (Dkt. No. 1-3,

filed 04/07/17).

        290.   The FTC apparently agreed with Retrophin's assessment.

        291.   Nevertheless, the government, in its 2017 FTC complaint, mirrored Retrophin's

2014 allegations that Questcor engaged in anticompetitive conduct in violation of the antitrust

laws.

        292.   Mallinckrodt chose to settle the Retrophin lawsuit for $15.5 million, slightly less

than the $16 million Retrophin bid to purchase Synacthen from Novartis.

               Mallinckrodt’s Acquisition of Synacthen Harmed Competition

        293.   Mallinckrodt’s strategy to protect its monopoly power in the market for ACTH

drugs was successful. But for Mallinckrodt’s acquisition of Synacthen, one of the three

alternative bidders, including Retrophin, would have acquired Synacthen and pursued its plan to

develop Synacthen for IS to compete directly with Acthar at a lower price. With the acquisition

of Synacthen, Mallinckrodt was able to thwart an imminent threat to its Acthar monopoly and

thereby harmed competition.

        294.   Mallinckrodt claimed that it acquired Synacthen to develop it for new, non-Acthar

indications, but given the similarities between the two drugs, any therapeutic indication that

Mallinckrodt was to pursue for Synacthen could easily have been pursued for Acthar.

        295.   Fourteen months after acquiring Synacthen, Mallinckrodt acquired Questcor for

$5.9 billion. The vast majority of Questcor’s value was attributable to Acthar and Synacthen.

        296.   However, despite its claims, Mallinckrodt has not brought Synacthen to market

for any indication. Instead, it keeps Synacthen off the market to protect its monopoly power and



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high prices for Acthar.

                               Mallinckrodt settles with the FTC

        297.   On January 18, 2017, the FTC announced that Questcor and its parent

Mallinckrodt agreed to pay $100 million to settle FTC charges that Questcor and Mallinckrodt

violated antitrust laws when Questcor acquired the rights to Synacthen from Novartis in 2013.

        298.   According to FTC Chairwoman Edith Ramirez, “Questcor took advantage of its

monopoly to repeatedly raise the prices of Acthar, from $40 in 2001 (when it acquired the rights

to sell Acthar for $100,000) to more than $34,000 per vial today – an 85,000 percent increase.”

        299.   The brunt of these monopoly prices was borne by self-funded payors, like

Plaintiffs, located throughout the country, whose employees and beneficiaries who were at the

mercy of Mallinckrodt and treated with Acthar.

        300.   From the time it sought FDA approval for the treatment of IS, Mallinckrodt has

raised the price of Acthar to over $43,000.

        301.   Questcor claimed that these exorbitant price increases were in response to

demand. But its former Chief Executive Officer, Don Bailey, acknowledged in 2009 that “we

only have about 800 patients a year. It’s a very, very small – tiny – market.” Consequently, the

limited use of the product did not justify an over 58,000% price increase from acquisition until

2009.

        302.   Since the Acthar market for the treatment of IS was so limited, Questcor sought to

expand its use. By 2012, Acthar was prescribed for Medicare recipients 3,387 times. To

Medicare alone, this represented a cost of $141,500,000 in 2012.

        303.   Quantified another way, Dr. William Shaffer, a neurologist in Greeley, Colorado

who was the highest prescriber of Acthar in 2012, wrote only 78 prescriptions for the drug, but



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the prescribed Acthar cost Medicare $4,000,000.

       304.    Acthar represented 98% or more of Questcor’s sales and revenue from sales since

2007. Its manipulation of the market has resulted in a 266% increase in revenue year-over-year

from 2011 to 2013. Total net sales for Questcor in 2011 were $218.2 million, $509.3 million in

2012, and $798.9 million in 2013. In each of those years, Acthar represented at least 95% of

Questcor’s net sales – over $1.45 billion in revenue.

       305.    In the words of former CEO Don Bailey “Questcor is basically a single-product

company.” But, by flexing its monopoly power, Questcor has been able to raise Acthar prices

and increase revenue from Acthar in a “tiny market” from less than $1 million for fiscal 2001 to

$799 million for fiscal 2013 - a nearly 80,000% increase. It did so in conjunction with Express

Scripts.

       306.    Mallinckrodt's decision to exclusively contract with the agent for its largest

customer to provide limited distribution for Acthar removed ESI’s competitive pressure in the

marketplace to cause Acthar prices to be lower. Instead, by entering into an exclusive

arrangement with Express Scripts, Mallinckrodt was able to enhance its monopoly power and to

raise its Acthar prices above competitive prices throughout the relevant time period from 2007

through the present.

                          Mallinckrodt’s marketing and sales scheme

       307.    Since at least 2014, when Mallinckrodt acquired Questcor, Defendant O’Neill

directed and continued the strategy for the company’s use of KOLs to promote and sell Acthar

for unapproved uses and doses.



   THE QUI TAM WHISTLEBLOWER COMPLAINT AGAINST MALLINCKRODT



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        308.    On April 30, 2019, it was revealed publicly for the first time by CNN19 that two

whistleblowers, both former pharmaceutical sales representatives for Mallinckrodt, had sued the

company years before for a “multi-tiered strategy” to boost sales by bribing doctors to prescribe

the high-priced Acthar to their patients. CNN reported that the United States Department of

Justice (“DOJ”) had intervened in a false claims act action brought by two former employees of

Mallinckrodt.

        309.    The intervention actually took place the month before, on March 6, 2019, but the

case was sealed at the time. See Plaintiff Under Seal v. Defendant Under Seal, Civil Action No.

12-CV-0175-BMS, E.D.Pa., at Dkt. No. 55. The government’s decision to intervene, a relatively

rare occurrence, was done after the government conducted its own extensive investigation of the

claims by the former employees and concluded that the allegations are credible.

        310.    One of the cases, known as U.S. ex. Rel. Charles Strunck and Lisa Pratta, was

filed in 2012 by Charles Strunck, New York-based former Multiple Sclerosis (“MS”) Sales

Specialist for Questcor with responsibility for the Connecticut market, and Lisa Pratta, a New

Jersey-based Acthar neurology specialist for both Questcor and Mallinckrodt (collectively, the

“Relators”). Strunck worked from September 2010 through August 2011, while Pratta worked

from September 2010 through June 2017.

        311.    As described more fully in the Strunck & Pratta Complaint, Mallinckrodt’s

scheme involved “using valuable incentives, rewards and other forms of renumeration to induce

health care providers to promote and prescribe H.P. Acthar in lieu of less expensive therapies

that are equally more effective…”. Strunck & Pratta Cmplt. at ¶ 3(i). According to Strunck and

Pratta, there is a pervasive culture at Mallinckrodt designed to sell Acthar at all costs.


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  https://www.cnn.com/2019/04/30/health/mallinckrodt-whistleblower-lawsuit-
acthar/index.html

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       312.    Separately, a different whistleblower sued Mallinckrodt in the same Philadelphia

Court on April 4, 2013, alleging a different aspect of Mallinckrodt’s scheme to sell Acthar at

high prices. In a case unsealed as part of the government’s filing of a consolidated, amended

pleading, former employee Scott Clark alleges that “Mallinckrodt designed supposed ‘patient

assistance’ funds that paid copays for Acthar only and then funded them through ‘donations’,

knowing its money would be used on Acthar copays to the exclusion of other drugs.” See United

States’ Complaint in Intervention, Dkt No. 2:13-cv-01776-BMS (E.D.Pa.) (BMS) at Document

No. 57 (“U.S. Complaint”) at ¶ 5. Such conduct is unlawful.

       313.    As the federal government has alleged:

               “Mallinckrodt knew that the cost of Acthar would make it difficult
               to sell because there were cheaper, effective competitor drugs
               available to treat certain of its approved uses, namely acute
               exacerbations in multiple sclerosis, lupus and rheumatoid arthritis.
               Mallinckrodt intended to overcome this difficulty and did so by
               making the drug ‘free’ to patients by subsidizing their Medicare [and
               private] copayments. By doing so, Mallinckrodt could maintain the
               high price of Acthar to maximize its own sales revenues, but
               minimize the risk that the drug’s high price would impede doctors
               and patients from using it.”

Id. at ¶ 4 (brackets added).

       314.    As reported by CNN, and as averred in their Qui Tam Complaint, the Relators

allege that Mallinckrodt has engaged in a long—standing scheme to bribe doctors to prescribe

Acthar at the exorbitant, inflated prices detailed herein. They claim there was a “culture” at

Mallinckrodt designed to sell Acthar at all costs, from lying to the FDA to offering bribes to

doctors.

       315.    Importantly, Mallinckrodt has not denied the allegations. Instead, Mallinckrodt

claims the conduct alleged is a “legacy matter” involving Questcor and its conduct prior to

Mallinckrodt’s acquisition.


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       316.    However, Relator Pratta, who worked at both Questcor and Mallinckrodt after the

2014 acquisition, has alleged that the conduct continues at Mallinckrodt.

       317.    In a conference call with investors held May 7, 2019, CEO Mark Trudeau

publicly stated that the company has reserved for the settlement of the Relators’ case and is

actively pursuing settlement which he stated is “likely to resolve sooner than later”.

       318.    In fact, Mallinckrodt has resolved the marketing aspects of the DOJ claim, by

paying $15.4 million to settle earlier this month.

       319.    The conduct alleged by Relators involved kickbacks to doctors in the form of free

Acthar, as well as active concealment by Mallinckrodt of the conduct for years.

       320.    For this reason, Washington Wholesalers did not know and could not have known

about such unlawful conduct until the earliest date of April 30, 2019, when the Qui Tam

complaint was unsealed. As a result, Plaintiff’s claims stated herein premised upon the unlawful

conduct revealed by the Relators’ case are timely.

       321.    Plaintiff had no way of knowing that Mallinckrodt was paying doctors in

Connecticut thousands of dollars to prescribe Acthar to their patients.

       322.    The kickback scheme involved the promotion of Acthar to treat disease states for

which Acthar was not the “gold standard”, as in the case of IS, and for treatments that were not

covered by the Acthar label.

       323.    Mallinckrodt vastly expanded its direct-to-consumer selling of Acthar by

expanding its sales force, including creating a team of “medical science liaisons” or “MSLs”.

The MSLs were highly trained specialists in the Acthar treatments who worked with other

Mallinckrodt sales representatives to create a network of “Key Opinion Leaders” or KOLs.

These KOLs were leading specialists in their respective medical fields whom Mallinckrodt



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identified as being potentially influential on other doctors. These KOLs were paid handsomely

to join with Mallinckrodt’s MSLs and sales representatives as “spokes-doctors”, promoting

Acthar to other medical providers and delivering Mallinckrodt’s false, misleading and deceptive

promotional messages about the safety, efficacy and value of Acthar in relation to other cheaper,

safer, and equally or more effective treatments. As a result, thousands of new patients have been

prescribed Acthar for unapproved uses and doses in the treatment of diseases in neurology,

nephrology and rheumatology, among others. TPPs, like Plaintiff, have been forced to pay the

exorbitant prices charged by Defendants.

        324.   LEHB, like other TPPs who have sued in state courts,20 were harmed by

Mallinckrodt’s conduct. Specifically, Plaintiff paid for Acthar at the inflated prices charged by

Defendants as a result of the scheme alleged herein.

        325.   In the case of Plaintiff’s beneficiaries, they have been prescribed Acthar for

months to treat adult disease, not IS. As a result of Mallinckrodt’s promotional effort, instead of

treating Plaintiff’s beneficiaries for acute exacerbations, or flare-ups, it is believed and therefore

averred that they have been treated with Acthar as maintenance medication for months. Thus,

Plaintiff was forced to pay hundreds of thousands of dollars for Acthar more than it should have

paid.

        326.   The conduct revealed by the Relators goes to the manner in which Mallinckrodt

and Cigna/Express Scripts were able to convince doctors to prescribe the high-priced Acthar,

after the Defendant’ conspired and agreed to raise the prices and maintain the prices at artificial



20
  One such TPP is the International Union of Operating Engineers Local 542 (“IUOE Local
542”) based in Fort Washington, Pennsylvania. IUOE Local 542 sued Mallinckrodt and UBC in
the Court of Common Pleas for Montgomery County, Pennsylvania in May 2018. In December
2018, the Pennsylvania court denied the defendants’ preliminary objections (the equivalent of a
motion to dismiss in this court).

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levels. The conduct involved systematically promoting and marketing Acthar for unapproved

off-label uses, including the diseases for which Plaintiff’s beneficiaries were prescribed Acthar.

        327.   The scheme involved compensating sales representatives thousands of dollars to

promote the sale of Acthar for unapproved uses and doses, to benefit Mallinckrodt and the sales

reps. Sales representatives have been paid tens of thousands of dollars for such promotional

efforts. As detailed in the Relators’ complaint, one sales representative was paid a $124,000

bonus in the second quarter of 2011, including $75,000 for just one month. Others received

bonuses of $110,000 and $80,000 in the same period.

        328.   The compensation of sales reps was directly tied to sales growth, a growth that

was possible by expanding the approved uses for Acthar which had a narrow, limited market of

patients.

        329.   Mallinckrodt employed a team of MSLs, like Sagar Shah responsible for New

York and New Jersey, who were directed by Nikki Mutschler to join with sales specialists, like

Strunck, Pratta and Clark, to promote the sale of Acthar for unapproved uses. Several MSLs are

believed to have had responsibility for Acthar sales in Connecticut as part of their charge for the

“northeast”, including Yuliya Kreychman (nephrology), Christy Thompson (rheumatology) and

Giovanni Passiatore (neurology).

        330.   In Connecticut, the Regional Manager in charge of Acthar sales was John Stabile.

Stabile directed the efforts of Connecticut-based sales representatives, Ted Madru, who was in

charge of Hartford, and Anthony Luongo, who was in charge of New Haven. Relator Strunck

also was responsible for Acthar sales in Connecticut.

        331.   Stabile has been directly implicated in the fraudulent scheme alleged by Relators

Strunck and Pratta, as he was the Regional Manager for Pratta in New Jersey.



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       332.    Specifically, Relators have produced direct evidence of Stabile employing speaker

programs, and payments to doctors for such programs, as a form of kickback to incentivize the

doctors to prescribe Acthar to their patients at the inflated prices set by Defendants. Indeed,

Stabile emailed Pratta about “cleaning up the database” of authorized speakers by substituting

one doctor for another who was not prescribing enough Acthar. They allege that “John Stabile

looked at how many referrals [i.e.., sales of Acthar] the speakers have written in the year and

also how many times the doctor was used for Health Care Provider and Patient programs.”

Relator Complaint at ¶ 158.

       333.    Relators allege the following based on their personal knowledge and experience:

               Paying doctors to give these off-label promotional presentations to
               peers and patients is a common and broadly accepted practice at
               Questcor because the primary focus is on growing market share at
               all costs. Not coincidentally, most doctors who agree to prescribe
               H.P. Acthar are rewarded with speaker training and dollars.

Relator Complaint at ¶ 157.

       334.    Relators attach to their Complaint “an extensive list of ‘speakers’ trained on H.P.

Acthar, including several who reside and practice in Connecticut. Relator Complaint at ¶ 156

and Exhibit L. Only discovery of Mallinckrodt will reveal the extent to which Stabile’s conduct

in directing Connecticut-based MSLs and sales representatives led to kickbacks to Connecticut

doctors, like the doctors who treated Plaintiff beneficiaries, in exchange for Acthar prescriptions.

       335.    Relator Pratta states that “on March 7, 2014, John Stabile directed Lisa Pratta to

go see Dr. Raval and ‘give him more talks so he will give us more referrals. A referral for each

talk.’” Relator Complaint at ¶ 63. The quid-pro-quo is undeniable: a kickback of speaker fees

for Acthar prescriptions.

       336.    An example of kickbacks being used in Connecticut provided by Relators is as



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follows:

                Drs. Alice Rusk and Walter Camp (Stamford/Greenwich, CT)
                prescribed a five day course of treatment with H.P. Acthar for at
                least two patients after having been entertained with monthly
                lunches and a ‘meet-the-expert DVD presented by Dr. Brod.

Relator Complaint at ¶ 162. They also state that doctors’ office staff were “bribed” to arrange

meetings between Acthar sales representatives and the doctors:

                Among the offices at which Relator Strunck was directed to, and
                did, use retail gift cards to facilitate the off-label promotion of H.P.
                Acthar was the office of Drs. Alice Rusk and Walter Camp
                (Stamford/Greenwich, CT). Their practice treats predominantly
                Government Program beneficiaries, and Questcor’s improper
                promotions induced Drs. Rusk and Camp to prescribe a five-day
                course of treatment with H.P. Acthar for at least two patients who
                were suffering from acute exacerbations of MS.

Relator Complaint at ¶ 171.

        337.    Relators also have produced direct evidence of the Connecticut Regional Manager

Stabile directing the unlawful kickback to doctors through the provision of free samples as

“starter” vials, not for indigent patients who could not afford the medication [who would

otherwise be directed to Patient Assistance Programs (“PAP”) like those run by NORD, but for

any new patient who walks in the door, even those with prescription drug coverage supplied by

payors like Plaintiff.

        338.    They attach to their Complaint an email dated January 3, 3014 in which Stabile

sends Relator Pratta five “starter vial forms” for use with a Dr. Katz in New Jersey. Relator

Complaint at Exhibit N.

        339.    Relators state that the Questcor program was “Prescribe One and Get One Free”

without limitation. Relator Complaint at ¶ 217. “The essence of the free vial program 90 is to

induce [doctors] which one free vial for each patient to get them started …”. Relator Complaint



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at ¶ 219. “John Stabile advised Relator Pratta that one physician has used 100 free vials, but did

not name the physician.” Relator Complaint at ¶ 225.

       340.    To hide the fact that these promotional efforts were for unapproved, off-label

uses, Mallinckrodt referred to such uses as “new indications.”

       341.    The sales of Acthar for these “new indications” became a primary focus for

Mallinckrodt and Cigna/Express Scripts, as they strived to grow their revenue to the more than

$1 billion in sales it achieves each year for Acthar alone.

       342.    Mallinckrodt and Cigna/Express Scripts achieved such exponential growth,

despite the price increases detailed herein, by providing valuable remunerations to doctors to

induce and encourage them to prescribe Acthar for unapproved uses and doses.

       343.    As the Relators’ Complaint reveals as to Mallinckrodt, and as Plaintiff alleges

herein as to Cigna/Express Scripts and Mallinckrodt, Defendants engaged in such conduct in

violation of the Connecticut laws by providing secret kickbacks to doctors throughout the

country, including Connecticut, to get them to prescribe Acthar at exorbitant prices, which

Plaintiff has been forced to pay, and continues to pay to this day. That is why Plaintiff seeks

declaratory and injunctive relief against Defendants to end such practices.

    Leading “KOLs” are employed by Mallinckrodt in the Promotion of Acthar for the
                          Treatment of “New” Indications

       344.    In order to effectuate their scheme and conspiracy fully, the corporate Defendants

needed some help with the promotion of Acthar to physicians, especially in the medical fields

where Acthar was not the preferred course of treatment. Indeed, Acthar was not approved by the

FDA for the long-term treatment of most diseases for which Acthar had a narrow indication from

its 1952 label. Such fields include nephrology syndrome and rheumatoid arthritis.

                 Defendants target new diseases as a “potential new markets”


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                              to promote off-label sales of Acthar.

       345.    Prior to 2011, Mallinckrodt had virtually no sales of Acthar for the treatment of

either nephrology syndrome or rheumatoid arthritis. However, these numbers increased

exponentially in the years that followed, largely due to Mallinckrodt’s focused marketing effort,

not any change in either the Acthar label or the demonstrated efficacy of the drug to treat these

diseases.

       346.    As Express Scripts’ 2018 Prior Authorization Policy acknowledged, “data and

guidelines do not suggest that Acthar has a substantial role in therapy” for nephrotic syndrome,

including iMN. Instead, “[f]urther data are needed before use in other areas [beyond IS and MS]

can be recommended.” Id. at 4 (brackets added).

       347.    To overcome this lack of data to support to use of Acthar to treat nephrotic

syndrome and rheumatoid arthritis, and to support its marketing efforts in these areas,

Mallinckrodt, with Cigna/Express Scripts direct assistance through its hub, engaged certain

nephrologists and rheumatologists strategically situated throughout the country. These doctors

became known as “Key Opinion Leaders” or “KOLs”.

       348.    Defendants turned to KOLs initially to determine whether there was a viable

potential market for Acthar with nephrologists and rheumatologists.

               Defendants engage KOLs for “white coat marketing” of Acthar

       349.    This new marketing initiative into off-label promotion of Acthar for nephrotic

syndrome was made possible by the “success of the new Acthar pricing strategy” by which

“significant funds [were] now available for the first time to support Acthar-related research” by

paying “KOLs to explore areas of mutual research interest.” In other words, the profits realized

by the implementation of Defendants’ “new strategy” for Acthar in 2007 made it possible for



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Defendants to pay doctors to serve as KOLs as part of their coordinated white coat marketing

strategy into rheumatology, nephrology and other areas.

       350.    The practice of “white coat marketing” was identified by the Office of Inspector

General (OIG) of the federal government as a potential area of fraud and abuse as early as 1991.

See, e.g., OIG Advisory Opinion No. 11-08, issued June 12, 2011, at 6 (citing 56 Fed. Reg.

35952, 35974 (July 29, 1991)). As described in Advisory Opinion No. 11-08:

               The fraud and abuse risks are compounded where, as here, a
               physician or other health care professional is involved in the
               marketing activity – a practice sometimes referred to as “white coat”
               marketing. White coat marketing is closely scrutinized under the
               anti-kickback statute because physicians and other health care
               professionals are in an exceptional position of public trust and thus
               may exert undue influence when recommending health care-related
               items or services – especially when marketing to their patients. See,
               e.g., 56 Fed. Reg. 35952, 35974 (July 29, 1991). Given the nature
               of these relationships, when physicians or other health care
               professionals market items and services to their patients, patients
               may have difficulty distinguishing between professional medical
               advice and a commercial sales pitch.

       351.    In order to cultivate KOLs for its white coat marketing scheme, Mallinckrodt

directed its sales force to make direct calls on rheumatologists and nephrologists to generate

clinical data to support sustained use of Acthar for the treatment of such diseases. Cigna/Express

Scripts was able to monitor the activities of these KOLs for Defendants, and their success in

unlawful promotion, through their hub.

       352.    Mallinckrodt then began “[w]orking with KOLs who have expressed interest in

generating such data” to support the off-label use of Acthar to treat rheumatoid arthritis or

nephrotic syndrome. This became a “major focus” for Mallinckrodt after it acquired Questcor.

       353.    As part of Mallinckrodt’s 2009 strategic overview for Acthar, created for the

company in October 2008 by its Executive Vice President of Commercial Operations, Eldon



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Mayer, Mallinckrodt identified nephrotic syndrome as the first new potential use for Acthar in

terms of a potential new market for sales.

       354.    Specifically, Mayer wrote as follows:

               Identification of potential new markets for Acthar. Also, in early
               2008, Questcor began evaluating Acthar’s current list of approved
               indications and exploring the worldwide published medical
               literature for ACTH. The process involved review of published
               literature as well as interviews with experts in each of the major
               labeled therapeutic areas.

               Nephrotic syndrome was identified as a specific disease having both
               high unmet need and published data demonstrating the efficacy of
               ACTH. In particular, it appeared from the limited published data
               that it had efficacy in certain subsets of nephrotic patients who were
               refractory to standard treatment protocols. Further, it was identified
               as being one of Acthar’s current labeled indications. While the
               published data is entirely from European clinical sites, and involved
               synthetic ACTH (Synacthen Depot) rather than Acthar specifically,
               nephrologists interviewed felt it high likely that Acthar would
               generate the same favorable outcomes seen in these studies.
               Specifically, these benefits included both a remission of proteinuria
               and improved lipid profiles in patients with nephrotic syndrome due
               to membranous nephropathy. Nephrology KOLs interviewed
               generally had no awareness of this data, and those that were aware
               were completely unaware of Acthar availability as the only ACTH-
               based therapeutic in the US. Discussions with KOLs subsequently
               found that there is a significant population of nephrotic patients that
               do not adequately respond to traditional therapies, namely a
               commonly used steroid/cytoxic drug cocktail know (sic) as the
               Ponticelli Regimen, or second-line treatments Cellcept and
               Cytoxan.

       355.    Significant to Mallinckrodt’s later acquisition of Synacthen, the studies

Defendants examined in deciding to expand the Acthar marketing effort into nephrology were

exclusively the European studies of Synacthen showing its efficacy in treating the disease

overseas.

       356.    As part of the 2009 strategic review, Mallinckrodt decided to “conduct[] initial

exploration of [the] nephrology opportunity” by “[e]xpanding exploration of the nephrology


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opportunity through identification of, and delivery of introductory calls on, key nephrologists

involved in treating nephrotic syndrome.”

      Plaintiff’s Payments for Acthar in Pennsylvania for Long-Term MS Treatments

       357.    Throughout the relevant time period, as described above, Plaintiff has provided

health and related welfare benefits, including but not limited to prescription drug benefits, to its

eligible participants and beneficiaries through a contractual arrangement with Independence Blue

Cross. During the relevant time period, Plaintiff has provided prescription drug benefits for its

eligible participants and beneficiaries. At the time, and through the present when its

beneficiaries were prescribed Acthar, Plaintiff’s prescription drug benefits were administered by

FutureScripts, which was Independence Blue Cross’ contracted PBM.

       358.    Plaintiff was harmed with an ascertainable loss cognizable under Pennsylvania

consumer fraud law because it was charged and paid an artificially inflated and fixed price for

the Acthar based upon the inflated prices for Acthar, as set by Mallinckrodt and

Cigna/Evernorth.

       359.    The Acthar was supplied directly to Plaintiff’s beneficiary by Curascript, pursuant

to its ongoing exclusive agreements with Mallinckrodt.

       360.    The payments made by Plaintiff were sent to its PBM, which then routed the

payments to Express Scripts, the exclusive distributor of Acthar and Mallinckrodt’s designated,

exclusive agent, and then on to Mallinckrodt.

 Fraudulent transfers of Acthar revenues out of Mallinckrodt ARD to other Mallinckrodt
                    Entities to Defraud Acthar Plaintiffs in the Class.

       361.    Mallinckrodt’s most profitable drug, by far, is Acthar.

       362.    That means the Mallinckrodt ARD is Mallinckrodt’s most valuable entity.

       363.    However, for reasons that have not been made public, Mallinckrodt moved the


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billions of dollars generated in Acthar revenue out of Mallinckrodt ARD and to other

Mallinckrodt Defendant entities named herein.

       364.    In the last years for which data is available, Mallinckrodt ARD generated the

following revenues form the sales of Acthar, funded by Plaintiff and the Class: 2018

($1,110,064,724), 2019 ($952,7070,262) and for the first nine months of 2020 ($41,472,782).

       365.    Why such a dropoff in reported revenues for ARD? In anticipation of bankruptcy,

and the substantial claims of Plaintiff and the Class (including the post-petition claims at issue in

this case), the monies were re-routed to other Defendant entities.

       366.    On information and belief, such moves were done to defraud the Plaintiff and the

Class from being properly compensated in this lawsuit under the laws in which Plaintiff and the

Class have sued.

       367.    It is believed that Mallinckrodt moved up to $14 billion in revenues between and

among Mallinckrodt entities, both prior to bankruptcy and thereafter, in an effort to defraud

creditors like Plaintiff and the Class for their post-petition, administrative claims, as well as

proper compensation for their claims after April 30, 2021, which it’s the administrative claims

bar date established by the bankruptcy court.

       368.    Specifically, the following moves are questionable, and are believed and averred

to have been done fraudulently, to defraud Plaintiff and the Class.

               a. Between June 15, and September 10, 2020, Mallinckrodt ARD move $66
                  million to Questcor International Ltd.

               b. In the summer of 2020, MPIL moved hundreds of millions of dollars. It
                  received $561 million from Mallinckrodt ARD on June 10, 2020 and re-routed
                  such monies to other Defendant entities.

               c. On July 8, 2020, in conjunction with the deal cut with general unsecured
                  noteholders to sign on to a pre-petition Restructuring Support Agreement,
                  Mallinckrodt Equinox moved $2.4 billion – roughly half was sent to


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                   Mallinckrodt Enterprises, a Specialty Generics company (believe to be for the
                   benefit of the opioid claimants) and the other half to Petten Holdings, Inc. the
                   former owner of the nuclear medicine business which Mallinckrodt sold in
                   2016. Then, $827 million was moved by Petten Holdings to Mallinckrodt
                   Petten Holdings in the Netherlands, a defunct entity with no assets or
                   operations.

       369.    These and other moves by Mallinckrodt were done with the intent to enrich the

other Debtors in bankruptcy to fund Mallinckrodt’s priorities, as well as Non-Debtor entities to

benefit parties as yet unknown, but certainly not Plaintiff and the Class.

                               CLASS ACTION ALLEGATIONS

       370.    Plaintiff brings this action pursuant to Rules 23(a), (b)(2) and (b)(3) of the Federal

Rules of Civil Procedure, on behalf of itself and other similarly-situated persons and entities, and

their beneficiaries, in Illinois and throughout the country. The proposed Class includes:

               All third party payors and their beneficiaries in the United States and
               its Territories that paid for Acthar from October 12, 2020 through
               April 30, 2021 and from May 1, 2021 through the present.

Excluded from the above Class are: (a) Defendants and any entity in which Defendants have a

controlling interest, and their legal representatives, offices, directors, assignees and successors,

(b) any co-conspirators with Defendants, (c) any Medicare Advantage Organization (“MAU”),

their representatives, assignors, assignees or related entities, and (d) the States of Alaska,

Maryland, New York, Texas and Washington.

                                             Numerosity

       371.    The proposed Class consists of potentially hundreds of public and private payors

in the proposed Class located throughout Illinois and the United States, based on the fact that

Mallinckrodt has sold thousands of vials of Acthar in each quarter over the last few years alone.

Thus, the Class is so numerous that joinder of all of its members is impractical.

       372.    Despite the size of the Class, its members are easily identifiable, as each patient


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was required by Defendants since October 12, 2020 to fill out an Acthar Start Form (Exhibit “A”

hereto) which forms were returned to, and have been maintained by, Express Scripts and/or

UBC. As a result, the records needed to identify the members of the Class are in the hands of the

Defendants.

                                               Typicality

         373.   Plaintiff’s claims are typical of the claims of the Class, in that the representative

Plaintiff is an entity who, like other Class Members, paid for Acthar at the inflated prices due to

the unlawful conduct of the Defendants. Plaintiff, like all similarly-situated Class members, is

damaged and sustained or continues to sustain economic injuries in the form of overcharges by

the misconduct of the Defendants, because it paid higher prices than it would have paid absent

Defendants’ improper actions.

                                     Adequacy of Representation

         374.   Plaintiff can and will fairly and adequately represent and protect the interests of

the Class. Plaintiff has no interest that conflicts with or is antagonistic to the interests of the

Class.

         375.   Plaintiff is represented by counsel who are experienced and competent in the

prosecution of complex actions, including antitrust, RICO and consumer fraud class actions.

                                             Commonality

         376.   The factual and legal bases for the Defendants’ misconduct are common to Class

members and represent a common thread of antitrust racketeering and consumer fraud resulting

in injury to Plaintiff and the Class. Common questions of law and fact in this case include, but

are not limited to, the following:

                a. whether the Defendants artificially inflated the prices of Acthar;



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         b. whether Plaintiff and the Class have been and/or continue to be overcharged
            and thus damaged by paying artificially inflated prices for Acthar as a result
            of the unlawful conduct of Defendants;

         c. whether the Defendants have been and continue to be unjustly enriched by
            their unlawful conduct;

         d. whether the Defendants defrauded and/or continue to defraud Plaintiff and the
            Class;

         e. whether the Defendants engaged and/or continue to engage in a conspiracy
            and/or concerted conduct in deceiving and defrauding Plaintiff and the Class
            about Acthar and Acthar pricing, and concealing the truth about their unlawful
            conduct in colluding to artificially inflate the prices of Acthar;

         f. whether Defendants had and/or continue to have a monopoly in the market for
            ACTH drugs;

         g. whether Mallinckrodt exercised and/or continues to exercise monopoly power
            with respect to Acthar;

         h. whether Defendants took and/or continue to take actions to maintain and
            enhance Mallinckrodt’s monopoly power in the ACTH market;

         i. whether Defendants unlawfully impaired or impeded and/or continue to
            impair or impede competition in the market for ACTH drugs;

         j. whether Defendants engaged and/or continue to engage in anticompetitive
            conduct in order to disadvantage Mallinckrodt’s competitors and maintain
            Mallinckrodt’s monopoly power in the market for ACTH drugs;

         k. the effects of Mallinckrodt's anticompetitive conduct on Acthar prices;

         l. whether Mallinckrodt formed the ASAP enterprise with Express Scripts for
            the purpose of carrying out the scheme to overcharge patients and payors for
            Acthar;

         m. whether Defendants used and/or continue to use the U.S. mails and interstate
            wire facilities to carry out an unfair ASAP scheme;

         n. whether the Defendants are liable to Plaintiff and the Class for statutory
            damages for conduct actionable under the Illinois Consumer Fraud and
            Deceptive Practices Act, and the antitrust and consumer protection laws of
            other states;




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                 o. whether Plaintiff and members of the Class are entitled to declaratory and
                    injunctive relief as to Defendants’ conduct;

                 p. whether Plaintiff and members of the Class are entitled to compensatory
                    damages, and, if so, the nature of such damages;

                 q. whether Plaintiff and members of the Class are entitled to statutory damages,
                    including treble damages;

                 r. the proper measure of damages; and

                 s. whether Plaintiff and members of the Class are entitled to an award of
                    punitive damages, reasonable attorneys’ fees, prejudgment interest,
                    post-judgment interest, costs of suit, and other appropriate relief under the
                    circumstances of this case.

                                            Predominance

          377.   These questions of law and fact common to the members of the Class

predominate over questions, if any, that may affect only individual members because Defendants

have acted and refused to act on grounds generally applicable to the entire Class. Such generally

applicable conduct is inherent in Defendants’ anticompetitive conduct in monopolizing and

attempting to monopolize the ACTH drug market, and other conduct as more fully alleged

herein.

                                              Superiority

          378.   A class action is superior to any other available method for the fair and efficient

adjudication of this controversy in that, among other things, such treatment will permit a large

number of similarly situated persons and entities to prosecute their common claims in a single

forum simultaneously, efficiently, and without the unnecessary duplication of effort and expense

that numerous individual actions would engender.

          379.   The prosecution of separate actions by individual members of the Plaintiff Class

would create a risk of inconsistent or varying adjudications with respect to individual members



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of the Class. These adjudications would establish incompatible standards of conduct for the

Defendants which would, as a practical matter, be disparities of the claims of the other members

not parties to the adjudications or substantially impair or impede their ability to protect their

interests.

        380.   The Defendants have acted or refused to act on grounds generally applicable to all

members of the Class, thereby making appropriate final injunctive relief or corresponding

declaratory relief with respect to the Class as a whole.

        381.   Accordingly, class certification is appropriate under Rule 23(b)(1)(A),

23(b)(1)(B), 23(b)(2) and 23(b)(3).

                                     COUNT I
                           PLAINTIFF v. ALL DEFENDANTS
                       MAINTENANCE OF MONOPOLIZATION OF
                          THE ACTH MARKET (15 U.S.C. § 2)

        382.   Plaintiff hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

        383.   Mallinckrodt has, and at all relevant times, had, monopoly power in the market

for the sale of ACTH drugs in the United States. While the genesis of this monopoly power may

be natural, since 2007 Mallinckrodt has acted and conspired with Express Scripts to maintain and

enhance its monopoly power in the ACTH market.

        384.   As described above, Acthar’s value was limited because it was the “gold

standard” for treating only one condition, infantile spasms (“IS”). IS a serious condition in

infants, but one with an annual patient population of less than 2,000 patients per year. However,

by 2015, Mallinckrodt was able to grow sales of Acthar to approximately $1.1 billion.

        385.   In 2007, Mallinckrodt announced a “New Strategy” in order to maintain and

enhance its monopoly. This new strategy could not have succeeded without the involvement of


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Express Scripts as Mallinckrodt’s exclusive agent.

                         Anticompetitive Act 1: Restricted Distribution

       386.    On July 2, 2007, Mallinckrodt decided to restrict distribution from three

wholesalers, termed Wholesalers “A”, “B”, and “C” in its 2007 10-K, to Express Scripts. The

goal of this strategy was to lock patients into receiving Acthar through one channel and prevent a

competitive product from entering the market.

       387.    When Mallinckrodt began its new strategy on July 16, 2007, it established the

ASAP Program. See Rockford Complaint Exhibit “B”. July 2, 2007 Urgent Product Alert H.P.

Acthar Gel. The ASAP Program allowed Mallinckrodt to limit its direct distribution of the drug

to the patient to just one avenue, through Express Scripts. Mallinckrodt entered an exclusive

arrangement with Express Scripts to provide Acthar directly to patients, and to receive payments

for Acthar directly from patients. See Freudenheim, supra.

       388.    Express Scripts was Mallinckrodt’s exclusive agent to operate the ASAP

Program. Through ASAP, UBC facilitated all aspects of Acthar’s distribution and payment as

Mallinckrodt’s exclusive agent. UBC’s utilized Express Script’s pharmacy arrangement services

(Accredo), specialty drug distribution (CuraScript) and direct billing and payment (ESI)

functions to allow Mallinckrodt to maintain and enhance its monopoly power in the ACTH

market.

       389.    Mallinckrodt has willfully maintained its monopoly power in the ACTH drug

market through its exclusive arrangement with Express Scripts from 2007 through 2017. Having

Express Scripts as its exclusive agent, Mallinckrodt was able to raise its prices tenfold initially,

and nearly double in the ensuing years.

                       Anticompetitive Act 2: The Synacthen Acquisition



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       390.    By 2013, Mallinckrodt had identified a competitive threat to its monopoly power,

despite its exclusive arrangements with Express Scripts. When Novartis decided to sell

Synacthen Depot to a competitor, Mallinckrodt acted to protect its monopoly. Recognizing that

the entry of Synacthen to the ACTH market would threaten its monopoly power, Mallinckrodt

first attempted to buy the rights to Synacthen in 2009, it was unable to do so.

       391.    When Novartis agreed to sell Synacthen to Retrophin in 2013, Mallinckrodt

disrupted the bidding process for Synacthen by intervening at the last minute to pay multiple

times what had been offered by Retrophin. Retrophin had agreed to buy Synacthen for $16

million, Mallinckrodt paid $135 million. It licensed the U.S. rights to Synacthen from Novartis,

but did not bring this viable synthetic alternative to market. Instead, it acted only to eliminate

the nascent competitive threat to its monopoly posed by an independently owned Synacthen.

       392.    This conduct contributed to Mallinckrodt’s maintenance of monopoly power.

Both anticompetitive acts – the exclusive arrangement with Express Scripts and the Synacthen

acquisition had the purpose and effect of suppressing rather than promoting competition in the

ACTH market. Mallinckrodt was able to raise prices at will.

       393.    Mallinckrodt used its enhanced monopoly power to inflate the prices of Acthar as

set forth herein. Today the prices stand at over $43,000.

       394.    The challenged conduct caused Plaintiff and the Class to pay artificially inflated

prices for Acthar in the ACTH drug market.

               a. The specific Anticompetitive Acts 1 and 2 set forth above have been

                   continued and repeated by these Defendants after the filing of Mallinckrodt’s

                   bankruptcy petition and is therefore actionable as illegal post-petition conduct.

       395.    There is no procompetitive justification for the conduct of Mallinckrodt and



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Express Scripts. Rather these two companies combined to lock Acthar into a restricted

distribution model, overseen by the ASAP program, to ensure enhanced monopoly profits for

both of them. The Synacthen acquisition only prevented competition, and preserved the

enhanced monopoly power Mallinckrodt enjoyed due to Express Scripts’ collusion.

                     Plaintiff is a Direct Purchaser of Acthar Harmed by
                           Defendants’ Anti-Competitive Conduct

       396.    The Plaintiff has been directly injured in its business and property by reason of

Mallinckrodt's unlawful monopolization in concert with Cigna/Evernorth/Express Scripts and

AlixPartners. Plaintiff’s injuries consist of paying higher prices to purchase Acthar than it would

have paid absent the conduct of Defendants. Plaintiff’s injuries are the type of harm the antitrust

laws were designed to prevent and flow from which makes Defendants’ conduct unlawful.

       397.    The product ships from Mallinckrodt’s agent directly to the patient. Payments

flow directly from Plaintiff back to the Defendants, for the benefit of Mallinckrodt.

       398.    Plaintiff is also a direct purchaser because of the conspiracy between Defendants,

as Plaintiff is a direct purchaser from co-conspirators.

       399.    As described herein Defendants’ acts and practices constitute monopoly

maintenance in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

       WHEREFORE, Plaintiff demands that judgment be entered in its favor, and in favor of

the Class, and against Defendants, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                  COUNT II
                        PLAINTIFF v. ALL DEFENDANTS
               ANTI-COMPETITIVE AGREEMENTS IN UNREASONABLE
                       RESTRAINT OF TRADE (15 U.S.C. § 1)

       400.    Plaintiff hereby incorporates by reference the averments of the foregoing



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paragraphs as if fully set forth herein and further allege as follows.

       401.    As set forth above, Mallinckrodt has entered into exclusive agreements with the

agent for its largest customers, Express Scripts. These agreements preserved and extended

Mallinckrodt’s monopoly power, and allowed Defendants to raise the prices for Acthar to

Express Scripts’ clients, including Plaintiff.

               a. These exclusive agreements set forth at length and in detail above continue on

                      a post-petition basis and further, continue to damage and harm the Plaintiff

                      and the Class as set forth more fully above.

         The Role of Cigna/Evernorth/Express Scripts in the Specialty Drug Market

       402.    The maintenance of Mallinckrodt’s monopoly over the ACTH market would not

be possible without its agreement in restraint of trade with Express Scripts.

       403.    Express Scripts is the largest buying agent of pharmaceuticals in the country. It

has substantial buying power as a result of its position as the largest representative of

pharmaceutical purchasers.

       404.    ESI has developed a consolidated network of specialty pharmaceutical

management, distribution and reimbursement that creates a direct pipeline between the

manufacturer and the patient. Express Scripts operates a specialty pharmaceutical distributor, a

specialty pharmacy, and a reimbursement HUB, all of which operate in service of the specialty

drug manufacturer concomitantly with ESI’s service as a pharmacy benefit manager for health

plans and patients.

       405.    Because ESI represents more than 80% of pharmaceutical buyers in the United

States, it has the unique position to push back against high pharmaceutical prices, especially

specialty drugs like Acthar. Express Scripts has demonstrated its ability to wield its market



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power to effectuate lower costs for high priced specialty drugs.

        406.    The example of Turing’s Daraprim is stark in that Express Scripts has produced a

comparable drug for $1. Instead of the $750.00 per pill charged by Turing, Express Scripts

charges its clients $1. Instead of one year’s course of treatment costing $361,000, it costs less

than $100.

             Express Scripts’ Agreement with Mallinckrodt to Fix Prices for Acthar

        407.    In 2007, when Express Scripts entered its exclusive arrangement with

Mallinckrodt’s predecessor Questor, it did not push back against Questcor’s decision to raise

prices. Instead, when confronted with the price increase, Dr. Miller asserted that “[t]he increase

was a manufacturing decision. I can’t comment on it.” Id.

        408.    There was no legitimate business justification on the part of Express Scripts to

agree to charge the inflated end payor prices set by Questcor to its clients, but it so agreed.

        409.    By 2015, Express Scripts contracted with Plaintiff to be its exclusive agent for

specialty drugs, including Acthar. But Express Scripts accepted the inflated end payor prices set

by Mallinckrodt, and included them in the ESI PBM Agreement with Plaintiff.

        410.    As a result, Express Scripts conspired and agreed with Mallinckrodt to fix and

charge artificially inflated prices for Acthar to Express Scripts clients, like Plaintiff.

        411.    At all relevant times, Mallinckrodt's exclusive agreements with Express Scripts

assisted Mallinckrodt in: (a) effectively excluding less expensive, potentially superior

competitive products from the ACTH drug market; (b) maintaining Mallinckrodt's dominant

market share and monopoly power in the ACTH drug market; (c) maintaining prices at

artificially high levels for Acthar; and (d) otherwise reaping the benefits of its Mallinckrodt’s

enhanced monopoly power.



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       412.    There is no procompetitive justification for the conduct of either Mallinckrodt or

Express Scripts.

       413.    Plaintiff has been injured in its business and property by reason of the alleged

collusion and conspiracy between Mallinckrodt and Express Scripts, its exclusive agent, which

had the purpose and effect of raising and stabilizing inflated prices for Acthar. Express Scripts

facilitated, enabled, assisted, and furthered Mallinckrodt's substantial foreclosure and exclusion

of competition and monopolization of the ACTH drug market.

       414.    Plaintiff’s injuries consist of paying higher prices to purchase Acthar than it

would have paid absent the unlawful conduct of Defendants. Plaintiff’s injuries are the type the

antitrust laws were designed to prevent and flow from that which makes Defendants’ conduct

unlawful.

       415.    Defendants’ acts and practices constitute anti-competitive agreements in

unreasonable restraint of trade in violation of Section 1 of the Sherman Act, 15 U.S.C. §1.

       WHEREFORE, Plaintiff demands that judgment be entered in its favor, and in favor of

the Class, and against Defendants, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                      COUNT III
                             PLAINTIFF v. ALL DEFENDANTS
                             STATE ANTITRUST LAW CLAIMS

       416.    Plaintiff hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

               a. With respect to the individual Defendant Board Members, all twelve (12) can

                   be individually responsible as a matter of well-settled Pennsylvania law for

                   their knowing participation in the anti-competitive events set forth in detail



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                   above. In the Commonwealth of Pennsylvania, the Pennsylvania Supreme

                   Court has clearly articulated that principals of a company, including its board

                   of directors, can be responsible for a company’s illegal conduct to the extent

                   that the individual defendants participated in the illegal actions.

                b. In fact, the Supreme Court has also held that intentional and knowing inaction

                   can be sufficient to support a participation theory liability against corporate

                   officers.

                c. Under the participation theory, a court may impose liability upon the

                   individual board of directors in their role as actors as opposed to as owners or

                   directors of the corporate entity. Furthermore, such liability is not predicated

                   upon a finding that the corporation is a sham and a mere alter ego of the

                   individual corporate officer; instead, liability attaches where the record

                   establishes the individual’s participation in the tortious activity.

       417.     In the event the Court finds the Acthar purchases of Plaintiff were indirect as to

Mallinckrodt, they remain direct as to Cigna/Evernorth/Express Scripts, and Plaintiff’s aforesaid

federal antitrust claims may be maintained against the Defendants. In such event, alternatively,

Plaintiff and the Class seek relief as indirect purchasers as allowed by state and federal law.

Under federal antitrust law, as indirect purchasers, Plaintiff and the Class are allowed to seek an

injunction against all Defendants for their anticompetitive conduct.

       418.     Under the statutory and decisional law of the states identified below, Plaintiff and

the Class are also permitted to seek damages as indirect purchasers against Defendants, including

but not limited to the laws of Pennsylvania where the patients covered by Plaintiff reside and

were treated.



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       419.    Plaintiff sets forth the following allegations in this state law-related section such

that each and every allegation as to the factual basis for the violation of the law of one state, no

matter where it appears, is incorporated by reference as support for the violation of the law of

every state identified herein. Plaintiff also incorporates the preceding factual allegations of

antitrust conduct by the Defendants.

       420.    Pennsylvania: The Pennsylvania Unfair Trade Practices and Consumer Protection

Law, 73 P.S. §201-1, et seq. (“UTPCPL”), makes illegal any “unfair methods of competition and

unfair or deceptive acts or practices in the conduct of any trade or commerce….” 73 P.S. § 201-

3. Further, Pennsylvania common law principles with regard to antitrust litigation hold that an

unreasonable restraint of trade is unlawful.

       421.    Plaintiff is a person pursuant to the UTPCPL. Plaintiff has been injured as a

result of the Defendants’ conduct in violation of Pennsylvania law, and hereby seeks damages.

       422.    The UTPCPL authorizes any person, including natural persons, corporations,

trusts, partnerships, incorporated and unincorporated associations, and any other legal entities to

seek an injunction, damages, costs, and reasonable attorneys’ fees to prevent and ameliorate the

anticompetitive conducted described herein. Plaintiff has purchased or reimbursed the costs of

multiple administrations of Acthar distributed by Defendants directly to Plaintiff’s beneficiaries

for their personal, family or household use and purpose. Because Plaintiff’s beneficiaries paid

only minimal co-pays, Plaintiff paid the bulk of the inflated prices of Acthar directly to

Defendants.

       423.    The acts and practices described herein demonstrate that Defendants acted

unlawfully within the meaning of the UTPCPL such that Plaintiff may be awarded up to three

times its actual damages sustained, and such additional relief as deemed necessary or proper.



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These damages consist of, inter alia, the difference between the true price of Acthar before

Mallinckrodt engaged with Express Scripts beginning in 2007 to artificially inflate the “average

wholesale price” of Acthar, as required by contract to be charged, and the inflated prices of

Acthar charged to Plaintiff from October 12, 2020 to the present.

       424.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Pennsylvania law, and hereby seek damages.

       425.    Arizona: The Arizona Uniform Antitrust Act, A.R.S. § 44-1401, et seq., makes

unlawful any “contract, combination, or conspiracy between two or more persons in restraint of,

or to monopolize, trade or commerce” and confers standing to persons and political subdivisions

as indirect purchasers to bring an action for damages, injunctive relief, and attorneys’ fees and

costs. A.R.S. §§ 44-1402, 1408.

       426.    Plaintiff brings this action on behalf of all third party payors (“TPP”), cities,

towns, municipalities, and any other state political subdivision (collectively, “municipality”) that

has paid and continues to pay for prescriptions of Acthar. The TPP purchasers of Acthar in

Arizona have standing as a class to seek relief against Defendants for their scheme to fix the

price of Acthar at supracompetitive levels and maintain Mallinckrodt’s monopoly power.

       427.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Arizona law, and hereby seek damages.

       428.    Arkansas: The Arkansas Deceptive Trade Practices Act forbids “[d]eceptive and

unconscionable trade practices.” A.C.A. § 4-88-107(a). It makes illegal “any [] unconscionable,

false, or deceptive act or practice in business, commerce, or trade.” A.C.A. § 4-88-107(a)(10).

Courts have recognized a private right of action for indirect purchasers in antitrust actions. The

improper use of economic leverage qualifies as one such unconscionable business practice.



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        429.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Arkansas law, and hereby seek damages.

        430.    California: California’s antitrust law, the Cartwright Act, prohibits combinations

between two or more persons to “[a]gree in any manner to keep the price of [a product] . . . at a

fixed or graduated figure,” or to “[e]stablish or settle the price of any [product] . . . , so as

directly or indirectly to preclude a free and unrestricted competition among themselves, or any

purchasers or consumers in the sale or transportation of [the product].” Cal. Bus. & Prof. Code §

16720(e)(2)-(3). Price-fixing is considered a business practice that, due to its pernicious effect

on competition and lack of any redeeming virtue is conclusively presumed to be unreasonable

and, therefore, illegal without elaborate inquiry as to the precise harm it has caused or the

business excuse for its use.

        431.    California TPPs and municipalities are persons within the meaning of Section

16750 and 16702.

        432.    As alleged in greater detail herein, California TPPs and municipalities suffered

and continue to suffer economic injury due to Defendants’ maintenance of monopoly prices.

        433.    The facts alleged herein establish that California TPPs and municipalities were,

and continue to be, injured in their property by paying exorbitant prices above what would be

paid in a freely competitive market.

        434.    Defendants created restrictions on trade and commerce through the creation of the

exclusive arrangement for Acthar.

        435.    Defendants agreed to raise the prices of Acthar.

        436.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of California law, and hereby seek damages.



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       437.      Florida: The Florida Deceptive and Unfair Trade Practices Act is designed to

protect “the consuming public from those who engage in unfair methods of competition, or

unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce,”

and mandates that the act be liberally construed to promote that policy. F.S.A. § 501.202.

Florida courts have interpreted this law “as a clear statement of legislative policy to protect

consumers through the authorization of [] indirect purchaser actions.” Mack v. Bristol Meyers

Squibb, 673 So. 2d 100, 108 (Fla. 1st D.C.A. 1996).

       438.      As set forth herein, Florida municipalities and TPPs act as fiduciaries for their

employees who receive prescription and health benefits through the TPP or municipality . As

such, they are consumers within the meaning of Fla. Stat. § 501.203(7).

       439.      As consumers, Florida TPPs and municipalities have suffered, and continue to

suffer, losses as a result of the anticompetitive conduct of Defendants. Therefore, Florida TPPs

and municipalities may recover their actual damages and their attorneys’ fees and costs.

       440.      Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Florida law, and hereby seek damages.

       441.      Hawaii: Hawaii has declared unlawful “[e]very contract, combination in the form

of trust or otherwise, or conspiracy, in restraint of trade or commerce,” including one that seeks

to “f]ix, control, or maintain, the price of any commodity” or engage in activities “with the

result of fixing, controlling or maintaining its price.” Haw. Rev. Stat. §§ 480-4(a)-(b).

       442.      In addition, Hawaii law provides that “indirect purchasers injured by an illegal

overcharge shall recover [] compensatory damages, and reasonable attorney’s fees.”

       443.      Hawaii municipalities and TPPs are persons within the meaning of Haw. Rev.

Stat. § 480-1.



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       444.    As articulated herein, Mallinckrodt possessed monopoly power in the ACTH

market. Acting in concert with Express Scripts, Mallinckrodt willfully enhanced its monopoly

power by limiting the distribution of Acthar and acquiring Synacthen. This conduct allowed

Mallinckrodt to set the prices for Acthar far higher than the value of the product thus injuring

Hawaii municipalities and TPPs. Express Scripts agreed to charge these inflated prices to its

clients. Accordingly, Hawaii municipalities and TPPs are entitled to relief under Hawaii law.

       445.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Hawaii law, and hereby seek damages.

       446.    Illinois: 740 ILCS 10/7(2) authorizes any person, including municipalities,

townships, and any other political subdivision to seek an injunction, damages, and reasonable

attorneys’ fees to prevent and ameliorate the anticompetitive conducted described herein.

       447.    The acts and circumstances described herein demonstrate that Defendants acted

willfully within the meaning of 740 ILCS 10/7(2), such that Plaintiff and the Class may be

awarded treble damages.

       448.    Plaintiff is a person within the meaning of 740 ILCS 10/7(2).

       449.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Illinois law, and hereby seek damages.

       450.    Iowa: The Iowa Competition Law prohibits the “attempt to establish, maintain, or

use a monopoly of trade or commerce in a relevant market for the purpose of excluding

competition or of controlling, fixing or maintaining prices.” Iowa Code § 553.5.

       451.    Iowa Code § 553.12 authorizes any “person who is injured or threatened with

injury” to sue to “[p]revent or restrain conduct. . . through injunction,” to “[r]ecover actual

damages resulting from” prohibited conduct, the costs of suit, and reasonable attorney fees.



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Iowa Code § 553.12. When the prohibited conduct is willful, a person may recover twice their

damages. Id.

         452.   Iowa TPPs and municipalities are persons within the meaning of Iowa Code §

553.3.

         453.   The facts and circumstances described herein demonstrate that Defendants acted

willfully in their exclusive arrangement, injuring Iowa TPPs and municipalities through the

maintenance and enhancement of monopoly prices for Acthar.

         454.   Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Iowa law, and hereby seek damages.

         455.   Kansas: Kan. Stat. Ann. § 50-101 outlaws any “combination of capital, skill, or

acts, by two or more persons” carried out for the purpose of restricting trade or commerce;

increasing or reducing the price of goods; or preventing competition. Kan. Stat. Ann. § 50-101.

In addition, “all arrangements, contracts, agreements, trusts or combinations between persons,

designed or which tend to advance, reduce or control the price or the cost to the producer or to

the consumer of any such products or articles” are unlawful under Kansas law. Kan. Stat. Ann. §

50-112. Under Kansas law, any person who has suffered a financial loss, “regardless of whether

such injured person dealt directly or indirectly with the defendant” may sue. Kan. Stat. Ann. §

50-163(d)(2).

         456.   As described herein, Defendants entered into exclusive arrangements that raised

and maintained monopoly prices for Acthar and restrained competitors from entering the ACTH

market, causing Kansas municipalities and TPPs to continue to overpay for Acthar.

         457.   Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Kansas law, and hereby seek damages.



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       458.    Massachusetts: Massachusetts’ unfair and deceptive trade practices statute

declares as unlawful “[u]nfair methods of competition and unfair or deceptive acts or practices in

the conduct of any trade or commerce.” Mass. Gen. Laws, c. 93A, § 2(a). Massachusetts law

allows both consumers and participants in trade or commerce to bring claims for actual damages,

multiple recovery for willful violations and attorneys’ fees for a prevailing plaintiffs. See Mass.

Gen. Laws, c. 93A, §§ 9, 11. The Massachusetts Supreme Court “read[s] the language of G.L. c.

93A as a clear statement of legislative policy to” allow indirect purchasers to seek relief for

antitrust conduct. Ciardi v. F. Hoffmann-La Roche, Ltd., 436 Mass. 53, 66-67 (2002).

       459.    Massachusetts TPPs and municipalities qualify as consumers or participants in

trade in commerce within the meaning of Mass. Gen. Laws, c. 93A.

       460.    Within respect to the injuries suffered by Massachusetts TPPs and municipalities

only, the majority of the injurious conduct occurred within Massachusetts.

       461.    As alleged in this Complaint, the facts and circumstances demonstrate that

Defendants acted willfully within the meaning of Mass. G.L. c. 93A entitling Massachusetts

TPPs and municipalities to multiple damages for the maintenance of the Acthar monopoly

through their exclusive arrangement and the Synacthen acquisition. Therefore, Massachusetts

municipalities and TPPs are entitled to relief under Massachusetts law.

       462.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Massachusetts law, and hereby seek damages.

       463.    Michigan: The Michigan Antitrust Reform Act deems any “contract, combination,

or conspiracy between 2 or more persons in restraint of, or to monopolize, trade or commerce in

a relevant market [] unlawful.” MCLS § 445.772. In addition, it prohibits the “establishment,

maintenance, or use of a monopoly, or any attempt to establish a monopoly, of trade or



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commerce in a relevant market by any person, for the purpose of excluding or limiting

competition or controlling, fixing, or maintaining prices.” MCLS § 445.773. It allows any

political subdivision or person “threatened with injury or injured . . . indirectly” to seek

injunctive or equitable relief, damages, interest, costs, and attorneys’ fees for a violation of the

Act.

       464.     Michigan municipalities and TPPs are units of government or persons within the

meaning of MCLS § 445.771.

       465.    Defendants are persons within the meaning of MCLS § 445.771.

       466.    The facts and circumstances, as articulated in this complaint, demonstrate that

Defendants agreed to maintain and enhance Mallinckrodt’s monopoly in the ACTH market

through their exclusive arrangement and the Synacthen acquisition. This conduct resulted in

Michigan municipalities and TPPs continuing to pay far more than they would in a competitive

market for Acthar. Therefore, Michigan municipalities and TPPs are entitled to relief under the

Michigan Antitrust Reform Act.

       467.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Michigan law, and hereby seek damages.

       468.    Minnesota: Under Minnesota law, “[a] contract, combination or conspiracy

between two or more persons in unreasonable restraint of trade or commerce is unlawful.”

Minn. Stat. § 325D.51. In addition, section 325D.53 prohibits the maintenance or use of

monopoly power to affect competition or control, fixe or maintain prices. See Minn. Stat ¶

325D.52. By law, “any person . . . injured directly or indirectly by a violation of [section

325D.51] shall recover three times the actual damages sustained, together with costs and

disbursements, including reasonable attorneys’ fees.” Minn. Stat. § 325D.57. “Minnesota



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antitrust law expressly provides damages for indirect purchasers injured by antitrust violations.”

Gordon v. Microsoft Corp., 2001 WL 366432, at *2 (Minn. Dist. Ct. Mar. 30, 2001); see also,

Lorix v. Crompton Corp., 736 N.W.2d 619 (Minn. 2007).

       469.    Acthar is a commodity within the meaning of Minn. Stat. § 325D.50.

       470.    The exclusive arrangement between Mallinckrodt and Express Scripts represents

a contract, combination, or conspiracy within the meaning of Minn. Stat. § 325D.50.

       471.    Minnesota municipalities and TPPs are persons within the meaning of Minn. Stat.

§ 325D.50 with standing to seek relief from the anticompetitive practices of Mallinckrodt and the

ESI Defendants.

       472.    As described in this Complaint, Defendants agreed to maintain the

supracompetitive prices of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing Minnesota

municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Minnesota municipalities and TPPs are entitled to relief under

Minnesota law.

       473.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Minnesota law, and hereby seek damages.

       474.    Mississippi: Under Mississippi law trusts are unlawful, and this includes any

“combination, contract, understanding or agreement” that would be inimical to public welfare

and the effect of which would be . . . to restraint trade”, including any “increase . . . [on] the

price of a commodity.” Miss. Code. Ann. §§ 75-21-1(a)-(c).

       475.    Mississippi law allows any party injured by any aforementioned form of trust to



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seek their full damages and a civil penalty of $500.00 per injury, no matter whether they are a

direct or indirect purchaser. Miss. Code. Ann. § 75-21-9. As such Mississippi municipalities and

TPPs have standing to sue under Mississippi law.

       476.    As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing Mississippi

municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Mississippi municipalities and TPPs are entitled to relief under

Mississippi law.

       477.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Mississippi law, and hereby seek damages.

       478.    Nebraska: In Nebraska, the Junkin Act prohibits any “any “contract, combination

in the form of trust or otherwise, or conspiracy in restraint of trade of commerce” in Nebraska.

R.R.S. Neb. § 59-801. The Nebraska Consumer Protection Act, in relevant part, duplicates the

Junkin Act’s analogues of the Sherman Act and states that “Unfair methods of competition and

unfair or deceptive acts or practices in the conduct of any trade or commerce shall be unlawful . .

. . Any contract, combination, in the form of trust or otherwise, or conspiracy in restraint of trade

or commerce shall be unlawful.” R.R.S. Neb. §§ 59-1602-1603. Indirect purchasers injured by

price-fixing practices can sue for damages under both statutes, and recover the costs of suit and a

reasonable attorney’s fee. See R.R.S. Neb. § 59-821.

       479.    Nebraska municipalities are persons within the meaning of Section 59-822 and

have such have standing under the Junkin and Consumer Protection Acts.



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       480.     As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing Nebraska

municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Nebraska municipalities and TPPs are entitled to relief under

Nebraska law.

       481.     Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Nebraska law, and hereby seek damages.

       482.     Nevada: Nevada has declared several categories of activities that constitute a

“contract, combination or conspiracy in restraint of trade, including price fixing, which consists

of raising, depressing, fixing, pegging or stabilizing the price of any commodity or service.”

Nev. Rev. Stat. Ann. § 598A.060. In addition, Nevada provides a right of action and treble

damage remedy for “any person injured or damaged directly or indirectly” by an antitrust

violation. Nev. Rev. Stat. Ann. § 598A.210.

       483.     Nevada municipalities and TPPs have standing to seek relief under Nevada law.

       484.     As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing Nevada

municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Nevada municipalities and TPPs are entitled to relief under

Nevada law.



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          485.   Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Nevada law, and hereby seek damages.

          486.   New Mexico: The New Mexico Antitrust Act prohibits “[e]very contract,

agreement, combination or conspiracy in restraint of trade or commerce, any part of which trade

or commerce is within” New Mexico. N.M. Stat. Ann. § 57-1-1. Additionally, the statute

expressly provides that indirect purchasers who are “threatened with injury or injured” have

standing to assert a claim and “may bring an action for appropriate injunctive relief, up to

threefold the damages sustained and costs and reasonable attorneys’ fees.” N.M. Stat. Ann. § 57-

1-3(A).

          487.   New Mexico municipalities and TPPs have standing to sue under the New Mexico

Antitrust Act. See City of Sunland Park v. Macias, 75 P.3d 816 (N.M. Ct. App. 2003).

          488.   As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing New Mexico

municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, New Mexico municipalities and TPPs are entitled to relief under

New Mexico law.

          489.   Plaintiffs and the Class were, and continue to be, injured as a result of

Defendants’ conduct in violation of New Mexico law, and hereby seek damages.

          490.   New York: New York’s Donnelly Act declares that every contract, agreement,

arrangement or combination” that restrains, may restrain, or has for its purpose the restraint of

competition, the free exercise of any commercial activity, or the performance of a service to be



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unlawful. N.Y. Gen. Bus. Law § 340(1). Among other provisions, the Donnelly Act specifically

extends protection to indirect purchasers. See N.Y. Gen. Bus. Law § 340(6). The statute also

provides that a successful plaintiff “shall recover threefold the actual damages sustained

thereby,” as well as costs and attorneys’ fees. N.Y. Gen. Bus. Law § 340(5).

       491.    New York municipalities and TPPs have standing to sue under the Donnelly Act

because they are persons or political subdivisions within the meaning of N.Y. Gen. Bus. Law §§

340(5)-(6).

       492.     As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing New York

municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, New York municipalities and TPPs are entitled to relief under

New York law.

       493.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of New York law, and hereby seek damages.

       494.    North Carolina: North Carolina’s Monopolies, Trusts, and Consumer Protection

Act, N.C. Gen. Stat. §§ 75-1, et seq., declares any “conspiracy in restraint of trade or commerce”

illegal. N.C. Gen. Stat. § 75-1. To prevail under the Act, Plaintiffs must show: (1) defendants

committed an unfair or deceptive act or practice; (2) in or affecting commerce; and (3) that

plaintiff was injured thereby. Stetser v. TAP Pharmaceutical Products, Inc., 165 N.C. App. 1

(2004). “A trade practice is ‘unfair’ if it is immoral, unethical, oppressive, unscrupulous, or

substantially injurious to consumers”). The Act also provides standing for individual plaintiffs



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(§ 75-16), which right was specifically extended to indirect purchasers in Hyde v. Abbott Labs.,

123 N.C. App. 572, 584 (1996).

       495.    North Carolina municipalities and TPPs have standing as indirect purchasers.

       496.    As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing North

Carolina municipalities and TPPs to continue to pay prices for Acthar significantly greater than

in a competitive market. Therefore, North Carolina municipalities and TPPs are entitled to relief

under North Carolina law.

       497.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of North Carolina law, and hereby seek damages.

       498.    North Dakota: The North Dakota Antitrust Act provides that, “[a] contract,

combination, or conspiracy between two or more persons in restraint of, or to monopolize, trade

or commerce in a relevant market is unlawful.” N.D. Cent. Code § 51-08.1-02. The statute

expressly provides a cause of action for indirect purchasers, who may obtain injunctive relief and

recover damages. N.D. Cent. Code § 51-08.1-08.

       499.    North Dakota municipalities and TPPs have standing as indirect purchasers within

the meaning of N.D. Cent. Code § 51-08.1-08.

       500.    As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing North Dakota



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municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, North Dakota municipalities and TPPs are entitled to relief

under North Dakota law.

         501.   Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of North Dakota law, and hereby seek damages.

         502.   Oregon: Oregon’s Antitrust Law declares illegal “[e]very contract, combination in

the form of trust or otherwise, or conspiracy in restraint of trade or commerce”. Or. Rev. Stat.

Ann. § 646.725. In addition, Oregon provides a right of action and treble damages for antitrust

violation, “regardless of whether the plaintiff dealt directly or indirectly with the adverse party.”

Or. Rev. Stat. Ann. § 646.780(1)(a). In addition, indirect purchasers may recover “reasonable

attorney fees, expert witness fees and investigative costs.” Or. Rev. Stat. Ann. § 646.780(3)(a)-

(b)(A)

         503.   Oregon municipalities and TPPs fall within the meaning of political subdivision

and person as articulated in Or. Rev. Stat. Ann. § 646.780(1)(a), therefore they have standing to

sue regardless if they are indirect purchasers.

         504.   As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing Oregon

municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Oregon municipalities and TPPs are entitled to relief under

Oregon law.

         505.   Plaintiff and the Class were, and continue to be, injured as a result of Defendants’



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conduct in violation of Oregon law, and hereby seek damages.

       506.    Rhode Island: Rhode Island law declares “[e]very contract, combination, or

conspiracy in restraint of, or to monopolize, trade or commerce” unlawful. R.I. Gen. Laws. Ann.

§ 6-36-4. That a person “has no dealt directly with the defendant” does not “bar or otherwise

limit recovery”. R.I. Gen. Laws Ann. § 6-36-12(g). Plaintiffs may obtain an injunction recovery

treble damages, costs of suit, and a reasonable attorneys fee under Rhode Island law.

       507.    Rhode Island municipalities and TPPs may bring suit pursuant to section 6-36-11

because they are public bodies or persons within the meaning of section 6-36.3. See R.I. Gen.

Laws Ann. §§ 6-36-3, 11(a).

       508.    As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing Rhode Island

municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Rhode Island municipalities and TPPs are entitled to relief under

Rhode Island law.

       509.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Rhode Island law, and hereby seek damages.

       510.    South Dakota: The South Dakota antitrust statute declares unlawful, “[a] contract,

combination, or conspiracy between two or more persons in restraint of trade or commerce any

part of which is within this state S.D.C.L. § 37-1-3.1. Under the statute, any person injured

directly or indirectly by an antitrust violation may sue for injunctive and equitable relief as well

as to recover treble damages. S.D.C.L. §§ 37-1-14.3, 37-1-33.



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       511.    South Dakota payors have standing to seek relief within the meaning of S.D.C.L.

§ 37-1-3.1.

       512.    As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing South Dakota

municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, South Dakota municipalities and TPPs are entitled to relief

under South Dakota law.

       513.    Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of South Dakota law, and hereby seek damages.

       514.    Tennessee: The Tennessee Unfair Trade Practices Act declares unlawful and void

“[a]ll arrangements, contracts, agreements, trusts or combinations between persons or

corporations designed, or which tend, to advance, reduce, or control the price or the cost to the

producer or the consumer of any such product or article.” Tenn. Code Ann. § 47-25-101. Persons

injured may recover “the full consideration or sum… for any goods, wares, merchandise, or

articles, the sale of which is controlled by such combination or trust.” Tenn. Code Ann. § 47-25-

106. In Sherwood v. Microsoft Corp., 2003 WL 21780975, *29 (Tenn. Ct. App. July 31, 2003),

the Tennessee Court of Appeal held that indirect purchasers have standing to bring an action

under the Act to recover damages resulting from price-fixing. See Freeman Indus. LLC v.

Eastman Chem Co., 172 S. W.3d 512, 519 (Tenn. 2005).

       515.    Tennessee municipalities and TPPs have standing to sue within the meaning of

Tenn. Code Ann. § 47-25-106. See Metro. Gov’t of Nashville & Davidson Cnty. v. Ashland Oil,



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Inc., 535 F. Supp. 328 (M.D. Tenn. 1982).

       516.    As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing Tennessee

municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Tennessee municipalities and TPPs are entitled to relief under

Tennessee law.

       517.    Plaintiff and the Class were injured, and continue to be injured, as a result of

Defendants’ conduct in violation of Tennessee law, and hereby seek damages.

       518.    Utah: Utah law declares illegal “[e]very contract, combination in the form of trust

or otherwise, or conspiracy in restraint of trade or commerce”. Utah Code Ann. § 76-10-3104.

Persons injured by such antitrust conduct may recover three times their damages in addition to an

injunction, the costs of suit, and reasonable attorneys’ fees. See Utah Code Ann. § 76-10-

3109(1). Political subdivisions may recover actual damages in addition to in addition to

injunctive relief, costs of suit, and reasonable attorney fee. See Utah Code Ann. § 76-10-

3109(3).

       519.    Utah municipalities and TPPs are persons or political subdivisions within the

meaning of Utah Code Ann. § 76-10-3109(1) and therefore have standing to obtain relief.

       520.    As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing Utah



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municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Utah municipalities and TPPs are entitled to relief under Utah

law.

       521.     Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Utah law, and hereby seek damages.

       522.     Wisconsin: The Wisconsin Antitrust Act provides that “[e]very contract,

combination in the form of trust or otherwise, or conspiracy, in restraint of trade or commerce is

illegal.” Wis. Stat. Ann. § 133.03(1). Any person injured directly or indirectly by an antitrust

violation may seek injunctive relief and recover treble damages. Wis. Stat. Ann. §§ 133.16,

133.18(1)(a).

       523.     Wisconsin municipalities and TPPs are persons within the meaning of Wis. Stat.

Ann. § 133.02 and therefore have standing to seek relief.

       524.     As described in this Complaint, Defendants agreed to maintain the

supracompetitive price of Acthar through the ASAP Program, limiting distribution of the drug

and stifling the ability of a competitor to enter the ACTH market. Further, to maintain these

supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct is causing Wisconsin

municipalities and TPPs to continue to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Wisconsin municipalities and TPPs are entitled to relief under

Wisconsin law.

       525.     Plaintiff and the Class were, and continue to be, injured as a result of Defendants’

conduct in violation of Wisconsin law, and hereby seek damages.

       WHEREFORE, Plaintiff demands that judgment be entered in its favor, and in favor of

the Class, and against Defendants, in an amount to be determined at trial, including but not



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limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                          COUNT IV
                              PLAINTIFF v. ALL DEFENDANTS
                                Violation of 18 U.S.C. § 1962(c)

       526.    Plaintiff hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows:

       527.    Defendants are each “persons” within the meaning of 18 U.SC. § 1961(3), who

each conducted the affairs of an association in fact enterprise affecting interstate commerce

through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c). Plaintiff and the

members of the Class are also persons.

       528.    Each Defendant violated 19 U.S.C. § 1962(c) as follows:

               a. Mark Trudeau. At all times relevant hereto, Trudeau participated in the

                   wrongful conduct of Defendants as stated herein.

               b. Angus Russell. At all times relevant hereto, Russell participated in the

                   wrongful conduct of Defendants as stated herein.

               c. David Carlucci. At all times relevant hereto, Carlucci participated in the

                   wrongful conduct of Defendants as stated herein.

               d. J. Martin Carroll. At all times relevant hereto, Carroll participated in the

                   wrongful conduct of Defendants as stated herein.

               e. Paul R. Carter. At all times relevant hereto, Carter participated in the

                   wrongful conduct of Defendants as stated herein.

               f. David Norton. At all times relevant hereto, Norton participated in the

                   wrongful conduct of Defendants as stated herein.

               g. Carlos V. Paya, M.D., Ph.D. At all times relevant hereto, Paya participated in



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                  the wrongful conduct of Defendants as stated herein.

              h. JoAnn Reed. At all times relevant hereto, Reed participated in the wrongful

                  conduct of Defendants as stated herein.

              i. Anne C. Whitaker. At all times relevant hereto, Whitaker participated in the

                  wrongful conduct of Defendants as stated herein.

              j. Kneeland Youngblood, M.D. At all times relevant hereto, Youngblood

                  participated in the wrongful conduct of Defendants as stated herein.

              k. Hugh O’Neill. At all times relevant hereto, O’Neill participated in the

                  wrongful conduct of Defendants as stated herein.

              l. Stephen Welch. At all times relevant hereto, Welch participated in the

                  wrongful conduct of Defendants as stated herein.

              m. Mallinckrodt Entities. At all times relevant hereto, the Mallinckrodt Entities

                  participated in the wrongful conduct of Questcor and Express Scripts as stated

                  herein.

              n. Cigna/Evernorth/Express Scripts entities. At all times relevant hereto, the

                  Cigna/Evernorth/Express Scripts entities committed the predicate acts of mail

                  and wire fraud through its own acts and through the ASAP Enterprise as

                  stated herein. Cigna/Evernorth/Express Scripts entities’ predicate acts were

                  not limited to the allegations stated herein.

       529.   These predicate acts of wire fraud and mail fraud occurred over the course of ten

(10) years.

       530.   At all relevant times, in violation of 18 U.S.C. § 1962(c), Mallinckrodt Trudeau,

Russell, Carlucci, Carroll, Carter, Norton, Paya, Reed, Whitaker, Youngblood, O’Neill, Welch



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and Reasons, Mallinckrodt, Cigna/Evernorth/Express Scripts, and other co-conspirators

conducted the affairs of an association-in-fact enterprise within the meaning of 18 U.S.C. §

1961(4) consisting of Defendants, including their directors, employees, and agents, which is

manifested in the ASAP program (the “ASAP Enterprise”).

        531.   The ASAP Enterprise was established to streamlined and cover-up the use of mail

and wires to commit fraud so all Defendants could unfairly and illegally profit from the

monopolistic and anti-competitive sale of Acthar.

        532.   The ASAP Enterprise was established in 2007 and is an ongoing and continuing

business organization consisting of all of the Defendants and individuals associated for the

common purpose of illegally profiting from the distribution, marketing, selling, purchasing, and

administration of Acthar to Plaintiff and the Class, and deriving substantial profits from these

activities.

        533.   The ASAP Enterprise through each Defendant individually and collectively

engages in and affects interstate commerce because it engages in the following activities across

state boundaries: the manufacture, distribution, marketing, sale, and/or purchase of Acthar, the

transmission of ASAP program literature (including the Acthar Start Form at Exhibit “A”

hereto), the operating of the ASAP program website, and the transmission and/or the receipt of

invoices and payments related to the prescription and use of Acthar. Through these activities the

ASAP Enterprise distributes Acthar to thousands of individual patients, including those receiving

prescription drug benefits from the Plaintiff and the Class.

        534.   The ASAP Enterprise itself and through each Defendant individually and

collectively functioned as a continuing unit as evidenced by the continuing coordination of

activities between Defendants. There is a common communication network by which



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Defendants shared and continue to share information on a regular basis for all times relevant to

this lawsuit, but beginning at least in 2007 and continuing through the present. Typically, this

communication occurred by use of the wires and mails, in which Defendants all agree to charge

inflated prices for Acthar to Plaintiff and other Class members. These entities functioned as a

continuing unit for the purposes of implementing the fraudulent scheme to inflate the prices of

Acthar by and through ASAP. When issues arose during the fraudulent scheme, each agreed to

take actions to hide the scheme and to continue its existence.

       535.    Defendants exerted control over the ASAP Enterprise, have associations with the

ASAP Enterprise, and have directly or indirectly conducted or participated in the conduct of the

affairs of the ASAP Enterprise in the following ways:

               a. Mallinckrodt establishes the prices of Acthar through fraudulent conduct;

               b. Defendants directly control the prices at which Plaintiff and the Class
                  reimburse for Acthar;

               c. Defendants directly control the ASAP Program materials and website which
                  enroll patients in an exclusive distribution network for the administration of
                  Acthar, allowing Mallinckrodt to conduct its unconscionable and unfair
                  pricing of Acthar;

               d. Defendants directly control the exclusive distribution network for Acthar
                  through the ASAP Enterprise;

               e. Defendants rely on their employees to promote the ASAP Program through
                  the marketing alleged herein, through the mail and the wires; and

               f. Defendants participate in the affairs of the ASAP Enterprise by using a
                  fraudulent scheme to market and sell Acthar at inflated prices.

       536.    Defendants conducted and participated in the affairs of the ASAP Enterprise

through a pattern of racketeering activity that includes acts indictable under 18 U.S.C. § 1341,

relating to mail fraud, and 18 U.S.C. § 1345, relating to wire fraud.

       537.    Mallinckrodt committed mail fraud when they utilized the mail and wires to


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defraud patients and purchases including Plaintiff and the Class. Specific examples of the fraud

are, included but not limited to:

               a. Express Scripts explicitly advertises to all existing and prospective patients
                  and payors that the ASAP Program would benefit them providing lower and
                  affordable sales prices;

               b. Defendants misled, and continues to mislead, Plaintiff by fraudulently stating
                  over the internet and through the mail that Plaintiff and the Class would
                  receive affordable healthcare and contained costs of Acthar;

               c. Despite its explicit promises to the contrary, Express Scripts refuses to use its
                  market strength and related bargaining power to convince Mallinckrodt to
                  lower the price of Acthar, because Express Scripts was serving as
                  Mallinckrodt’s exclusive agent and conducting the ASAP Enterprise; and
                  inter alia,

               d. Processing prescriptions via mail and the wire and receiving payments from
                  Plaintiff.

       538.    Defendants’ pattern of racketeering activity likely involves hundreds, if not

thousands, of separate instances of the use of the United States mail, private shipping services,

facsimiles, or interstate wires, including the internet, in furtherance of its fraudulent and unlawful

scheme. Each of these fraudulent mailing and interstate wire transmissions separately constitutes

a “racketeering activity” within the meaning of 18 U.S.C. § 1961(1). Collectively, these

violations constitute a “pattern of racketeering activity” within the meaning of 18 U.S.C. §

1961(5) in which the Defendants intend to defraud Plaintiff and members of the Class.

       539.    By conducting the ASAP Enterprise via the fraudulent activities stated herein

through the mail and wires, the Defendants, individually and collectively, are engaging in a

repeated, fraudulent, and unlawful course of conduct constituting a pattern of racketeering.

       540.    Thousands of ASAP forms (like the one attached as Exhibit “A” to the Rockford

Complaint) were transmitted via facsimile to Express Scripts offices in multiple states.

Thousands more phone calls were conducted between physicians and patients with Express


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Scripts, as directed by the ASAP form. Each of these fraudulent mailing and interstate wire

transmissions separately constitutes a “racketeering activity” within the meaning of 18 U.S.C. §

1961(1). Collectively, these violations constitute a “pattern of racketeering activity” within the

meaning of 18 U.S.C. § 1961(5) in which the Defendants intended to defraud Plaintiffs and

members of the Class.

       541.    Mallinckrodt’s and Express Scripts’ violations and pattern of racketeering activity

directly and proximately caused Plaintiffs harm insofar as Plaintiff paid inflated reimbursements

and other payments for Acthar since October 12, 2020.

       542.    Likewise, the Class is harmed by Mallinckrodt’s and Express Scripts’ violations

and pattern of racketeering activity by making similar inflated payments for Acthar.

               a. With respect to the individual Defendant Board Members, all twelve (12) can

                   be individually responsible as a matter of well-settled Pennsylvania law for

                   their knowing participation in the anti-competitive events set forth in detail

                   above. In the Commonwealth of Pennsylvania, the Pennsylvania Supreme

                   Court has clearly articulated that principals of a company, including its board

                   of directors, can be responsible for a company’s illegal conduct to the extent

                   that the individual defendants participated in the illegal actions.

               b. In fact, the Supreme Court has also held that intentional and knowing inaction

                   can be sufficient to support a participation theory liability against corporate

                   officers.

               c. Under the participation theory, a court may impose liability upon the

                   individual board of directors in their role as actors as opposed to as owners or

                   directors of the corporate entity. Furthermore, such liability is not predicated



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                   upon a finding that the corporation is a sham and a mere alter ego of the

                   individual corporate officer; instead, liability attaches where the record

                   establishes the individual’s participation in the tortious activity.

       543.    By virtue of these violations of 18 U.S.C. § 1962(c), Defendants are jointly and

severally liable to Plaintiff and the Class for three times the damages Plaintiff and the Class have

sustained, plus the costs of this suit, including reasonable attorneys’ fees.

       WHEREFORE, Plaintiff demands that judgment be entered in its favor, and in favor of

the Class, and against Defendants, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                         COUNT V
                             PLAINTIFFS v. ALL DEFENDANTS
                               Violation of 18 U.S.C. § 1962(a)

       544.    Plaintiff hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows, specifically including those

paragraphs set forth above where the legal responsibilities of the individual Defendants are set

forth along with their individual and collective breaches of those responsibilities, along with the

succinct legal analysis of why these individual Defendants are exposed to individual liability.

       545.    Throughout the Class Period, Defendants continue to violate the RICO statute by

using and investing income that was derived from a pattern of racketeering activity as described

herein. This income was used to acquire, establish, and/or operate the ASAP Enterprise in and

affecting interstate commerce.

       546.    The enterprise at issue is an association-in-fact within the meaning of 18 U.S.C. §

1961(4) consisting of Defendants, including their directors, employees, and agents, which is

manifested in the ASAP program (the “ASAP Enterprise”). The ASAP Enterprise is an ongoing



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and continuing business organization consisting of both corporations and individuals associated

for the common purpose of selling, purchasing, and administering Acthar to Plaintiff and their

individual participants, and deriving profits from these activities. Defendants engaged in a

pattern of racketeering activity described in greater detail herein.

       547.    Plaintiff and members of the Class have been directly and proximately injured in

their property by the Defendants’ use and investment of the racketeering income in the

acquisition, establishment, and operation of the ASAP Enterprise. The injury to Plaintiff and the

Class’ businesses or property stemming from these violations has been realized by the over-

payment for Acthar.

       548.    The use and investment of racketeering income by Defendants directly and

proximately injured the Plaintiff and the Class in a manner than was distinct from the injury

caused by the pattern of racketeering activity described herein.

       549.    By virtue of these violations of 18 U.S.C. § 1962(a), Defendants are jointly and

severally liable to Plaintiff and the Class for three times the damages Plaintiff and the Class have

sustained, plus the costs of this suit, including reasonable attorneys’ fees.

       WHEREFORE, Plaintiff demands that judgment be entered in its favor, and in favor of

the Class, and against Express Scripts, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                          COUNT VI
                              PLAINTIFF v. ALL DEFENDANTS
                                Violation of 18 U.S.C. § 1962(d))

       550.    Plaintiff hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

       551.    Defendants violated 18 USC § 1962(d) by conspiring to associate with a



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racketeering enterprise, in violation of 18 U.S.C. § 1962(c). Mallinckrodt explicitly contracted

with Express Scripts to have Express Scripts serve as Mallinckrodt’s exclusive agent in the

conduct of the ASAP Program and the ASAP Enterprise, and conspired with Express Scripts to

inflate the prices and limit distribution of Acthar in violation of § 1962(c).

           552.   Defendants knew and adopted the criminal purpose of the ASAP Enterprise.

Mallinckrodt communications reflect an express illegal agreement between Defendants to limit

the distribution of Acthar in order to charge inflated prices.

           553.   Additionally, Mallinckrodt’s conduct in sending e-mails, faxes and other

communications to Express Scripts to direct the exclusive distribution, sale and reimbursement

of Acthar through ASAP is consistent with the existence of an agreement to carry out the scheme

to inflate prices and maximize profits. Express Scripts, in turn, communicated Mallinckrodt’s

inflated prices to its clients, including Plaintiff, in its contract schedules and subsequent invoices

for Acthar. These same prices were communicated to the other PBMs for inclusion in their

contracts with payors.

           554.   Defendants actively furthered the goals of the ASAP Enterprise to defraud end

payors, like the Plaintiff. Mallinckrodt changed its distribution scheme with Acthar with the

intention that the changes would affect the prices of Acthar; it engaged in frequent discussions

with all other Defendants about its plan to raise Acthar prices in the marketplace; it made

requests that Express Scripts change the Acthar prices charged to its clients in conjunction with

its price increases; and it publicly boasted about the effects of the scheme without disclosing its

details.

           555.   Plaintiff and other members of the Class continue to be injured in their business or

property because they have paid, and continue to pay, thousands of dollars in overpayments that



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they would not have made had Defendants not conspired to engage in racketeering activity.

       556.    As co-conspirators, Trudeau, Russell, Carlucci, Carroll, Carter, Norton, Paya,

Reed, Whitaker, Youngblood, O’Neill, Welch, the Mallinckrodt Entities, Cigna/Evernorth and

AlixPartners are jointly and severally liable for all damage that is occurring as a result of their

individual actions, and those of their co-conspirators respectively, in furtherance of the

conspiracy to raise prices of Acthar. All Defendants are liable for all damages arising from

Trudeau’s, Russell’s, Carlucci’s, Carroll’s, Carter’s, Norton’s, Paya’s, Reed’s, Whitaker’s,

Youngblood’s, O’Neill’s, Welch’s, Mallinckrodt Entities’, Cigna/Evernorth’s, and AlixPartners’

respective conduct in furtherance of the scheme.

       557.    Under the provisions of Section 1964(c) of RICO, Trudeau, Russell, Carlucci,

Carroll, Carter, Norton, Paya, Reed, Whitaker, Youngblood, O’Neill, Welch, the Mallinckrodt

Entities, Cigna/Evernorth and AlixPartners are jointly and severally liable to Plaintiff for three

times the damages that Plaintiff has sustained, plus the costs of bringing this suit, including

reasonable attorneys’ fees.

               a. With respect to the individual Defendant Board Members, all twelve (12) can

                   be individually responsible as a matter of well-settled Pennsylvania law for

                   their knowing participation in the anti-competitive events set forth in detail

                   above. In the Commonwealth of Pennsylvania, the Pennsylvania Supreme

                   Court has clearly articulated that principals of a company, including its board

                   of directors, can be responsible for a company’s illegal conduct to the extent

                   that the individual defendants participated in the illegal actions.

               b. In fact, the Supreme Court has also held that intentional and knowing inaction

                   can be sufficient to support a participation theory liability against corporate



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                    officers.

                 c. Under the participation theory, a court may impose liability upon the

                    individual board of directors in their role as actors as opposed to as owners or

                    directors of the corporate entity. Furthermore, such liability is not predicated

                    upon a finding that the corporation is a sham and a mere alter ego of the

                    individual corporate officer; instead, liability attaches where the record

                    establishes the individual’s participation in the tortious activity.

          WHEREFORE, Plaintiff demands that judgment be entered in its favor, and in favor of

the Class, and against Defendants, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                         COUNT VII
                                PLAINTIFFS v. ALL DEFENDANTS
                                           FRAUD

          558.   Plaintiff hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

          559.   Defendants’ acts violate the common law against prohibitive against fraudulent

conduct.

          560.   In setting the prices for Acthar, which prices Plaintiff paid and continue to pay,

the Defendants made material misrepresentations that those prices represented a calculation of

real and fact-based prices for their drugs, and that they represented the actual value of the

product in the marketplace.

          561.   These representations were material to the transactions at hand in that Plaintiff

and the Class used and relied upon these prices as the amount to pay and/or reimburse for

Acthar.



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        562.    As set forth more fully above, these prices were artificial prices, unrelated to any

actual, reasonable price in the marketplace, or actual value of Acthar, but created and

manipulated by the Defendants for the purpose of generating exorbitant revenue, thus

constituting false representations which the Defendants knew or, in the absence of recklessness,

should have known to be false.

        563.    The Defendants made these false representations about the prices of Acthar with

the intent of misleading Plaintiff and the Class into relying on the prices as real and fact-based

prices, rather than artificially inflated prices.

        564.    Plaintiff and the Class justifiably relied upon these false misrepresentations in

purchasing and/or reimbursing Acthar at the amount charged by Express Scripts and CVS

Caremark based on the price set by Mallinckrodt.

        565.    Plaintiff’s and the Class’ contracts with Express Scripts all provide for “cost

containment” and all provide for discounted prices for specialty drugs at varying rates, intended

to reflect the efforts of Express Scripts to provide cost containment. The prices for Acthar set

forth in such contracts were prices set by Mallinckrodt and set forth by Express Scripts in its

contracts. As such, all Defendants communicated these false prices directly to Plaintiff and the

Class for the Acthar sold.

        566.    As a direct and proximate result of the false representations of the Defendants, as

set forth above, Plaintiff and the Class were harmed in that they were unaware of the artificial,

inflated prices of Acthar, would not have paid and/or reimbursed the artificially inflated prices

for Acthar had they known of the false representations and, in fact, overpaid for the Acthar

because of the false representations.

                a. With respect to the individual Defendant Board Members, all twelve (12) can



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             be individually responsible as a matter of well-settled Pennsylvania law for

             their knowing participation in the anti-competitive events set forth in detail

             above. In the Commonwealth of Pennsylvania, the Pennsylvania Supreme

             Court has clearly articulated that principals of a company, including its board

             of directors, can be responsible for a company’s illegal conduct to the extent

             that the individual defendants participated in the illegal actions.

          b. In fact, the Supreme Court has also held that intentional and knowing inaction

             can be sufficient to support a participation theory liability against corporate

             officers.

          c. Under the participation theory, a court may impose liability upon the

             individual board of directors in their role as actors as opposed to as owners or

             directors of the corporate entity. Furthermore, such liability is not predicated

             upon a finding that the corporation is a sham and a mere alter ego of the

             individual corporate officer; instead, liability attaches where the record

             establishes the individual’s participation in the tortious activity.

          d. In the instant case, each of the Defendants participated in the following

             wrongful acts:

                  i. Actively establishing and continuing Mallinckrodt’s conspiratorial

                     agreement with Express Scripts for the purpose of manipulating the

                     price of Acthar to the exorbitant amounts set forth herein;

                 ii. Actively promoting the payment schemes set forth above between

                     Mallinckrodt and Express Scripts, especially with respect to the

                     reimbursement rates charged by Mallinckrodt;



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                      iii. Actively participating in a scheme to grossly inflate revenue from its

                           direct involvement in coordinating all aspects of the Plaintiff’s receipt

                           of and payment for Acthar;

                      iv. Continuing to extract exorbitant revenue from the Plaintiff and the

                           Class described above beyond what Mallinckrodt (and Express

                           Scripts) could have received in the absence of the unlawful conduct

                           described herein;

                       v. Actively promoting, agreeing with, and creating policies which

                           advanced and encourages, including each of the averments set forth

                           above in paragraphs 270, 272, 273, 275 and 276.

       WHEREFORE, Plaintiff demands that judgment be entered in its favor, and in favor of

the Class, and against Defendants, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                  COUNT VIII
                          PLAINTIFF v. ALL DEFENDANTS
                   CONSPIRACY TO DEFRAUD/CONCERTED ACTION

       567.    Plaintiff hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

       568.    As set forth more fully above, beginning at least as early as 2007, the exact date

being unknown to Plaintiff, and continuing thereafter until the present, Defendants and other

unnamed co-conspirators, between and among themselves and others, entered into an agreement

and/or otherwise engaged in a continuing conspiracy to defraud and deceive Plaintiffs and the

Class by causing them to pay more for Acthar than they otherwise would have paid in the

absence of the Defendants’ conspiracy and concerted action.



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       569.    Pursuant to the unfair and deceptive scheme to distribute, market and sell Acthar

to derive substantial profits, and the conspiracy alleged herein, and in furtherance thereof,

Defendants and their co-conspirators engaged in a wide range of activities, the purpose and

effect of which was to deceive Plaintiff and the Class, and acted or took substantial steps in

furtherance of the conspiracy. Those acts include the following:

               a. discussing and agreeing among themselves and with their co-conspirators that
                  they would directly control the price at which Plaintiff and the Class paid for
                  Acthar after the filing of Mallinckrodt’s bankruptcy petition on October 12,
                  2020 and continuing through the present;

               b. discussing and agreeing among themselves and with their co-conspirators that
                  they would increase the price at which Plaintiff and the Class paid for Acthar
                  after the filing of Mallinckrodt’s bankruptcy petition on October 12, 2020 and
                  continuing through the present;

               c. discussing and agreeing among themselves and with their co-conspirators that
                  they would directly control the ASAP program materials and website which
                  enrolled patients into an exclusive distribution network for the administration
                  of Acthar, allowing Defendants to conduct their unfair pricing scheme for
                  Acthar after the filing of Mallinckrodt’s bankruptcy petition on October 12,
                  2020 and continuing through the present;

               d. discussing and agreeing among themselves and with their co-conspirators that
                  they would directly control the exclusive distribution network for Acthar
                  through the ASAP Program after the filing of Mallinckrodt’s bankruptcy
                  petition on October 12, 2020 and continuing through the present;

               e. discussing and agreeing among themselves and with their co-conspirators that
                  they would rely on employees to promote the ASAP Program through the
                  marketing alleged herein, and through use of the mail and the wires after the
                  filing of Mallinckrodt’s bankruptcy petition on October 12, 2020 and
                  continuing through the present;

               f. discussing and agreeing among themselves and with their co-conspirators that
                  they would participate in the affairs of the ASAP program by using a
                  fraudulent scheme to market and sell Acthar at inflated prices after the filing
                  of Mallinckrodt’s bankruptcy petition on October 12, 2020 and continuing
                  through the present; and

               g. discussing and agreeing among themselves and with their co-conspirators that
                  they would conceal and suppress the truth about the Acthar inflated prices, the


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                   monies earned from payors, like Plaintiff and the Class, and their exclusive
                   arrangement to maintain and enhance Mallinckrodt’s monopoly power as
                   alleged herein after the filing of Mallinckrodt’s bankruptcy petition on
                   October 12, 2020 and continuing through the present.

        570.   In addition to the specific facts set forth above, it is alleged the Defendants and

their co-conspirators engaged in conspiratorial meetings, among the purposes of which meetings

were to discuss the importance of controlling the direct distribution, marketing, sale and

administration of Acthar to Plaintiff and the Class, and deriving substantial profits from these

activities.

        571.   The Defendants performed the conspiratorial acts set forth herein intending to

injure payors of Acthar, like Plaintiff and the Class, by causing them to pay inflated prices so

that the Defendants could derive substantial profits.

        572.   The Defendants performed the acts alleged herein in furtherance of the common

plan or design for the conspiracy with intent and/or with knowledge of the injury and damage it

would cause to the Plaintiff and the Class, and with knowledge and intent to cause such injuries

and/or with reckless disregard for the consequences.

               a. With respect to the individual Defendant Board Members, all twelve (12) can

                   be individually responsible as a matter of well-settled Pennsylvania law for

                   their knowing participation in the anti-competitive events set forth in detail

                   above. In the Commonwealth of Pennsylvania, the Pennsylvania Supreme

                   Court has clearly articulated that principals of a company, including its board

                   of directors, can be responsible for a company’s illegal conduct to the extent

                   that the individual defendants participated in the illegal actions.

               b. In fact, the Supreme Court has also held that intentional and knowing inaction

                   can be sufficient to support a participation theory liability against corporate


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                   officers.

               c. Under the participation theory, a court may impose liability upon the

                   individual board of directors in their role as actors as opposed to as owners or

                   directors of the corporate entity. Furthermore, such liability is not predicated

                   upon a finding that the corporation is a sham and a mere alter ego of the

                   individual corporate officer; instead, liability attaches where the record

                   establishes the individual’s participation in the tortious activity.

       573.    As a direct and proximate result of the Defendants’ conspiracy as alleged herein,

Plaintiff and the Class have been injured and damaged, and the Defendants are jointly and

severally liable for such injuries and damages.

       WHEREFORE, Plaintiff demands that judgment be entered in its favor, and in favor of

the Class, and against Defendants, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                      COUNT IX
                        PLAINTIFF v. MALLINCKRODT ENTITIES
                                UNJUST ENRICHMENT

       574.    Plaintiff hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further alleges as follows.

       575.    This Count alleges unjust enrichment against the Mallinckrodt Entities.

       576.    Plaintiff’s covered beneficiaries received direct shipments of Acthar from

Mallinckrodt via its exclusive distribution mechanism established with Express Scripts. In

exchange for such Acthar, Plaintiff made payments to Express Scripts (via the exclusive

specialty pharmacy network) for the benefit of Mallinckrodt. Indeed, such payments were

transferred by the specialty pharmacy to Mallinckrodt pursuant to an understanding between the



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two that the total amount would be forwarded to Mallinckrodt, less a certain amount previously

agreed to by Mallinckrodt and the SP. The amount charged by Mallinckrodt for the Acthar was

the amount paid by Plaintiff, pursuant to its agreement with SP.

       577.    These payments, along with the tens of millions in payments for Acthar made

each month by members of the Class, were collected by Mallinckrodt ARD and then re-

distributed among the Mallinckrodt Entities as described herein.

       578.    Only discovery will reveal the nature and extent of such transfers to each such

Mallinckrodt Entity for purpose of this unjust enrichment claim.

       579.    The amounts paid by Plaintiff were valuable to Mallinckrodt, and the

Mallinckrodt Entities, and Mallinckrodt and its related entities were unjustly enriched by such

payments, in that, the reimbursement rates charged by Mallinckrodt at extremely high prices

were valuable and beneficial to Mallinckrodt and its entities.

       580.    By engaging in the conduct described in this Class Action Complaint,

Mallinckrodt has knowingly obtained and continues to obtain benefits from Plaintiff and the

Class, namely grossly inflated revenue from its direct involvement in coordinating all aspects of

Plaintiff’s receipt of and payments for Acthar, under circumstances such that it would be

inequitable and unjust for Mallinckrodt to retain such benefits.

       581.    By engaging in the unlawful conduct described herein, Mallinckrodt has been

knowingly enriched by the amount charged for Acthar over and above what it could have

charged in a competitive market and what it could have charged if it had engaged in appropriate

cost containment measures.

       582.    By maintaining and enhancing its monopoly, and its exercise of monopoly power

through increasing prices over a decade, and engaging in other unlawful acts and practices,



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Mallinckrodt was able to extract exorbitant revenue from Plaintiff and the Class beyond what it

could have received in the absence of such unlawful conduct. This conduct violated the federal

and state antitrust laws, federal RICO and state consumer fraud and antitrust laws, as well as the

common law of Pennsylvania and other states and, as such, interfered with the legally protected

interests of Plaintiff and the Class.

        583.    Plaintiff and each member of the Class are therefore entitled to an award of

compensatory damages in an amount to be determined at trial, or the imposition of a constructive

trust upon the monies derived by the Defendants by means of the above-described actions.

        WHEREFORE, Plaintiff demands that judgment be entered in its favor, and in favor of

the Class, and against Mallinckrodt, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                    COUNT X
               PLAINTIFF v. MALLINCKRODT OFFICERS AND DIRECTORS
                               UNJUST ENRICHMENT

        584.    Plaintiff hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further alleges as follows.

        585.    This Count alleges unjust enrichment against the Mallinckrodt officers and

directors named as Defendants herein..

        586.    Plaintiff’s covered beneficiaries received direct shipments of Acthar from

Mallinckrodt via its exclusive distribution mechanism established and maintained with

Cigna/Evernorth/Express Scripts by the Mallinckrodt officers and directors. In exchange for

such Acthar, Plaintiff made payments to Mallinckrodt (via the exclusive specialty pharmacy

network) for the benefit of Mallinckrodt, and its officers and directors. Indeed, such payments

were transferred by the specialty pharmacy to Mallinckrodt, and then on to officers and directors



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in the form of compensation, benefits and remuneration.

       587.    The tens of millions in payments for Acthar made each month by members of the

Class, were collected by Mallinckrodt ARD and then re-distributed among the Mallinckrodt

Entities as described herein, and then further distributed to Mallinckrodt’s officers and directors

in the form of compensation, benefits and remuneration.

       588.    Only discovery will reveal the nature and extent of such transfers to each such

Mallinckrodt officer and director for purpose of this unjust enrichment claim.

       589.    The amounts paid by Plaintiff were valuable to Mallinckrodt’s officer and

directors, and they were each unjustly enriched by such payments, in that, the reimbursement

rates charged by Mallinckrodt at extremely high prices were valuable and beneficial to

Mallinckrodt officers and directors.

       590.    By engaging in the conduct described in this Class Action Complaint,

Mallinckrodt’s officers and directors have knowingly obtained and continue to obtain benefits

from Plaintiff and the Class, namely compensation, benefits and other remuneration from their

direct involvement in coordinating all aspects of Plaintiff’s receipt of and payments for Acthar,

under circumstances such that it would be inequitable and unjust for them to retain such benefits.

       591.    By engaging in the unlawful conduct described herein, Mallinckrodt’s officers

and directors have been knowingly enriched by the amount charged for Acthar over and above

what it could have charged in a competitive market and what it could have charged if it had

engaged in appropriate cost containment measures.

       592.    By maintaining and enhancing its monopoly, and its exercise of monopoly power

through increasing prices over a decade, and engaging in other unlawful acts and practices,

Mallinckrodt’s officers and directors were able to extract exorbitant revenue from Plaintiff and



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the Class beyond what it could have received in the absence of such unlawful conduct. This

conduct violated the federal and state antitrust laws, federal RICO and state consumer fraud and

antitrust laws, as well as the common law of Pennsylvania and other states and, as such,

interfered with the legally protected interests of Plaintiff and the Class.

       593.    Plaintiff and each member of the Class are therefore entitled to an award of

compensatory damages in an amount to be determined at trial, or the imposition of a constructive

trust upon the monies derived by the Defendants by means of the above-described actions.

       WHEREFORE, Plaintiff demands that judgment be entered in its favor, and in favor of

the Class, and against Mallinckrodt’s officers and directors, in an amount to be determined at

trial, including but not limited to costs, attorneys’ fees, and such other relief deemed just and

appropriate by this Court.


                                    COUNT XI
                 PLAINTIFF v. CIGNA/EVERNORTH/EXPRESS SCRIPTS
                               UNJUST ENRICHMENT

       594.    Plaintiff hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

       595.    This Count alleges unjust enrichment against Cigna/Evernorth/Express Scripts.

       596.    As the exclusive agent of Mallinckrodt for the distribution of Acthar,

Cigna/Evernorth/Express Script received payments for Acthar which were valuable to them and

they were unjustly enriched by such payments, in that, the prices for Acthar charged by the

Defendants were valuable and beneficial to Cigna/Evernorth/Express Scripts.

       597.    By engaging in the conduct described in this Class Action Complaint,

Cigna/Evernorth/Express Scripts have knowingly obtained benefits from Plaintiff and the Class,

namely grossly inflated revenue from its direct involvement in coordinating all aspects of


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Plaintiff’s receipt of and payments for Acthar, under circumstances such that it would be

inequitable and unjust for Express Scripts to retain such benefits.

       598.    By engaging in the unlawful conduct described herein, Cigna/Evernorth/Express

Scripts has been knowingly enriched by the amount charged for Acthar over and above what

could have been charged and should have been charged in a competitive market, wherein

Cigna/Evernorth/Express Scripts would use its market power to extract lower prices from

Mallinckrodt for Acthar.

       599.    By assisting Mallinckrodt in maintaining and enhancing its monopoly, and its

exercise of monopoly power through increasing prices over a decade, and engaging in other

unlawful acts and practices, Cigna/Evernorth/Express Scripts was able to extract exorbitant

revenue from Plaintiff and the Class beyond what it could have and should have received in the

absence of such unlawful conduct. This conduct continues to violate the federal and state

antitrust laws, federal RICO and state consumer fraud and antitrust laws, as well as the common

law of Pennsylvania and other states and, as such, interferes with the legally protected interests

of Plaintiff and the Class.

       600.    Plaintiff and each member of the Class are therefore entitled to an award of

compensatory damages in an amount to be determined at trial, or the imposition of a constructive

trust upon the monies derived by the Defendants by means of the above-described actions.

       WHEREFORE, Plaintiff demands that judgment be entered in its favor, and in favor of

the Class, and against Cigna/Evernorth/Express Scripts, in an amount to be determined at trial,

including but not limited to costs, attorneys’ fees, and such other relief deemed just and

appropriate by this Court.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff and the Class request the Court to enter the following relief:

               a.     Certify this case as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and denominate Plaintiff as an adequate representative for the Class and its

undersigned counsel as counsel for the Class;

               b.     Declare unlawful the acts and practices alleged herein, enjoin the

Defendants from committing the acts alleged herein, and restore the status quo before the

unlawful conduct took place;

               c.     Enter judgment against all Defendants for the violations alleged herein;

               d.     Award the actual damages incurred by Plaintiff and the members of the

Class as a result of the wrongful acts complained of, along with pre-judgment and post-judgment

interest at the maximum rate allowed by law;

               e.     Award statutory damages set forth herein under the statutory claims

alleged;

               f.     Award treble damages or multiple damages by operation of law;

               g.     Award punitive damages;

               h.     Award Plaintiff the costs of this action, including reasonable attorneys’

fees, and, where applicable, expert fees; and

               i.     Award such other and further relief as the Court may deem just and

appropriate.




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                                      JURY DEMAND

    Plaintiff and the Class demand a trial by jury of all issues so triable in this cause.

                                                           Respectfully submitted,

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